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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
   - - - - - - - - - - - - - - - - - - - - - -X
   MELISSA KAYE,
                          Plaintiff,
              -against-

                               18 CV 12137

   HEALTH AND HOSPITALS CORPORATION, et al.,

                          Defendants.
   - - - - - - - - - - - - - - - - - - - - - -X
                           October 6, 2021
                           10:16 a.m.

   VIRTUAL DEPOSITION of BARRY WINKLER, M.D., a witness
   herein, taken pursuant to Court Order, and held via
   videoconference, before Marci Loren Dustin, a Court

   Reporter and Notary Public of the State of New York.
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     2


 1   A P P E A R A N C E S:

 2

 3        THE LAW OFFICES OF SPECIAL HAGAN
                Attorneys for Plaintiff
 4              196-04 Hollis Avenue
                Saint Albans, New York 11412
 5        BY:   SPECIAL HAGAN, ESQ.

 6        NEW YORK CITY LAW DEPARTMENT
                Attorney for Defendants
 7              100 Church Street
                New York, New York 10007
 8        BY:   DONNA CANFIELD, ESQ.

 9
          ALSO PRESENT:
10         Melissa Kaye
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                             BARRY WINKLER, M.D.                          3


 1                         IT IS HEREBY STIPULATED AND AGREED

 2   by and between the attorneys for the respective parties

 3   herein, that filing and sealing be and the same are

 4   hereby waived.

 5

 6                         IT IS FURTHER STIPULATED AND AGREED

 7   that all objections, except as to the form of the

 8   question, shall be reserved to the time of the trial.

 9
10                         IT IS FURTHER STIPULATED AND AGREED
11   that the within deposition may be signed and sworn to

12   before any officer authorized to administer an oath,
13   with the same force and effect as if signed and sworn

14   to before the Court.

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     4                        BARRY WINKLER, M.D.


 1                 THE REPORTER:   My name is Marci Loren Dustin,

 2         your remote court reporter.        The parties are

 3         present via videoconference to take the deposition

 4         of Barry Winkler, M.D., in the matter of Melissa

 5         Kaye against Health And Hospitals Corporation, et

 6         al.   Today's date is October 6, 2021, and the time

 7         is 10:16 a.m.     It is important that everyone speak

 8         one at a time, as delays do occur in transmission.

 9         Please note that pursuant to CPLR 3113(d), the

10         oath can be administered remotely by me.          Counsel,
11         please state your name and who you represent and

12         whether you stipulate to that authority; and the
13         defending attorney, please agree that the witness

14         is who they say they are.

15               MS. HAGAN:    Special Hagan for Dr. Melissa

16         Kaye.    I stipulate.
17                 MS. CANFIELD:   Donna Canfield from the New

18         York City Law Department on behalf of all the

19         defendants in this action.       I can stipulate that

20         Dr. Barry Winkler is Dr. Barry Winkler.

21   BARRY WINKLER, M.D.,
22   having first been duly sworn by the Notary Public

23   (Marci Loren Dustin), was examined and testified as

24   follows:
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                             BARRY WINKLER, M.D.                          5


 1   EXAMINATION BY

 2   MS. HAGAN:

 3         Q.     Good morning, Dr. Winkler.

 4         A.     God morning.

 5         Q.     Dr. Winkler, I'm just going to go over some

 6   housekeeping issues, just to, I guess, make sure that

 7   everything is clear.     Dr. Winkler, the reporter just

 8   administered an oath, so you understand that you have to

 9   testify truthfully today.      Am I right?

10         A.     Yes, I do understand.
11         Q.     And Dr. Winkler, you know that the reporter

12   can only take down verbal responses, so please be sure
13   to say yes or no.     Do not shake your head or nod so that

14   she can make sure that there's a clear record; is that

15   clear?

16         A.     That's clear.
17         Q.     And, also, as the reporter just conveyed, she

18   can only take down one voice at a time.         So I just ask

19   that you allow me to finish the question, and then wait

20   for your counsel, if she does object, to object and then

21   proceed -- basically proceed accordingly, whether or not
22   she tells you to answer the question.         Is that clear?

23         A.     Yes, I understand.

24         Q.     You answered that you understood what I was
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     6                        BARRY WINKLER, M.D.


 1   saying, right, Dr. Winkler?

 2         A.    Yes, I understand.

 3         Q.      So now, I'm sure that there's been a

 4   significant amount of time that has passed since some of

 5   the events in this lawsuit or that we're going to talk

 6   about today that have transpired.        So I'm going to ask,

 7   you know, even if you don't remember the precise dates

 8   or precise times or precise quantities, that you may be

 9   able to estimate or kind of like, I guess -- like not to

10   estimate or approximate when things may have occurred or
11   quantities.    You understand that I have the right to ask

12   you those questions; right?
13         A.    Yes, I understand.

14         Q.      Okay.   And so I'm just going to ask you some

15   general questions just to begin with, and then kind of

16   proceed to some of the substance of the lawsuit.
17               Now, Dr. Winkler, have you taken any

18   medications within the last 24 hours?

19               MS. CANFIELD:     Objection as to form.      How

20         about last 24 hours that may affect his ability to

21         testify?
22               MS. HAGAN:    No.

23               MS. CANFIELD:     You're asking him to reveal

24         his medical health.
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                                BARRY WINKLER, M.D.                       7


 1                 MS. HAGAN:    I just asked if he took any

 2         medication.     I'm not going there with the rest of

 3         it.

 4         Q.    Have you taken any medication in the last 24

 5   hours, Dr. Winkler?

 6                 MS. CANFIELD:    I'm going to object.      If

 7         you're comfortable revealing your medical

 8         condition, I'm not.       I would say if there's any

 9         medications that would affect your ability to

10         testify accurately and truthfully, that would be
11         an appropriate question.

12               MS. HAGAN:      You can't coach the witness.
13               MS. CANFIELD:      No.   I'm asking you to ask him

14         that.

15               MS. HAGAN:      Ms. Canfield, you can't tell me

16         how to ask questions.         I asked the question the
17         way I did for a reason.

18         Q.    Dr. Winkler, have you taken any medication in

19   the last 24 hours?

20                 MS. CANFIELD:    And I'm going to again object.

21         And Dr. Winkler, if you're not comfortable
22         responding to that, I'm fine with it, and we can

23         take it up with the court.

24               MS. HAGAN:      Sure.
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     8                       BARRY WINKLER, M.D.


 1                THE WITNESS:    I'm comfortable responding.

 2                MS. CANFIELD:    Okay.

 3         A.     I take a medication for gastric reflux that

 4   does not affect my abilities to participate in this

 5   proceeding in any way.

 6         Q.     Have you taken any other medication besides

 7   the medication for gastric reflux?

 8         A.     No.

 9                MS. CANFIELD:    Objection.

10         Q.     So that's the only medication you've had
11   within the last 24 hours?

12         A.     Correct.
13         Q.     Have you ingest -- have you imbibed any

14   alcoholic beverages within the last 24 hours?

15         A.     No.

16         Q.     So Dr. Winkler, what is your highest level of
17   education?

18         A.     Well, I have both a juris doctorate degree

19   and a -- what they call a doctoral degree in psychology.

20   I think they're roughly equivalent in level.

21         Q.     Now, when did you get your law degree?
22         A.     1980.

23         Q.     And where did you get the law degree?

24         A.     Fordham Law School.
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                              BARRY WINKLER, M.D.                         9


 1         Q.      Okay.   And where did you get your PsyD; is

 2   that what they call it?

 3         A.    Correct.    I got that from Yeshiva University.

 4         Q.      When did you get that degree?

 5         A.    2006.

 6         Q.    Now, I also -- it was also brought to my

 7   attention that you were a member of the police

 8   department.    When did you work there?

 9         A.    I worked there from 1981 until 2000.

10         Q.      And you retired?
11         A.    Correct.

12         Q.    And what department did you work at?
13         A.      The South Hampton Town Police Department,

14   which is on Long Island.

15         Q.      And I'm assuming you got your law degree

16   right before you started at the police department,
17   interestingly enough.      Did you -- did you practice

18   before you went into -- into the police department?

19         A.    Yes, I did.

20                 MS. CANFIELD:   Objection.

21         Q.      Okay.   Where did you -- where did you work?
22         A.    I worked for a while for a law firm in

23   Riverhead, and then I had my own private practice.

24         Q.      Now, where -- what was the name of the law
          Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 10 of 353


     10                        BARRY WINKLER, M.D.


 1   firm in Riverhead?

 2          A.    McNulty, Gilmartin, Haferly [ph.], Neshy

 3   [ph.], that was the -- those were the partners.

 4          Q.    And how long were you at McNulty, et al. Law?

 5          A.    Roughly a year.

 6          Q.    So this is from 1980 to 1981?

 7          A.    Roughly, yes.

 8          Q.    And what was your area of expertise?

 9          A.    I didn't have any at that the point.          I was a

10   new lawyer, and they had me covering various cases and
11   issues.

12          Q.    And then you went into the police department?
13          A.    That's correct.

14          Q.    And you stayed at the same police department,

15   the South Hampton Law -- the South Hampton Police

16   Department for, I guess, the 19 years?
17          A.    That's correct.

18          Q.    Now, for your pension to vest, wouldn't you

19   have to stay at the police department for 20 years?

20          A.    Yes.   I worked part-time for that department

21   for a few years prior to going on full time.           And that
22   time was counted towards vesting toward my pension.

23          Q.    And how long did you work full -- part-time?

24          A.    I think it was about four years.
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                              BARRY WINKLER, M.D.                          11


 1          Q.     And at any point, did you work as an

 2   undercover police officer?

 3          A.    Yes.

 4          Q.    How long did you do that?

 5          A.     I would say I did it for about six years,

 6   five years.    I don't remember exactly.

 7          Q.    Do you know what years that you worked in

 8   this capacity?

 9          A.    I would say early '90s.       I believe it was

10   early '90s.
11          Q.    And what department were you working in when

12   you were working in an undercover capacity?
13          A.    At that point, I was assigned to the Suffolk

14   County District Attorney's Office, East End Drug Task

15   Force.

16          Q.     So Dr. Winkler, have you ever been deposed
17   before?

18          A.    No.

19          Q.    Have you ever been sued before?

20          A.    No.

21                 MS. CANFIELD:    I object -- objection to form.
22          Q.    Have you ever sued anyone?

23          A.    No.

24          Q.     Have your ever been named as a defendant in
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     12                        BARRY WINKLER, M.D.


 1   any lawsuit?

 2          A.    No.

 3          Q.    Now, Doctor, have you ever been a witness in

 4   any lawsuit?

 5                MS. CANFIELD:     Objection to form.      You can

 6          answer.

 7          A.    No.

 8          Q.     Now, when did you -- when did you obtain your

 9   degree in psychology?       I'm assuming that you did at some

10   point.
11                MS. CANFIELD:     Objection to form.      Asked and

12          answered.     You can answer again.
13          A.    2006.

14          Q.    Did you do any graduate work in psychology

15   before you got your PsyD?

16          A.    Yes, I did.
17          Q.     Where did you do that?

18          A.    I received a master's degree in forensic

19   psychology from John Jay College.

20          Q.    And when was that?

21          A.    2001.
22          Q.     And did you get an undergraduate degree in

23   psychology?

24          A.    No.
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                              BARRY WINKLER, M.D.                          13


 1          Q.    And what was your undergraduate degree in?

 2          A.    I received a -- earned, rather, a bachelor's

 3   in business administration degree.

 4          Q.    And where is this from?

 5          A.    Pace University in Manhattan.

 6          Q.    And when did you receive this degree?

 7          A.    1977.

 8          Q.    So did you do any fellowships upon your

 9   completion of, I guess, either the PsyD or the master's

10   in forensic psychology?
11          A.    Yes.    I completed a forensic psychology

12   fellowship at Bellevue Hospital after completing my PsyD
13   degree.

14          Q.    And when did you complete that?

15          A.    That ran for a year from 2006 to 2007.

16          Q.    And did you work with Dr. Ford or any of the
17   -- or Dr. Ford at that time?

18          A.    I believe at that time, yes.        I believe I was

19   working with Dr. Ford.      I think she might have been a

20   fellow at that point.

21          Q.    So you both were fellows at the same time?
22          A.    If I'm remembering correctly, I also did a

23   pre-doctoral internship at Bellevue.         So I don't recall

24   if I worked with Dr. Ford.       That would have been the
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     14                        BARRY WINKLER, M.D.


 1   year before the fellowship.        I don't recall if I worked

 2   with her during that internship year or the fellowship

 3   year.

 4           Q.   Did you publish a paper with Dr. Ford and Dr.

 5   Virginia Barber Rioja?

 6           A.   I was part of the team, yes, that

 7   co-published a paper.

 8           Q.   And that was in 2009; is that right?

 9           A.   I don't recall, but it sounds right.

10           Q.   Okay.    So how did it come -- what was your
11   first job that involved psychology or psychiatry?

12           A.   My first job was at Bellevue on the forensic
13   inpatient unit.

14           Q.   And when was that?

15           A.   That was after I completed the fellowship in

16   2007.
17           Q.   And how long did you stay there?

18           A.   I stayed at that job for about one year.

19           Q.   And what was your position exactly at that

20   time?

21           A.   I was a psychologist on the forensic
22   inpatient unit.

23           Q.   And what -- what functions did you perform at

24   that time?
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                              BARRY WINKLER, M.D.                          15


 1          A.    I did intake interviews for newly admitted

 2   patients, had therapy patients, attended treatment team

 3   meetings.    Also, there were times when the psychologist

 4   would do brief interviews of patients who had been sent

 5   from Rikers Island for possible admission.          We would do,

 6   on a rotating basis, interviews to provide an opinion as

 7   to whether the person -- the patient needed admission.

 8          Q.    Okay.   And you did this for a year.

 9                Now, what did you do after you left Bellevue?

10          A.    Well, I still worked for Bellevue, but then I
11   began working at the Bronx Court Clinic.

12          Q.    So you worked for Bellevue part time or --
13   how did that work that you worked in both places?

14                MS. CANFIELD:     Objection to form.      You can

15          answer.

16          A.    I -- my job changed.      I still worked at
17   Bellevue, but instead of being an inpatient

18   psychiatrist, I now worked full time at the Bronx Court

19   Clinic.

20          Q.    So how did -- how did it come to you that you

21   went from the forensic inpatient unit to Bellevue's
22   Bronx Court Clinic?

23          A.    I was told, it was around 2008, that the

24   funding for my line for the inpatient psychologist
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     16                        BARRY WINKLER, M.D.


 1   position would no longer be available after a certain

 2   point and that there was an opening at the Bronx Court

 3   Clinic if I wanted to take it, and I took it.

 4          Q.    Who told you that?

 5          A.    That was Dr. Hoge.

 6          Q.    And Dr. Hoge was who?       What was Dr. Hoge's

 7   position when he told you that?

 8          A.    He would have been the director of the

 9   forensic psychiatry division in that -- at Bellevue at

10   that time.
11          Q.    And the -- so you applied for the position in

12   the Bronx Court Clinic.       Who interviewed you for that
13   position?

14          A.    I recall meeting with Dr. Kaye.         I don't know

15   if we actually interviewed.        My memory is the job was

16   offered to me.     I don't remember formally interviewing
17   for it.

18          Q.    Okay.    So you met with Dr. Kaye, but you

19   don't recall if you were formally interviewed by her or

20   anyone else for that matter; is that right?

21          A.    I don't believe Dr. Kaye formally interviewed
22   me, no.

23          Q.    Okay.    So you ended up working with Dr. Kaye

24   at that time.     Now, was she your supervisor at that
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                                BARRY WINKLER, M.D.                        17


 1   time?

 2           A.    Yes, she was.

 3           Q.    Your supervisor wasn't Alan Elliot at that

 4   time?

 5           A.    Well, they would both be considered my

 6   supervisors.      So Alan Elliot was the -- is the director

 7   of psychology at Bellevue, so I would report to Dr.

 8   Elliot.      I think like on a monthly basis, we would check

 9   in.     But my direct day-to-day supervisor was Dr. Kaye.

10           Q.    And when you say you reported directly to --
11   I mean you reported monthly to Dr. Elliot, what did that

12   entail?
13           A.    We would meet roughly once a month just to

14   check in.     Dr. Elliot checked in with all of the

15   psychologists just to see how things were going, seeing

16   if there were any problems.
17           Q.    Now --

18           A.    It was a routine supervision.

19           Q.    I'm sorry.

20                 Now, did Dr. Elliot -- who completed your

21   performance evaluations?
22                 MS. CANFIELD:    Objection to form.      You can

23           answer.

24           A.    I think it was Dr. Elliot.
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     18                        BARRY WINKLER, M.D.


 1          Q.    And did he process your time and leaves

 2   requests?

 3                MS. CANFIELD:     Objection to form.      You can

 4          answer.

 5          A.    Yes, I believe he did.

 6          Q.    Now, you said that Dr. Kaye was your -- I

 7   guess direct -- or your day-to-day supervisor.            How did

 8   she -- how did she supervise you on a day-to-day basis?

 9   What functions did she perform?

10          A.    Well, she was the director of the clinic.           We
11   would see cases together.       We would discuss clinic

12   policies.    She would determine the schedule.         If I had
13   questions about matters in the clinic, I would go to

14   her.

15          Q.    And how was communication with Dr. Kaye about

16   those things?
17          A.    It was fine.

18          Q.    So she readily and willingly engaged you when

19   you had questions about, you know, the exams or the

20   process; would that be accurate?

21          A.    Yes.
22          Q.    And I'm assuming since Dr. Kaye would have

23   been at the clinic probably, I guess at this point,

24   about eight years.      She had a pretty good idea as to how
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                                BARRY WINKLER, M.D.                        19


 1   the clinic functioned and just the administration of the

 2   examinations themselves; would that be accurate?

 3          A.     Yes.

 4                 MS. CANFIELD:    Objection to form.      You can

 5          answer.

 6                 MS. HAGAN:    For the record, the deponent said

 7          yes.

 8          A.     Yes.

 9                 MS. HAGAN:    Thank you.

10          Q.     So Dr. Winkler, you worked at the forensic --
11   the Bronx Forensic Court Clinic from 2008 to 2000 --

12   March of 2018; is that right?
13          A.     Yes.   I think my first -- I think my last day

14   was actually in April, but -- in 2018.

15          Q.     Now, during that time, how would you describe

16   your relationship with Dr. Kaye?
17          A.     I think my relationship with Dr. Kaye overall

18   was a very good one.

19          Q.     And could you elaborate?

20          A.     Well, we were the only two members of the --

21   only two doctors in the clinic.        There were certain
22   cases, once in a while, we necessarily didn't see eye to

23   eye on or certain ideas on how to approach a case.            But

24   overall, we got along very well.         Dr. Kaye is a very
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     20                        BARRY WINKLER, M.D.


 1   knowledgeable clinician.       I learned a lot from her.        I

 2   think we approached our interviews and our case

 3   conceptualizations in a very similar manner.

 4          Q.    At some point, would you say that Dr. Kaye

 5   helped you develop as a professional in the forensic

 6   psychiatry field?

 7          A.    Yes, I think she did.

 8          Q.    And as a supervisor, would you say that Dr.

 9   Kaye was fair?

10          A.    Yes.
11          Q.    And would you say she was helpful?

12          A.    Yes.
13          Q.    Now, initially -- at some point -- let me --

14   let me backtrack.

15                When you started -- when we discussed when

16   you went over to the clinic, we said that Alan Elliot --
17   Dr. Elliot was your indirect supervisor, and Dr. Kaye

18   was your direct supervisor.        At some point, did Dr. --

19   did Dr. Jeremy Colley come into the picture?

20          A.    Yes.

21          Q.    Okay.    When was that?
22          A.    I don't remember the exact year, but Dr.

23   Colley eventually became the director of the forensic

24   psychiatry division at Bellevue.         So since the clinic
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                              BARRY WINKLER, M.D.                          21


 1   was part of that division, he became part of our

 2   supervision structure.

 3          Q.    And when was that?

 4          A.    I don't remember what year he took over.

 5          Q.    Okay.    Let's see.   You said you don't

 6   remember.    Let's try to approximate then.        Would you say

 7   this is around 2010?

 8          A.    My sense is it would have been later than

 9   that, but I honestly don't recall.

10          Q.    I'm going to try to -- I'm going to try to
11   see if I can get some kind of estimate.          Would -- would

12   it have been 2015?
13          A.    That sounds -- it seems it was later to me.

14   Yeah, closer to when I left the Bronx Clinic when he

15   took over.

16          Q.    So would this be around the time that Dr.
17   Ford came to CHS that Dr. Colley was your -- in the

18   supervisory orbit?

19                MS. CANFIELD:     Objection to form.      You can

20          answer.

21          A.    Do you mean when Dr. Ford went to work for
22   CHS?

23          Q.    Right.

24          A.    I just want to clarify.
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     22                         BARRY WINKLER, M.D.


 1           Q.    Yes.

 2           A.    I think so.     Not exactly sure, but I think

 3   so.

 4           Q.    So I guess the years that you worked with Dr.

 5   Kaye at the Bronx Court Clinic from 2008 to 2018 --

 6   April 2018, you would say that your working relationship

 7   was -- was pretty good?

 8           A.    Yes, that's accurate.

 9                 MS. HAGAN:     You went mute.     I'm sorry.

10                 THE WITNESS:     Can you hear me now?
11                 MS. HAGAN:     I can hear you now.

12           A.    Yes, that's accurate.
13           Q.    Okay.    So then what -- I -- and in April

14   2018, could you like list your -- the managerial

15   structure as you knew it at that time?           So at that time

16   -- let me just be clear.        Dr. Kaye was still your direct
17   supervisor, right, in April 2018?

18                 MS. CANFIELD:     Objection to form.      You can

19           answer.

20           A.    Yes, she was.

21           Q.    And then who was Dr. Kaye's supervisor?
22           A.    At that time, I believe it was still Dr.

23   Colley.

24           Q.    And who was Dr. Colley's supervisor?
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                              BARRY WINKLER, M.D.                          23


 1          A.    I believe Dr. Colley reported directly to Dr.

 2   Maryanne Badaracco.

 3          Q.    And do you recall who Dr. Badaracco's

 4   supervisor was?

 5          A.    I don't know.     Dr. Badaracco is the director

 6   of psychiatry for the hospital.        I'm not sure who she

 7   answers to or reports to.

 8          Q.    Now, was there a time -- when is the first

 9   time you learned of changes that were going to be taking

10   place with the forensic psychiatry clinics?
11          A.    Are you referring to the CHS takeover?

12          Q.    Yes.
13          A.    We began -- when I say we, I mean Dr. Kaye

14   and I -- began to hear rumors about CHS wanting to take

15   over -- consolidate and take over the court clinics.             I

16   believe that was in -- I think it was some point in
17   2017, I believe.

18          Q.    Were there questions or issues raised with

19   the Office of Health and Mental Hygiene in 2015?

20                MS. CANFIELD:     Objection to form.      You can

21          answer.
22          A.    I'm not -- I'm not sure what you mean by

23   issues raised with them.

24          Q.    Like for example, the usage of redacted
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     24                        BARRY WINKLER, M.D.


 1   medical records.      When was the first time you, I guess,

 2   engaged about that?

 3                MS. CANFIELD:     Objection to form.      You can

 4          answer.

 5          A.    We went through a period where we started to

 6   receive redacted medical records from Rikers Island.             I

 7   want to say that was somewhere -- it could have been

 8   around 2015.

 9          Q.    Okay.    And what was your position at that

10   time about the redacted medical records?
11                MS. CANFIELD:     Objection to form.      You can

12          answer.
13          A.    I did not feel it was appropriate for them to

14   be redacted.

15          Q.    Why not, Dr. Winkler?

16          A.    Because we -- in making our determination as
17   to whether somebody is fit to proceed or not, we felt

18   that we needed all the information that could be made

19   available.    And secondly, the process they were using at

20   the time, from what we were told, involved whoever was

21   redacting the records, entering some type of a key word
22   that would then result in large portions of records

23   being redacted.      And then there were some records that

24   were completely useless because they were so heavily
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                              BARRY WINKLER, M.D.                          25


 1   redacted.

 2          Q.    Now, did you believe that the medical

 3   information was relevant in terms of determining whether

 4   nor not a defendant was fit to proceed, Dr. Winkler?

 5          A.    The -- the issue was that without the

 6   redacted -- we didn't know what was redacted, and it

 7   could have been potentially useful or beneficial in

 8   determining if someone was fit to proceed.

 9          Q.    Now, at any point, did you voice your

10   concerns about the provision of redacted medical
11   records?

12          A.    Yes.
13          Q.    When did you do that?

14          A.    Around the time that we started to experience

15   the problem, Dr. Kaye and I had a lot of discussions

16   about it.    At some point, I contacted -- I forget where
17   we got the information, but we found -- I believe we

18   learned that a standard order for the records that we

19   had always used, the legal department at Rikers Island

20   had made a determination that that order was no longer

21   sufficient to receive the type of information that was
22   now being redacted.

23          Q.    Okay.   So do you recall who in the Rikers

24   Legal Department made that decision?
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     26                        BARRY WINKLER, M.D.


 1          A.    I do not.    Sorry.

 2          Q.    Now, you said you and Dr. Kaye discussed this

 3   at length.    Who else did you discuss your position on

 4   redacted medical records?

 5          A.    I'm fairly --

 6                MS. CANFIELD:     Objection to form.      You can

 7          answer.

 8          A.    I'm fairly certain that Dr. Colley was

 9   involved in the discussions.        There were some -- not

10   that they were involved in discussions, but I believe
11   certain judges were advised that we were getting

12   redacted records.      I actually had a conversation at one
13   point with a representative of the legal department at

14   Rikers Island in order to prepare a new form order that

15   would conform to what the wording that they wanted in

16   order for us to now receive non-redacted records.
17          Q.    Now, who was your supervisor at that time

18   when you worked with the Rikers Legal Department to

19   develop a new form?

20          A.    Dr. Kaye.

21          Q.    And who was your indirect supervisor?
22          A.    It still would have been Dr. Elliot.

23          Q.    Okay.    Now, at any point, did you engage a

24   Mr. Volpe from the Office of Mental Health and Hygiene
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                               BARRY WINKLER, M.D.                         27


 1   about this issue?

 2          A.    The name is familiar.      Yeah, John Volpe.       I

 3   don't recall -- I remember -- I recall the name.            I

 4   don't recall what interactions I had with him though.

 5          Q.    Do you recall an interest of Mr. Volpe in the

 6   Miguel Figueroa case?

 7                MS. CANFIELD:     What is that case again?

 8                MS. HAGAN:    Miguel Figueroa.

 9          A.    I recognize the name.      I don't remember the

10   details though.
11          Q.    Was there an -- in this instance, and I'm

12   referring to Miguel Figueroa, were there -- did he --
13   was he an inmate that presented particular problems as

14   far as being produced?

15                MS. CANFIELD:     Objection to form.      You can

16          answer.
17          A.    I think he -- I know which inmate you're

18   speaking about.     My recollection was that he was, yes.

19          Q.    And what do you recall exactly about that,

20   about Mr.    Figueroa?

21          A.    I'm not sure if I'm remembering the correct
22   defendant, but there was a defendant who at one point

23   was a particular behavior problem at Rikers Island.             And

24   he had been transferred repeatedly from Rikers to
          Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 28 of 353


     28                        BARRY WINKLER, M.D.


 1   Bellevue and from Bellevue back to Rikers Island.            And

 2   eventually, my understanding -- excuse me, was that

 3   Bellevue, which would have been Dr. Colley, I believe at

 4   the time making the decisions, said that they would no

 5   longer admit that patient at Bellevue Hospital.            I don't

 6   recall definitively if that was Mr. Figueroa, but I

 7   think it might have been him.

 8          Q.    Do you recall having discussions about a

 9   forced order and whether or not that would be

10   appropriate in this context with Mr.          Figueroa?
11                MS. CANFIELD:     Objection as to form.

12          A.    If Mr. Figueroa, again, I have to qualify it.
13   If he, in fact, was the defendant I'm speaking of, then

14   yes, I think we did have discussions about a forced

15   order about that defendant.

16          Q.    And do you remember the content of those
17   discussions?

18          A.    I don't.

19          Q.    Now --

20          A.    Other than -- other than a force order for

21   whatever reason would have been required in the content
22   of the discussion that I would imagine.

23          Q.    Was there some interference with Mr.

24   Figueroa's 730 examination during that time to get him
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                              BARRY WINKLER, M.D.                          29


 1   off of Rikers Island?

 2                MS. CANFIELD:     Objection as to form.      He can

 3           answer.

 4           A.   Again if -- if Mr. Figueroa is the defendant

 5   that I'm thinking of, we received word at one point that

 6   Patsy Yang had called the district attorney's office to

 7   ask if Mr. Figueroa could be found unfit without an

 8   examination and moved out of Rikers Island.

 9           Q.   And what was your -- what did you think of

10   that?
11           A.   I thought it was inappropriate.

12           Q.   Could you elaborate?
13           A.   Well, someone cannot be found unfit to

14   proceed without an examination per the statute.

15           Q.   And when -- when Dr. Yang attempted to -- I

16   guess when Dr. Yang engaged in this effort, which
17   evaluators did she expect to find him unfit?

18                MS. CANFIELD:     Objection to form.      You can

19           answer.

20           A.   Honestly, I can't honestly say that she --

21   all I know is that she asked -- the information I
22   believe we received is that she asked if it could be

23   done.    I don't know if she -- I don't recall if she told

24   them she wanted it done, but my understanding was that
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     30                        BARRY WINKLER, M.D.


 1   it would -- the DA would just have -- DA's office would

 2   just have said that that defendant was unfit.            It never

 3   happened.    So I don't know what mechanism, but there

 4   would have been no other examiners to see him other than

 5   myself and Dr. Kaye.

 6          Q.    Now, did you ever hear from Dr. Yang directly

 7   yourself at that time?

 8          A.    Not that I recall.

 9          Q.    Okay.    Had you ever met Dr. Yang at that

10   point?
11          A.    No, I don't think I had.

12          Q.    At that point, had Dr. Yang revealed her role
13   or her position as far as the court clinics at that

14   point?

15                MS. CANFIELD:     Objection as to form.       You can

16          answer.
17          A.    I'm not sure what you mean by her role or her

18   position.

19          Q.    Well, you just said that Dr. Yang contacted

20   the DA's office to see if Mr.        Figueroa could be found

21   unfit without an examination; right?
22          A.    That's correct.

23                MS. CANFIELD:     Objection to form.      You can

24          answer.
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                               BARRY WINKLER, M.D.                         31


 1          A.    That's correct.

 2                MS. HAGAN:    He said sure.     Right?

 3          Q.    Huh?

 4          A.    I said that is correct.

 5          Q.    Right.   At that time, what did you understand

 6   Dr. Yang's position to be?

 7                MS. CANFIELD:     Objection to form.      You can

 8          answer.

 9          A.    As far as I knew, she was the head of CHS.

10   I'm not sure her exact title.
11          Q.    Now, what did you understand her position to

12   be as it pertained to the court clinics?
13                MS. CANFIELD:     Objection to form.      You can

14          answer.

15          A.    I don't recall.     I'm trying to remember the

16   time frame of when that happened.        I don't recall at
17   that point if she had any direct -- I don't know of any

18   direct involvement by her with the court clinics at that

19   point.

20          Q.    Did you find it odd that she would have

21   contacted the DA's office regarding Mr. Figueroa, since
22   you hadn't known her to be directly involved with the

23   court clinics?

24                MS. CANFIELD:     Objection to form.      You can
          Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 32 of 353


     32                        BARRY WINKLER, M.D.


 1          answer.

 2          A.    It was certainly an unusual request.

 3          Q.     How often was the Department of Health &

 4   Mental Hygiene involved in the administration of the

 5   forensic evaluations at the court clinics?

 6                MS. CANFIELD:     Objection to form.      You can

 7          answer.

 8          A.    Well, do you mean the day-to-day operations,

 9   like the evaluations that we did?

10          Q.    I guess we can start with the day to day and
11   just the overall -- general operations of the clinic.

12          A.    Well, they weren't involved in the day-to-day
13   operations.     But OMH is eventually involved in most

14   cases where someone's found unfit.         They, depending on

15   the charges under the law, often go into OMH custody for

16   restoration of fitness.
17          Q.    And would this be Kirby?

18          A.    It could be Kirby, or it could be Mid-Hudson.

19          Q.     And how often would you say that -- let me --

20   let me rephrase that.

21                The Office of Mental Health, who would they
22   typically engage from CHS regularly?          Would that have

23   been the director of the clinic or someone above the

24   director?
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                              BARRY WINKLER, M.D.                          33


 1                MS. CANFIELD:     Objection to form.      You can

 2          answer.

 3          A.    We didn't really have -- I don't know that

 4   they have had, rather, any direct contact with the

 5   clinics.    The -- once somebody in the example that I

 6   just used about being found unfit, that would happen

 7   with the court.     So our paperwork would go to the court.

 8   And then assuming the judge agreed with our opinion and

 9   there was an order for that defendant to be transferred,

10   then that would take place between the court, Rikers
11   Island, OMH, whatever the facility was.

12          Q.    And I just want to make sure that the
13   record's clear, because there's a state equivalent and a

14   city equivalent of the Office of Mental Health and

15   Hygiene.    Now, Dr. Yang worked at the department of

16   mental -- the Department of Mental Health and Hygiene.
17   That would be the city agency; is that right?

18                MS. CANFIELD:     Objection to form.      You can

19          answer.

20          A.    Yes, I believe that's right.

21          Q.    And OMH that you're talking about with Kirby
22   and Mid-Hudson, that's the state agency; is that right?

23          A.    That's correct.

24          Q.    So now, Dr. Winkler, were you -- what was
          Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 34 of 353


     34                        BARRY WINKLER, M.D.


 1   your -- let me rephrase this.

 2                What was your understanding of the transition

 3   from, let's say, Corizon to CHS; what do you remember

 4   about that?

 5                MS. CANFIELD:     Objection to form.      You can

 6          answer.

 7          A.    What I recall was that -- I recall hearing

 8   that Corizon was a contract agency with the city, and

 9   that the city had decided they no longer wanted to use a

10   contract agency to supply those services, and that they
11   wanted CHS to take over those services as a city agency.

12          Q.    Now, I guess now that we're kind of talking a
13   little bit about Dr. Yang, when was the first time you

14   met Dr. Yang, actually?

15          A.    As far as I recall, the first time I met Dr.

16   Yang was -- I believe it was towards the end of 2017.
17   She came to the Bronx Court Clinic with a number of

18   other individuals for a meeting with Dr. Kaye and

19   myself.

20          Q.    And what do you remember about that -- about

21   that meeting?
22          A.    I remember that we had been hearing, as I

23   mentioned earlier, about rumors that CHS was going to

24   take over the court clinics.        There were various rumors
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                              BARRY WINKLER, M.D.                          35


 1   circulating that the clinics would then be closed and

 2   the clinicians would be moved to Rikers Island.           And

 3   what I remember about that meeting was that Dr. Yang and

 4   other individuals came to the court clinic to speak to

 5   us about the transition and the (indiscernible).

 6          Q.    And what was your impression of Dr. Yang at

 7   that time?

 8          A.    In terms of what?

 9          Q.    Just in general.     I mean she was there, she's

10   speaking to you.
11          A.    I didn't really form any impression about

12   her.
13          Q.    At any point, did you believe that some of

14   the goals that Dr. Yang and CHS management had for the

15   court clinics and the turnarounds of the 730 exams were

16   unrealistic?
17                MS. CANFIELD:     Objection to form.      You can

18          answer.

19          A.    Nothing was discussed about that at that

20   meeting.    Are you talking about at any point since CHS

21   has taken over?
22          Q.    Yes.

23          A.    At one point -- well, I don't even know if

24   this was a CHS program.      At one point, the mayor's
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     36                        BARRY WINKLER, M.D.


 1   office on criminal justice developed a pilot project,

 2   which was implemented in the Queens Court Clinic.            And I

 3   felt that those turnaround times, goals for reports,

 4   seemed short to me.

 5          Q.    Now, who was running the Queens Court Clinic

 6   at that time?      Who was the director?

 7          A.    At that time, it would have been Dr.

 8   Elizabeth Owen.

 9          Q.    Now, does Dr. Owen still work at CHS?

10          A.    No.
11          Q.    Now, you still work at CHS; right?

12          A.    Yes.
13          Q.    You said yes; right?

14          A.    Yes.

15          Q.    Okay.    Now, do you know why Dr. Owen no

16   longer works at CHS?
17          A.    She resigned.

18          Q.    Was this a voluntary resignation?

19          A.    I don't know.

20          Q.    Okay.    When did she resign?

21          A.    About two or three weeks ago.
22          Q.    Has a replacement been put in place yet?

23          A.    Not as far as I know.

24          Q.    Now, what were the goals identified with the
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                              BARRY WINKLER, M.D.                          37


 1   Queens Court Clinic that you, I guess, had some

 2   skepticism about?

 3                MS. CANFIELD:     Objection to form.      He can

 4          answer.

 5          A.    Are you referring to report preparation

 6   times?

 7          Q.    Any.   Well, we can start with that.

 8          A.    Well, the only thing that I had any question

 9   about was the report preparation time.          I believe their

10   goal was a seven-day turnaround time for misdemeanors
11   and a 14-day turnaround time for felony cases.

12          Q.    And you took issue with that?
13          A.    I wouldn't say -- I wouldn't say I took issue

14   with it.    I would say that I didn't feel it was

15   realistic in all cases, because different cases have

16   different requirements in terms of how quickly they can
17   be completed.

18          Q.    Well, why wasn't it actually realistic?          Like

19   as far as you said, different cases have different, I

20   guess, circumstances that would necessitate different

21   time frames; would that be accurate?
22                MS. CANFIELD:     Objection to form.      You can

23          answer.

24          A.    That's accurate.
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     38                        BARRY WINKLER, M.D.


 1          Q.     So what would influence the turnaround of the

 2   given case?

 3          A.    If a defendant -- what would influence it

 4   would be, for example, if a defendant needs to be seen

 5   for a second interview, if a defendant requires

 6   psychological testing to qualify any potential

 7   psychiatric problems, if the examiners required medical

 8   records, either from Rikers Island or other hospitals

 9   where the defendant had been treated.

10          Q.    So those would be, I guess, the major factors
11   that would basically impact -- influence or impact the

12   turnaround.     For example, like, let's say -- let me just
13   ask.   Are there instances wherein defendants or inmates

14   refuse to appear for your scheduled examinations?

15          A.    Yes.

16          Q.    Okay.    So that would impact the turnaround;
17   am I right?

18          A.     Correct.   That's another factor.

19          Q.    Now, I'm going to go back to the 2017 meeting

20   that you had for the first time with Dr. Yang.            During

21   that time, was a discussion about HIPAA releases being
22   presented raised by Dr. Yang?

23          A.    I'm sorry.

24                MS. CANFIELD:     Objection to form.      You can
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                              BARRY WINKLER, M.D.                          39


 1          answer.

 2          A.    I didn't hear the entire question.

 3   Discussion of what?

 4          Q.    Didn't Dr. Yang say that she wanted to

 5   present HIPAA releases to all defendants at arraignment

 6   at that time?

 7                MS. CANFIELD:     Objection to form.      You can

 8          answer.

 9          A.    I don't recall if she said that at that

10   meeting.    That idea was floated at some point.         I don't
11   recall if it came from Dr. Yang or if it was a point

12   that was discussed among the different court clinic --
13   clinicians in the different boroughs.         I don't recall

14   Dr. Yang saying that at that meeting.

15          Q.    Do you recall Dr. Kaye expressing concern

16   about HIPAA releases at that time?
17                MS. CANFIELD:     Objection to form.      You can

18          answer.

19          A.    I recall at whatever point that issue came

20   up, and I don't recall that it happened at that meeting.

21   But at whatever point we learned about that idea, both
22   Dr. Kaye and I expressed opposition to it.

23          Q.    Okay.   At any point, do you recall Dr. Yang

24   ever say, “If you don't like it, there's the door”?
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     40                        BARRY WINKLER, M.D.


 1                MS. CANFIELD:     Objection to form.      You can

 2          answer.

 3          A.    I recall at the -- at the meeting, which I

 4   believe was at the end of 2017, I forget what it was in

 5   reference to, what it was connected to, but I seem to

 6   recall Dr. Yang saying something to the effect of if

 7   they don't like it, they can leave.

 8          Q.    Did she say also that we've got the money and

 9   if you don't like it, then there's the door?

10                MS. CANFIELD:     Objection to form.      You can
11          answer.

12          A.    I don't recall any reference to the money
13   being connected to the statement about not liking it,

14   and I don't recall if she said there's the door.            My

15   recollection is she said, if they don't like it, they

16   can leave.    During that meeting, there was a discussion
17   about CHS having a different or separate budget line

18   with City Hall, which would enable them to make staffing

19   and other improvements, that for example, Bellevue and

20   Kings County, who had staffed the clinic previously,

21   would not have been able to do.
22          Q.    And how did you learn about this?

23                MS. CANFIELD:     Objection to form.      You can

24          answer.
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                              BARRY WINKLER, M.D.                          41


 1           A.   Learn about what?

 2           Q.   About the different -- separate budget line

 3   for CHS versus Bellevue and Kings County?

 4           A.   Somebody said it at that meeting.         I don't

 5   remember if it was Dr. Yang, or it was someone from CHS

 6   who said that.

 7           Q.   Now, at any point, were you asked or

 8   approached about working in the work group?

 9           A.   Do you mean after CHS took over?

10           Q.   Yes.
11           A.   After the takeover started?

12           Q.   Right.
13           A.   Yes.

14           Q.   And when would you say that happened?

15           A.   I believe it happened somewhere in the

16   beginning of 2018.     Maybe end of 2017, beginning of
17   2018.

18           Q.   Now, when -- when, I guess, CHS took over,

19   how do you -- do you recall Dr. Kaye's reaction as the

20   takeover started?

21                MS. CANFIELD:     Objection to form.      You can
22           answer.

23           A.   Can you be more specific?       I'm not sure what

24   you're referencing.
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     42                        BARRY WINKLER, M.D.


 1          Q.    Well, you know, there may have been an

 2   exchange with Dr. Yang and Dr. Kaye regarding the HIPAA

 3   releases at that time, or at least she disagreed with

 4   that as far as requiring the -- or seeking to have the

 5   inmates execute on these HIPAA releases.           Do you recall

 6   any animosity that may have, I guess, emerged around

 7   that time between Dr. Kaye and Dr. Yang?

 8                MS. CANFIELD:     Objection to form.      You can

 9          answer.

10          A.    Not that I recall.
11          Q.    Did you ever tell Dr. Kaye that there was a

12   power struggle between she and Dr. Kaye -- Dr. Yang?
13          A.    Did I tell Dr. Kaye there was a power

14   struggle between her and Dr. Yang?

15          Q.    Right.

16          A.    I don't recall saying that.
17          Q.    Did you ever hear any complaints about Dr.

18   Kaye from Dr. Yang?

19          A.    No.

20          Q.    Did you hear any complaints about Dr. Kaye

21   from Dr. Ford?
22          A.    Not that I recall.

23          Q.    Now, at some point, Dr. --- you and Dr. Kaye

24   assisted Dr. Ford when she, I guess, worked for --
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                              BARRY WINKLER, M.D.                          43


 1   worked with the clinics prior to her position at CHS;

 2   isn't that right?

 3                MS. CANFIELD:     Objection to form.      You can

 4          answer.

 5          A.    I don't know what you mean assisted her.          Can

 6   you be more specific?

 7          Q.    For example, there was a backlog, I believe,

 8   at the Manhattan Court Clinic.        And it appeared that you

 9   and Dr. Kaye may have worked to address that backlog.

10   Do you remember that?
11                MS. CANFIELD:     Objection to form.      You can

12          answer.
13          A.    I do recall seeing some Manhattan cases

14   because they had a backlog, yes.

15          Q.    And when did that take place?

16          A.    I honestly don't recall.
17          Q.    But this is before Dr. Ford assumed her

18   capacity with CHS; is that right?        This is before --

19   this is the first time she was working with the clinics?

20                MS. CANFIELD:     Objection as to form.      You can

21          answer.
22          A.    I think it was, but I'm not certain.

23          Q.    Now, did Dr. Ford play any part in you being

24   hired at CHS -- not CHS.       We're talking about the Bronx
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     44                        BARRY WINKLER, M.D.


 1   Court Clinic.     I'm sorry.

 2                MS. CANFIELD:     Objection to form.      You mean

 3          before CHS or after CHS?

 4                MS. HAGAN:     Before CHS.

 5          A.    So you mean when I got hired to work at the

 6   Bronx Court Clinic?

 7          Q.    Initially, yes.

 8          A.    No, she did not.

 9          Q.    Now, you were eventually promoted to director

10   of the Brooklyn Court Clinic; right?
11          A.    Yes.

12          Q.    Now, did Dr. Ford encourage you to seek that
13   promotion?

14          A.    The process was that once CHS took over the

15   clinics, they had an open position for a director of all

16   the clinics.     And I applied for that job and was not
17   given that job.     And I got a call from Dr. Ford to tell

18   me that I had not been chosen for the job, and she told

19   me that there were open director positions at the

20   Manhattan and the Brooklyn clinics and asked me if I

21   would be interested in one of those jobs.           I told her
22   that I would need to think about it.          I called her the

23   next day.    She said the Manhattan position was no longer

24   available but Brooklyn still was, and I said I would
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                              BARRY WINKLER, M.D.                          45


 1   take Brooklyn.

 2           Q.   And what made you decide to take the Brooklyn

 3   Court Clinic director position?

 4           A.   It was a promotion.      It was an opportunity to

 5   run my own clinic.

 6           Q.   But not because of the working conditions at

 7   the Bronx Court Clinic?

 8           A.   No.

 9           Q.   You said no?

10           A.   No.
11           Q.   Would you say that Dr. Kaye -- let me scratch

12   that.
13                So would you say that the work environment at

14   the Bronx Court Clinic was -- how -- let me stop there.

15   How would you describe the working conditions at the

16   Bronx Court Clinic at that time right before you left?
17           A.   Are you talking about the case load, the

18   relationship between Dr. Kaye and I?         What are you

19   referencing?

20           Q.   Okay.   Well, let's start, the relationship

21   between you and Dr. Kaye at the time, how was it?
22           A.   It was fine.

23           Q.   Okay.   Was the -- was the environment at the

24   Bronx Court Clinic combative?
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 46 of 353


     46                         BARRY WINKLER, M.D.


 1                 MS. CANFIELD:     Objection to form.      You can

 2           answer.

 3           A.    No.

 4                 MS. HAGAN:     He said no.

 5           Q.    Was the environment at the Bronx Court Clinic

 6   adversarial?

 7           A.    No.

 8           Q.    Did it seem as if Dr. Kaye was working with

 9   the defense community to set people up?

10                 MS. CANFIELD:     Objection to form.      You can
11           answer.

12           A.    To set people up for what?
13           Q.    Well, I guess, perhaps, for additional

14   scrutiny or for targeting by just -- I don't know.              Was

15   it hostile to, I guess, people who were outside of -- I

16   guess, outside of their cliques, as people would call
17   it?

18                 MS. CANFIELD:     Objection to form.      You can

19           answer.

20           A.    You mean defense attorneys or court personnel

21   that we worked?
22           Q.    Well, let's break it -- let's flush it down.

23                 Did Dr. Kaye have a good relationship with

24   the defense community?
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                              BARRY WINKLER, M.D.                          47


 1          A.    Yes.

 2          Q.    And when I say “the defense community,” can

 3   you list out the various organizations she may have

 4   engaged during that time, do you recall?

 5          A.    Yes.   I recall that we engaged with Legal

 6   Aid, Bronx Defenders Service or Society, I forget what

 7   it's called.    We had also -- we would engage with 18B

 8   attorneys, assigned attorneys.        And every once in a

 9   while, we would engage with a private pay attorney.

10          Q.    So you -- how would you describe Dr. Kaye's
11   relationship with the Bronx Defenders?

12          A.    Initially, there were some issues with Bronx
13   Defenders based upon, I would say, the fault of the

14   attorney, quite frankly, not really knowing or following

15   the parameters of how the evaluations were done.            I did

16   not witness it, but I remember Dr. Kaye telling me at
17   one point, Bronx Defenders attempted to have a social

18   worker sit in on an evaluation under the guise of being

19   an attorney when they weren't actually an attorney.            I

20   wasn't present for that.       But then I believe Dr. Kaye

21   spoke with the particular attorney at Bronx Defenders
22   that I'm referencing.      And then after that, actually the

23   relationship was rather good.

24          Q.    And when would you say that took place?
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     48                        BARRY WINKLER, M.D.


 1           A.   Wow, a few years before I left.         Maybe 2015,

 2   2016.    I don't really remember.

 3           Q.   And how would you say her relationship was

 4   with Legal Aid?

 5           A.   Very good.

 6           Q.   And the 18B attorneys?

 7           A.   It was fine.     There would always be an

 8   individual attorney who through, quite frankly, no fault

 9   of ours, Dr. Kaye's or mine, who was difficult to deal

10   with.    But you know, 18B is different attorneys;
11   whereas, Bronx Defenders and Legal Aid, you deal with

12   the same attorney, usually.        But overall, I would say it
13   was fine.

14           Q.   And what about the judges in the Bronx

15   Supreme Court?

16           A.   What about them?
17           Q.   How was her -- how was her relationship with

18   them?

19           A.   Very good.

20           Q.   Would it be fair to say that Dr. Kaye was

21   well respected amongst these different -- would it be
22   fair that Dr. Kaye was fairly well respected?

23                MS. CANFIELD:     Objection to form.      You can

24           answer.
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                               BARRY WINKLER, M.D.                         49


 1           A.   By who?

 2           Q.   Let's say the Bronx Defenders, let's go with

 3   that.

 4           A.   I'm sorry.    I didn't hear the -- the Bronx

 5   what?

 6           Q.   The first one, as far as the Bronx Defenders,

 7   would you say that Dr. Kaye was well respected?

 8           A.   I think eventually, once the initial

 9   friction, for lack of a better word, was resolved, yes.

10           Q.   And would you say she was well represented
11   with Legal Aid?

12           A.   Yes.
13           Q.   And then would you say that Dr. Kaye was well

14   respected by the judges?

15           A.   Yes, I would.

16           Q.   And would you say that Dr. Kaye's
17   relationship with these various stakeholders enabled you

18   all to run the court clinics effectively?

19                MS. CANFIELD:     Objection to form.      He can

20           answer.

21           A.   Yes, I would.
22           Q.   Do you believe that Dr. Yang, Dr. Ford,

23   and/or Dr. Jain, effectively leveraged Dr. Kaye's

24   relationship with -- with the Bronx Defenders, Legal
          Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 50 of 353


     50                        BARRY WINKLER, M.D.


 1   Aid, and the judges in the unit in the --

 2                 MS. CANFIELD:    Objection to the form.

 3          Q.    -- in the area?

 4                MS. CANFIELD:     Objection to form.      You can

 5          answer.

 6          A.    I don't know what you mean by “effectively

 7   leveraged.”      Can you be more specific?

 8          Q.    Well, did they actually approach Dr. Kaye to

 9   see if she could facilitate a relationship with these

10   various entities when they came on board?
11                MS. CANFIELD:     Objection to form.      You can

12          answer.
13          A.    I don't recall specifically if they did, but

14   as -- I believe Dr. Kaye was the longest employed

15   clinician in the clinics at that time.          So it would have

16   made sense to approach her with questions about
17   operations, et cetera.

18          Q.    Did they?

19                MS. CANFIELD:     Objection to form.      You can

20          answer, if you're able.

21          A.     Who are you referring to again?        Tell me the
22   doctors you're referring to, Dr. Jain and who else?

23          Q.    Dr. Jain, Dr. Yang, and/or Dr. Ford, and I

24   guess Dr. MacDonald.      I'm sorry.     I didn't mention him.
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                              BARRY WINKLER, M.D.                          51


 1          A.    I don't know that Dr. MacDonald or Dr. Yang

 2   ever did.    I think at some point Dr. Ford, there might

 3   have been discussions about how to handle certain issues

 4   at the clinic.     And I don't know about -- I'm not sure

 5   about Dr. Jain's interactions.

 6          Q.    Now, at any point, did Dr. Jain reach out to

 7   you to, I guess to -- I guess get insight as to how to

 8   engage Dr. Kaye?

 9                MS. CANFIELD:     Objection to form.      You can

10          answer.
11          A.    He didn't reach out to me necessarily as how

12   to engage Dr. Kaye.      But he did ask me at -- sometimes
13   about the clinic, just overview of the operations of the

14   clinic.

15          Q.    How would you describe the dynamic between

16   Dr. Jain and Dr. Kaye?
17                MS. CANFIELD:     Objection to form.      You can

18          answer.

19          A.    I wasn't present for their interactions,

20   other than an occasional director's meeting.           The little

21   bit I saw at those meetings seemed professional,
22   cordial.    At those meetings, we were often asked to

23   provide opinions about things, and sometimes we did not.

24   Some of us didn't agree with other's opinions.
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     52                        BARRY WINKLER, M.D.


 1           Q.   When you say some of us didn't agree with

 2   other's opinions, what do you mean?

 3           A.   Well, some of the directors would not

 4   necessarily agree about opinions about procedures in the

 5   clinics or proposed procedures, common discussion about

 6   various operating issues.

 7           Q.   I guess I wanted to ask specifically about,

 8   did Dr. Jain ever complain to you about Dr. -- Dr. Kaye?

 9           A.   No.

10           Q.   Okay.    Did Dr. Kaye complain to you about Dr.
11   Jain?

12           A.   Yes.
13           Q.   What did she complain about?

14           A.   I recall at one point, she said that she did

15   not like to do interviews with him for evaluations

16   because he had a different style of interviewing that
17   didn't necessarily dovetail with how she was used to

18   doing her interviews.       I don't know that she necessarily

19   got along well with Dr. Jain after the takeover.

20           Q.   Could you repeat that.       I didn't hear that.

21           A.   I said I don't know -- I can't really provide
22   a lot of specifics, but my sense was that she did not

23   get along well with Dr. Jain.

24           Q.   Did Dr. Jain get along well with Dr. Kaye?
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                              BARRY WINKLER, M.D.                          53


 1          A.     I don't know.    I wasn't present for their

 2   interactions.

 3          Q.    At any point, did you ever tell Dr. Kaye that

 4   Dr. Jain was naive?

 5          A.     I think I did mention that to her at one

 6   point, yes.

 7          Q.     Do you recall the context of that

 8   conversation?

 9          A.     I'm trying to remember.      I honestly don't

10   recall if it was some -- I don't recall where it came
11   up, honestly.    I do remember making that comment to her

12   though.
13          Q.    Did you ever complain to Dr. Kaye that Dr.

14   Jain's exams were long and irrelevant -- and had

15   irrelevant detail?

16          A.    I recall telling Dr. Kaye that I thought Dr.
17   Jain's interviews were at times too long.          Just my

18   opinion.    We all have our own ways of doing interviews.

19   I remember telling Dr. Kaye, for example, that Dr. Jain

20   would always include a formal mental status that some of

21   us do not do unless it was necessary.         So there were
22   differences in interview style that I do recall telling

23   her about.

24          Q.    Did you ever tell her that the staff at the
          Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 54 of 353


     54                        BARRY WINKLER, M.D.


 1   Brooklyn Court Clinic hated doing exams with Dr. Jain?

 2          A.    I don't know if I used the word “hated.”           If

 3   I did, it was probably meant more as a joke.           But I did

 4   communicate to her that the staff would prefer not to do

 5   interviews, because his interviews were so long, but

 6   nobody ever refused to do an interview with him.

 7          Q.    Now, did you ever tell Dr. Jain that you felt

 8   that his reports were too long?

 9          A.    I did tell him at one point that -- I don't

10   think I used the words “Your reports are too long.”             But
11   I remember commenting to him that his reports were

12   longer than mine and that he wrote long reports.
13          Q.    Did he become defensive when you talked to

14   him about that?

15          A.    I don't remember him becoming defensive.           I

16   remember him just referencing his training.           I actually
17   remember discussing with him about the mental status

18   exams, which I mentioned earlier, and his -- he gave me

19   his rationale for it, that he would rather have the

20   information in the report if he had to testify.            But I

21   don't recall him becoming defensive.
22          Q.    Now, at any point with the working group, did

23   Dr. Kaye ever complain to you about not being invited to

24   participate in that?
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                              BARRY WINKLER, M.D.                          55


 1          A.    I do recall her complaining about that, yes.

 2          Q.    Can you ex -- can you elaborate?

 3          A.    I forget which meetings -- I believe she --

 4   she did not participate in -- I forget how many meetings

 5   we had.     We had a few.    I forgot which ones she was not

 6   there for, but I do recall her complaining that she had

 7   not been invited.

 8          Q.    And was there a time that she complained that

 9   you had been invited instead of her?

10          A.    Yeah.   I think she did say something to that
11   effect.     But I don't think it was a -- I shouldn't have

12   been there, and she should.       I think it was if I was
13   there, she should have been there situation.

14          Q.    Did you agree with her?

15          A.    Yeah.   I think she should have been there.

16          Q.    Now, who made the decision to invite you and
17   not Dr. Kaye?

18          A.    I think it was Dr. Ford.

19          Q.    Did Dr. Ford approach you directly about

20   going to the work group meeting?

21          A.    Not directly.     I think -- I think we got -- I
22   think it was an email process where -- I forget.            I

23   think it started out as they wanted two representative

24   from each clinic.     I don't remember how I wound up being
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     56                        BARRY WINKLER, M.D.


 1   designated to go.

 2          Q.    Now, by the time CHS took over the court

 3   clinics, how would you describe how Dr. Kaye was being

 4   treated by CHS management?

 5                MS. CANFIELD:     Objection to form.      You can

 6          answer.

 7          A.    What do you mean by being treated?          That's

 8   pretty broad.

 9          Q.    Well, you said they invited you, if not Dr.

10   Kaye, to the work group.       Or, I can't say “they,” well,
11   Dr. Ford, specifically, in this instance.           Were there

12   any other times where you -- you may have observed that
13   Dr. Kaye may not have been treated fairly, perhaps, by

14   CHS management?

15                MS. CANFIELD:     Objection.     Objection.    I

16          mean, I don't think we even have timelines as to
17          when this happened, but go ahead.         He can answer.

18                MS. HAGAN:     When CHS took over.      That's what

19          I'm saying.     That's the timeline.      CHS took over

20          in 2000 -- we're not sure when CHS took over.

21          That's not clear.
22                MS. CANFIELD:     No.   What's not clear is when

23          -- when not being invited to this meeting, because

24          I don't know when that happened either.           But go
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                               BARRY WINKLER, M.D.                         57


 1           ahead, you can answer.

 2                MS. HAGAN:    You can't coach the witness, Ms.

 3           Canfield.

 4                MS. CANFIELD:     I'm not.    I'm just trying to

 5           get a clear record, but go ahead.

 6                MS. HAGAN:    You'll have an opportunity to do

 7           so at the end.

 8                MS. CANFIELD:     Okay.   I know.    I directed the

 9           witness to go ahead.

10                MS. HAGAN:    Yes.
11           A.   Ms. Hagan, please ask your question again.

12           Q.   Yeah.    During the time that CHS took over,
13   right, how would you say that Dr. Ford treated Dr. --

14   Dr. Kaye?

15           A.   I don't know that I can comment on that.          I

16   wasn't present.      The takeover happened over a number of
17   months, so I wasn't present for interactions between

18   them.

19           Q.   What about Dr. Jain and -- and Dr. Kaye?

20           A.   I wasn't present at all for interactions

21   between Dr. Jain and Dr. Kaye, because I was already
22   down in Brooklyn by the time Dr. --

23           Q.   So at any point given point, for example, did

24   Dr. Kaye complain to you about the shift change that she
          Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 58 of 353


     58                        BARRY WINKLER, M.D.


 1   was experiencing?

 2          A.    Yes, she did.

 3          Q.    What do you recall about that complaint?

 4          A.    I recall that she told me -- I forget what

 5   her original shift was.       It might have been 9 to 5:30.

 6   I'm not sure.     But I remember her telling me that her

 7   shift had been changed, I believe, to start a half hour

 8   earlier.

 9          Q.    At any point, for example, did Dr. Kaye tell

10   you that she was being made to work more hours than the
11   other directors?

12          A.    I don't recall her saying that.
13          Q.    What do you recall her saying?

14          A.    What I recall her saying was -- about that

15   shift change was that it was -- she felt it was -- it

16   violated some prior agreement or -- or something between
17   doctors' counsel, her union.        And I'm not sure of that

18   agreement, whether it was maybe H&H about shift times or

19   number of hours.      And I -- I remember her saying that

20   she felt that violated that agreement.

21          Q.    At any point, did she tell you that she was
22   made to report to work at 8:00 in the morning?

23          A.    I thought it was 8:30, but she might have

24   said that she had been at some point.          I'm not positive.
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                              BARRY WINKLER, M.D.                          59


 1           Q.   Now, were you -- were you aware of any issues

 2   that Dr. Kaye was experiencing with childcare at that

 3   time?

 4           A.   Yes.

 5           Q.   What do you remember about that?

 6           A.   What I remember was that one of her children

 7   has or had a fairly serious allergic condition.           I think

 8   maybe it's called a chemical allergy or something to

 9   that effect.      And I remember her saying that having to

10   come to work earlier, interfered with her ability to
11   provide him some treatment or assistance that he needed

12   in the morning.
13           Q.   And do you ever recall Dr. Kaye complaining

14   about pay equity to Dr. Ford while you were there?

15                MS. CANFIELD:     Objection as to form.      You can

16           answer.
17           A.   I don't know about her -- I don't know if she

18   complained to Dr. Ford, but Dr. Kaye did complain to me

19   several times about pay inequity.

20           Q.   What did she -- what did she complain about

21   specifically?     What did she say?
22           A.   She said, from what I recall, that she was

23   paid less than her counterpart in Manhattan.

24           Q.   And who would that have been?
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     60                        BARRY WINKLER, M.D.


 1          A.    I believe it was both for Dr. Richard Rosner.

 2   Then after he left, I believe Dr. Steve Ciric took over.

 3   And I believe, from what I recall, she claims she was

 4   paid less than both of them.

 5          Q.    Now, Dr. Winkler, I don't want to go too far

 6   astray from the hours.       What -- what are your hours at

 7   clinic director in Brooklyn?

 8          A.    9 to 5.

 9          Q.    Okay.     And have those always been your hours?

10          A.    Yes.
11          Q.    And how long is your lunch?

12          A.    One hour.
13          Q.    Are you made to sign in and out at specific

14   times?

15          A.    No.

16          Q.    Okay.     And when you submitted your reports,
17   your time sheets, who did you submit them to?

18          A.    I'm sorry?

19                MS. CANFIELD:     Objection to form.

20          Q.    When you submitted your time sheets, who did

21   you submit them to?
22          A.    I submit -- at the time it is submitted

23   electronically.

24          Q.    Right.
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                               BARRY WINKLER, M.D.                         61


 1           A.   So it was approved by Dr. Jain when he was

 2   the director of the clinic.       And now, it's approved by

 3   Dr. Weisman.

 4           Q.   Dr. Weisman, is he the director of all the

 5   clinics?

 6           A.   She is the director --

 7           Q.   She.

 8           A.   -- of all the clinics, yes.

 9           Q.   Okay.   I'm sorry.

10                And to your knowledge, were any of the other
11   directors -- first off, before I go into there, is your

12   lunch paid or unpaid?
13           A.   Unpaid.

14           Q.   And so you work a seven-hour workday; am I

15   right?

16           A.   Correct.
17           Q.   Okay.     And as far as you know, do the other

18   court clinic directors work a seven-hour workday?

19           A.   I don't know what they work.

20           Q.   Okay.   To your knowledge, did any of the

21   other directors have to change -- did any of the other
22   directors have a shift change?

23           A.   At any time or around the time of Dr. Kaye's

24   or --
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     62                        BARRY WINKLER, M.D.


 1          Q.    Around the time of Dr. Kaye's.         Let's start

 2   with that.

 3          A.    Not that I'm aware of.

 4          Q.    Okay.    Subsequent to Dr. Kaye's shift change?

 5          A.    Not as far as I know, but that's not

 6   something I would be aware of.

 7          Q.    Now, what was your salary when you became

 8   director of the Brooklyn Court Clinic?

 9          A.    118,000.

10          Q.    And is that your salary today?
11          A.    Yes, it is.

12          Q.    Okay.    Now, are there any restrictions on
13   your salary based on your retirement from the South

14   Hampton Police Department?

15          A.    No.

16                MS. CANFIELD:     Objection to form.      You can
17          answer.

18          Q.    You said no?

19          A.    No.

20          Q.    Now, to be clear -- do you -- let me make

21   sure I get this clear.       Are you an H&H employee?
22          A.    I'm a CHS employee.      I am paid by Physician's

23   Affiliate Group of New York, PAGNY, P-A-G-N-Y.            Because

24   of -- because I receive a pension from the state already
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                              BARRY WINKLER, M.D.                          63


 1   as a retired police officer, under Civil Service Law,

 2   until age 65, if you are back to work for a public

 3   benefit corporation, municipality, et cetera, you have

 4   to receive -- you have to get a waiver from civil

 5   service in order to continue to collect your full

 6   pension.    But if you work for a private company, which

 7   in essence, PAGNY is, then you do not need the waiver.

 8          Q.    So did you ever obtain a waiver at any time

 9   since you worked for either Bellevue or CHS?

10                MS. CANFIELD:     Objection to form.      You can
11          answer.

12          A.    When I first worked for Bellevue, I applied
13   for the waiver, and it was a very complicated process.

14   I had to get in touch, from what I remember, with

15   someone in HR about it, and there was not an initial

16   determination made at that point.        And then, around that
17   time, I asked Dr. Elliot, who was my supervisor or my

18   psychology department supervisor, if I could be switched

19   to an NYU line, since that was a private company,

20   private hospital, and would no longer need -- no longer

21   need the waiver.     And that took a number of months, but
22   I was eventually changed to an NYU line.          And for the

23   remainder of the time that I worked for Bellevue, I was

24   a Bellevue employee who was paid by NYU.
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     64                        BARRY WINKLER, M.D.


 1          Q.    And when did that take place?

 2          A.    The changeover to NYU?

 3          Q.    Yes.

 4         A.     I think it was somewhere around 2009 or '10,

 5   I believe.    It was early on in my time at the Bronx

 6   Court Clinic.

 7         Q.     So when you took the position as Brooklyn

 8   director, did you seek to have that same arrangement, so

 9   you wouldn't have to deal with the waiver issue?

10          A.    Originally what happened was, I was going to
11   be hired by CHS.      And then I was -- and I was -- I made

12   them aware of the fact that I would need the waiver.
13   And then they offered me the option of being paid by

14   PAGNY, in which case I would not need the waiver.            And

15   then I decided to take the PAGNY pay line.

16          Q.    Who offered you the option to be paid by
17   PAGNY?

18          A.    It was brought to my attention by Elizabeth

19   Ford, and then it was finalized by the HR department.

20          Q.    And HR department consists of who?          Is it Ms.

21   Laboy?
22          A.    I think it might have been.        I don't remember

23   their names.

24          Q.    Okay.    Okay.   So I have some questions about
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                              BARRY WINKLER, M.D.                          65


 1   the, I guess, the work group.        During the time in

 2   engaging in work group and being involved in the work

 3   group, what were some of the topics that were discussed?

 4                MS. CANFIELD:     Objection to form.      You can

 5          answer.

 6          A.    There were a number of things that were

 7   discussed.    I recall this idea of some standardization,

 8   not complete standardization, but increased

 9   standardization of our reports from the clinics, various

10   procedures, report content.       I think that idea of the
11   releases -- having defendants sign releases, I think

12   that was floated.     There were a lot of ideas floated.          I
13   believe there was a -- I believe there was an outline of

14   a sample report, headings that were floated at one

15   point.    There were a lot of things that were brought up

16   and discussed as potential ideas during those work
17   groups.

18          Q.    Okay.   Now, I want to also kind of make sure

19   that I got everything as far as Dr. Elliot was

20   concerned.    Did Dr. Elliot ever complain to you about

21   Dr. Kaye?
22          A.    No.

23          Q.    Okay.   Did anyone ever complain to you about

24   Dr. Kaye?
          Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 66 of 353


     66                        BARRY WINKLER, M.D.


 1          A.     Not that I can recall.

 2          Q.    Now, had you ever made the -- I guess -- let

 3   me backtrack.

 4                What would you say the workload at the Bronx

 5   Court Clinic was like when you worked there?

 6          A.    Do you mean number of cases we saw per year,

 7   or how would you want me to quantify that?

 8          Q.     Well, let's start with the number of cases

 9   you saw.

10          A.     Well, it obviously would vary year to year,
11   but I believe we averaged 200, two and a quarter -- 225

12   rather, 730 evaluations per year.         I think that was kind
13   of our average number each year that we saw.

14          Q.     And how did that compare to, let's say, for

15   example, now that you're at the Brooklyn Court Clinic.

16   How does that compare with the Brooklyn Court Clinic?
17          A.    I think Brooklyn is busier, but we have more

18   clinicians in Brooklyn.

19          Q.     So how many 730s would Brooklyn see?

20          A.    I honestly don't know how many we're seeing

21   annually.     I don't know.    Off the top of my head, I
22   don't know.

23          Q.    Now, when you and Dr. Kaye worked at the

24   court clinic together, were you adequately staffed?
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                              BARRY WINKLER, M.D.                          67


 1          A.    What do you mean by adequately staffed?

 2          Q.    Well, could the Bronx Court Clinic had used

 3   more clinicians?

 4          A.    I think there were times where we were busy,

 5   and we could have used another clinician.          I believe --

 6   I think before I came to the court clinic in the Bronx,

 7   there had been maybe an additional part-time clinician

 8   there, I'm not sure, besides the two full-time.           There

 9   were times it would ebb and flow, frankly.          But there

10   were times we could have used an additional clinician.
11          Q.    Would you say that there were staffing issues

12   at the Bronx Court Clinic during your time there?
13          A.    Staffing issues is broad.       I would just

14   revert back to where I think there were times we could

15   have used another clinician.       But again, it ebbs and

16   flows.
17          Q.    Would you -- would you say that it was

18   difficult to retain staff at the Bronx Court Clinic

19   while Dr. Kaye was there?

20                MS. CANFIELD:     Objection to form.      You can

21          answer.
22          A.    Do you mean while I was employed there?

23          Q.    Right.   Like, did you see -- was there ever

24   an attempt made to hire another clinician or -- another
          Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 68 of 353


     68                        BARRY WINKLER, M.D.


 1   clinician at the clinic?

 2          A.    Not that I recall.

 3          Q.    Okay.    And did you ever hear any discussion

 4   about it being difficult to retain staff at the Bronx

 5   Court Clinic?

 6          A.    Not while I was there.

 7          Q.    After, did you hear any complaints about or

 8   any discussions about it being difficult to attract or

 9   retain staff at the Bronx Court Clinic?

10          A.    I do recall hearing something to that effect,
11   yes, after I left.

12          Q.    So what did you hear?
13          A.    I forget where I heard it.        I might have

14   heard it from Dr. Jain.       I don't recall how specific it

15   was, other than they were having difficulty hiring

16   someone to go there.
17          Q.    Okay.    What did Dr. Jain say to you exactly?

18          A.    I don't remember exactly what he said.          It

19   would have been similar to what I just said, we're

20   having difficulty hiring someone to go there.

21          Q.    Did he tell you why?
22          A.    I don't recall him being specific.          I just

23   recall him saying they were having trouble getting

24   someone to fill a position.
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                               BARRY WINKLER, M.D.                         69


 1           Q.   Did anyone that you worked with express a

 2   reluctance to go to the Bronx Court Clinic to work with

 3   Dr. Kaye?

 4           A.   You mean in my -- in the Brooklyn Clinic.

 5           Q.   Anywhere.    I mean, I would think that you all

 6   -- I mean, the clinicians and even the staff interacted

 7   with each other.      Was there any banter or discussion

 8   about going to work with Dr. Kaye in the court clinic

 9   when there -- when there was a need?

10           A.   Well, no, because we didn't -- we would have
11   gone -- in the very beginning --

12                MS. HAGAN:    You're breaking up.      I can't hear
13           you at all.

14                THE WITNESS:    Can you hear me now?

15                MS. HAGAN:    Yes.

16           Q.   You said no, and then what happened?
17           A.   The only time we would have or went to the

18   Bronx Clinic was in the beginning -- there was a point

19   where they didn't have additional staff or enough staff

20   in the Bronx.    And I know I went up one time, at least

21   once, maybe twice, to cover a case.         And I think a
22   couple of -- maybe one other time, one of our clinicians

23   went.    The only reluctance I ever heard about going

24   there was that they just simply didn't want to have to
          Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 70 of 353


     70                        BARRY WINKLER, M.D.


 1   go up to the Bronx, the physical location.

 2          Q.    So it was the location, not Dr. Kaye?

 3          A.    Correct.

 4          Q.    Now, at any point, were you aware of a work

 5   stoppage in the Bronx Court Clinic?

 6                MS. CANFIELD:     Objection as to form.

 7          A.    A work stoppage, no.

 8          Q.    Okay.    So let's -- let's backtrack some.

 9                At some point, Dr. Brayton was hired.          Do you

10   remember that?
11          A.    Yes.

12          Q.    Now, did you participate in the decision or
13   the process of hiring Dr. Brayton?

14          A.    I was part of the interview.        Dr. Jain and I

15   interviewed her.

16          Q.    Did Kaye -- did Dr. Kaye interview Dr.
17   Brayton?

18          A.    I believe she did.

19          Q.    Was she with you when she interviewed Dr.

20   Brayton?

21          A.    No.
22          Q.    Okay.    Now, do you recall when Dr. Brayton

23   started with -- started with CHS?

24          A.    I think maybe it was the end of -- towards
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                              BARRY WINKLER, M.D.                          71


 1   the end of 2018.     I'm not entirely sure.

 2          Q.    And so you and Dr. Jain interviewed Dr.

 3   Brayton, and this is the end of -- did you say

 4   something?

 5          A.    No.

 6          Q.    Okay.   And this is the end of 2018.        Now, you

 7   left the clinic in April of 2018; is that right?

 8          A.    Yes.

 9          Q.    So from April 2018 to the end of 2018, was

10   Dr. Kaye the only full-time staff person at the Bronx
11   Court Clinic -- I guess, the only full-time clinician at

12   the Bronx Court Clinic?
13          A.    As far as I know, she was.

14          Q.    Okay.   At any point, did Dr. Ford represent

15   to you that she wouldn't actually designate you as

16   director of the Brooklyn Court Clinic until a
17   replacement had been named for you?

18          A.    No, I don't recall that at all.

19          Q.    Okay.   So you ended up being, you know,

20   promoted to the director position in Brooklyn Court

21   Clinic.     But there hadn't been any coverage put in place
22   upon your departure; am I right?

23                MS. CANFIELD:     Objection to form.      You can

24          answer.
          Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 72 of 353


     72                        BARRY WINKLER, M.D.


 1          A.    As far as I know, I don't recall what plans

 2   were made for coverage, but they hadn't -- when I left

 3   to go to Brooklyn, they hadn't hired anybody to take my

 4   place.

 5          Q.    Okay.    And then did Dr. Kaye ever speak to

 6   you about the lack of coverage between April of 2018 and

 7   when Dr. Brayton was hired?

 8          A.    I think I seem to recall some conversation

 9   about lack of coverage.       I don't really remember

10   specifics, but I seem to remember her saying that she
11   was having difficulty with coverage.

12          Q.    How -- between April 2018 and the end of
13   2018, how often would you say you were, I guess,

14   requested to go to the Bronx Court Clinic to fill in

15   when there were issues with coverage?

16                MS. CANFIELD:     Objection to form.      You can
17          answer.

18          A.    I think I was asked to go -- as far as I

19   recall, I was asked to go twice.

20          Q.    Now, twice during that period from April 2018

21   to when Dr. Brayton was actually hired?
22                MS. CANFIELD:     Objection to form.      You can

23          answer.

24          A.    Twice at any point.      I think I only went to
 Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 73 of 353


                              BARRY WINKLER, M.D.                          73


 1   the Bronx twice, maybe three times.         I don't recall, but

 2   it wouldn't have been any more than that at any point

 3   after I left.

 4          Q.    Now, Dr. Brayton was eventually hired.          Did

 5   you train Dr. Brayton initially?

 6          A.    She -- yes -- well, she spent time in our

 7   clinic.     I think it was about three months.        She saw

 8   cases, and I supervised her reports.         I don't recall if

 9   I supervised every one of her reports or some of the

10   other doctors contributed.       But yes, I did contribute to
11   her training.

12          Q.     Why was -- was she physically located in the
13   Brooklyn Court Clinic at that time?

14          A.    She would come to the clinic to see the

15   cases, yes.

16          Q.    But she didn't report to the Bronx Court
17   Clinic when you were training her; am I right?

18                MS. CANFIELD:     Objection to form.      You can

19          answer.

20          A.     Not as far as I know.

21          Q.    So she was reporting every day to the
22   Brooklyn Court Clinic during the period in which you

23   were training her; am I right?

24          A.    I think so, yes.
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     74                        BARRY WINKLER, M.D.


 1          Q.    Why was the decision made that you would

 2   provide Dr. Brayton the training?

 3                MS. CANFIELD:     Objection to form.      You can

 4          answer.

 5          A.    I think it was that there were a couple of

 6   reasons.    Since Dr. Kaye would be her co-examiner on --

 7   on cases if she were to try to train in the Bronx, a

 8   co-examiner would not supervise the other examiner's

 9   reports.    Plus I had -- I don't know if this was a

10   factor, but I've had a lot of experience training
11   interns, et cetera.      I have a feeling it was more the

12   co-examiner issue, and that's why she came to Brooklyn.
13          Q.    Who made the decision that you would train

14   Dr. Brayton rather than Dr. Kaye?

15          A.    I believe it was Dr. Jain.

16          Q.    And when Dr. Brayton was hired, do you
17   believe that she was qualified to do the 730

18   examinations at the time?

19                MS. CANFIELD:     Objection to form.      You can

20          answer.

21          A.    When you say “qualified,” what do you mean?
22          Q.    Well, did she have any forensic psychiatric

23   experience in the context of a penological institution?

24          A.    I forget what -- I forget about her CV, what
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                               BARRY WINKLER, M.D.                         75


 1   placement she had, but I know she came from family court

 2   where she had been doing evaluations for the family

 3   court system.    They are different evaluations.         I did

 4   have a question of how well her skills would translate

 5   to doing adult criminal defendant evaluations.

 6          Q.    And did they translate?

 7          A.    I think they did.     My primary issue with Dr.

 8   Brayton was the -- the length of her reports and the

 9   excessive detail.

10          Q.    Okay.   So how long were her reports?
11          A.    It varied, depending on the case.         But in my

12   opinion, they typically included too much detail and
13   were difficult to follow sometimes.

14          Q.    You said they were difficult to follow?

15          A.    Sometimes.

16          Q.    And you said they were also, at times, too
17   long; right?

18          A.    In my opinion.

19          Q.    And would there be a consistency with what

20   Dr. Brayton would write in the body of her reports and

21   the outcome that she reached?
22                MS. CANFIELD:     Objection to form.

23          A.    Was there -- say that again.

24          Q.    Were there times where what -- what she wrote
          Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 76 of 353


     76                        BARRY WINKLER, M.D.


 1   in the body of her reports were inconsistent with the

 2   outcomes that she would each as far as whether or not

 3   the defendant was fit to stand trial?

 4          A.    Yes, I think that did happen.

 5          Q.    Now, were there times, for example -- like

 6   scratch that.

 7                Dr. Kaye -- let's say Dr. Brayton was hired,

 8   let's say, in the fall of 2018; would you give me that?

 9                MS. CANFIELD:     Objection to form.      You can

10          answer.
11          A.    I don't know if that's accurate as to my

12   recollection.
13          Q.    Right.

14                MS. CANFIELD:     Is there something you can

15          show him to refresh his recollection?

16          Q.    Now, Dr. Brayton, you said was -- you trained
17   her for three months; is that right?

18          A.    I think it was about three months.          That's my

19   recollection.

20          Q.    Was that the original amount of time that you

21   anticipated training her?
22                MS. CANFIELD:     Objection to form.      You can

23          answer.

24          A.    I think we kept her longer than we initially
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                              BARRY WINKLER, M.D.                          77


 1   planned.

 2          Q.    Okay.   Why was that?

 3          A.    My recollection is -- was because she was

 4   having difficulty with her reports.

 5          Q.    And what difficulty was she having

 6   specifically?

 7          A.    The thing I mentioned earlier, writing

 8   concisely, writing too much, in my opinion, clearly

 9   conveying the information.

10          Q.    Did Dr. Jain feel the same way as you did
11   about Dr. Brayton's reports?

12                MS. CANFIELD:     Objection to form.      You can
13          answer, if you're able.

14          A.    I -- I believe he did.      I seem to recall a

15   discussion where he had read one or however many of her

16   reports, and had the similar feeling as me at some point
17   in her training.

18          Q.    Who made the determination to extend her

19   training, I guess, time period with you?

20          A.    I was definitely part of that decision

21   process.    I seem to remember conveying it to Dr. Jain.
22   And I actually recall having a conversation or exchange

23   with Dr. Kaye, I believe about it, saying that I wasn't

24   sure she was ready to go yet, that she needed work on
          Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 78 of 353


     78                        BARRY WINKLER, M.D.


 1   her reports.

 2          Q.    Now, during that time while Dr. Brayton was

 3   getting trained, how was the -- how was Dr. Kaye dealing

 4   with the workload at the Bronx Court Clinic?           Did she

 5   convey that to you?

 6                MS. CANFIELD:     Objection to form.      You can

 7          answer.

 8          A.    I don't recall if that was the time.          That

 9   might have been the time they had hired a per diem

10   psychiatrist to work there.        I'm not sure if it was that
11   timeframe.

12          Q.    Would that have been Dr. Mullan?
13          A.    I know that Dr. Mullan was hired to work

14   there.    I -- I don't know if it was during that time

15   frame, but it could have been.

16          Q.    Okay.    Now, do you recall anything
17   surrounding the Jose Gonzalez case?

18                MS. CANFIELD:     Objection to form.      You can

19          answer.

20          A.    I recall that case.

21          Q.    Okay.    So let's start.     Now, you and Dr. Kaye
22   originally evaluated Mr. Gonzalez; is that right?

23          A.    Yes.

24          Q.    And what happened during that time?
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                              BARRY WINKLER, M.D.                          79


 1                MS. CANFIELD:     Objection to form.      You can

 2          answer.

 3          A.    Do you mean how -- what finding did we come

 4   to or --

 5          Q.    Let's start with the examination itself.          Do

 6   you recall the examination?

 7          A.    I do recall part of it, yes.

 8          Q.    Okay.   What do you remember?

 9          A.    I remember how he presented during the

10   interview.
11          Q.    And how did -- how did he present, Dr.

12   Winkler?
13          A.    To me, he presented as psychotic.

14          Q.    He was psychotic?

15          A.    That's what I thought.

16          Q.    Okay.   And did Dr. Kaye agree with you at
17   that time; do you remember?

18          A.    Yes, she did.

19          Q.    And did anyone from CHS have a different

20   opinion about Mr. Gonzalez?

21                MS. CANFIELD:     Objection as to form.      You can
22          answer.

23          A.    I don't remember CHS -- anybody from CHS

24   being involved with it.      I know we saw him twice.        There
          Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 80 of 353


     80                        BARRY WINKLER, M.D.


 1   was a -- after we saw him the first time, Dr. Kaye and I

 2   found him or opined that he was unfit.          And then defense

 3   counsel hired a private evaluator to do an examination.

 4   That evaluator opined that he was fit.          And then he was

 5   ordered back to us, and we saw him a second time.             And

 6   we opined he was fit again -- I'm sorry, he was unfit

 7   again.    Excuse me.    And after that, we had a hearing on

 8   the case before the judge.

 9          Q.    Is this a controversion hearing; right?

10          A.    Correct.
11          Q.    And I guess, just for purposes of clarity, I

12   guess I just wanted to make sure I was right.            Now, did
13   the ADA hire the expert or defense counsel?

14                MS. CANFIELD:     Objection to form.      You can

15          answer.

16          A.    It was the ADA.      You're right.     I made a
17   mistake, it was the defense counsel.          Because we

18   determined -- we opined they were unfit.           The DA's

19   office hired the expert.

20          Q.    And if you recall, was the expert doctor Dr.

21   Charter?
22          A.    Yes.

23          Q.    Now, during the controversion hearing, at

24   some point, did the judge ask you what you relied upon
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                              BARRY WINKLER, M.D.                          81


 1   in making your determination that Mr. Gonzalez was

 2   unfit?

 3          A.     I believe the DA asked me, defendant's

 4   counsel may have asked me on direct also.

 5          Q.     Was there -- was there an instance where

 6   there was a discussion about the recordings -- the

 7   prison recordings and whether or not you listened to the

 8   same recordings as, perhaps, the other evaluators to

 9   come up with -- to make your determination?

10                MS. CANFIELD:     Objection as to form.
11          Recordings.    Did we determine that there were

12          recordings?    Go ahead, answer.
13          A.    I think you're referring to the recorded

14   telephone conversations from Rikers Island by the

15   defendant?

16          Q.    Exactly, yes.
17          A.     Yes.   There were a number of -- we received

18   quite a bit of information, actually from the DA's

19   office, which included both recordings and transcripts

20   of recordings of telephone calls that the defendant had

21   made while he was in Rikers Island to family members.
22   So there was a question of what I reviewed in my

23   evaluation.

24          Q.    Right.   And ultimately, the judge ordered a
          Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 82 of 353


     82                        BARRY WINKLER, M.D.


 1   third set of examiners; am I right?

 2          A.    That's correct.

 3          Q.    And the third set of examiners were who?

 4          A.    I believe it was Dr. Mullan and, I think, Dr.

 5   Brayton.

 6          Q.    Okay.    And at that time, Dr. Brayton was

 7   still fairly new at CHS; is that right?

 8                MS. CANFIELD:     Objection to form.      You can

 9          answer.

10          A.    Yeah.    I don't recall exactly when their
11   evaluation took place, but I think it's fair to say she

12   was fairly new at the time.
13          Q.    Were you concerned about Dr. Brayton's

14   assessment of -- of Mr. Gonzalez?

15          A.    I wasn't necessarily concerned, because in my

16   opinion, I felt that he was clearly psychotic.            And I
17   thought -- at least at the time I saw him.           And I felt

18   that if he continued to be as psychotic as he was, in my

19   opinion when I saw him, that neither she or Dr. Mullan

20   would have any problems seeing that.

21          Q.    Now, during the course of your examination of
22   Dr. -- I keep wanting to call him doctor --

23   Mr. Gonzalez, did you administer any psychological test?

24          A.    Yes, I did.
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                              BARRY WINKLER, M.D.                          83


 1          Q.    So explain to me, you know, how do they come

 2   into play, psychological tests?

 3          A.    They come into play in different questions,

 4   different situations.      In this particular situation,

 5   after Dr. Kaye and I did our initial evaluation, Dr.

 6   Charter, when she did her evaluation, she administered a

 7   psychological measure designed to assess for malingering

 8   of psychosis.    And in my opinion, when I reviewed her

 9   interview and her evaluation, which had been recorded by

10   the DA's office, I felt that she had not administered it
11   appropriately, properly.       I therefore, chose to

12   administer my own measure of potential malingering.             And
13   I believe I gave him something called TOMM.           But the

14   measures I gave did not, in fact, show that he was

15   malingering.

16          Q.    At any point, did anyone determine that you
17   had not administered the psychological test correctly?

18          A.    Not as far as I know.

19          Q.    So that determination was never made.

20                Did you administer the SIRS or the PIA test?

21                MS. CANFIELD:     Objection to form.      You can
22          answer.

23          A.    I think -- I know Dr. Charter did the SIRS.

24   I -- I might have given him the SIRS again.           And I think
          Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 84 of 353


     84                        BARRY WINKLER, M.D.


 1   I -- I think I gave him the PAI also.          I don't remember

 2   exactly, but I think I did give him both of those.

 3          Q.    I'm going to ask you, Dr. Winkler, are these

 4   -- sometimes are these tests administered in a staggered

 5   way?   Like for example, one test -- if you administer

 6   one test and it doesn't -- and you determine based on

 7   that test, the other test may not be necessary, or it

 8   would necessitate the other test subsequent thereto?

 9                MS. CANFIELD:     Objection to form.      You can

10          answer.
11          A.    Do you mean like one might be like kind of

12   screening type of thing?
13          Q.    Right.    Exactly.

14          A.    Well, depending on the situation, that might

15   happen.     Depending on the question you have about a

16   defendant's capabilities or any independent patient,
17   whatever, that you're testing, you might issue a

18   screening measure and then decide whether to issue

19   something additional or not.

20          Q.    And did you -- did you engage in the

21   screening measure first with doctor -- Mr. Gonzalez?
22          A.    If I remember correctly, I think I gave him

23   something called a TOMM, which is an effort -- a measure

24   of effort motivation, which is typically given prior to
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                              BARRY WINKLER, M.D.                          85


 1   other tests, because based on the individual's

 2   performance, you can extrapolate if you -- if the

 3   results show that they gave full effort on that first

 4   measure.    You can then extrapolate and assume that they

 5   gave full measure on the other -- full effort, rather,

 6   on the other measures that you give.         I think I gave it

 7   to him.     I don't remember if I did or not exactly

 8   though.

 9          Q.    At any point, was it ever conveyed to you

10   that CHS management or anyone else wanted to find
11   Mr. Gonzalez fit?

12                MS. CANFIELD:     Objection to form.      Asked and
13          answered.     You can answer again.

14          A.    Not that I recall.

15          Q.    Now, this was the EMT killer; am I right?

16                MS. CANFIELD:     Objection to form.      You can
17          answer.

18          A.    He was accused of killing an EMT, yes.

19          Q.    Was he convicted; do you know?

20          A.    I don't know.

21          Q.    Okay.    Now, he was accused of killing an
22   EMT -- I guess EMT driver; right?

23          A.    Right.

24                MS. CANFIELD:     Objection to form.      You can
          Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 86 of 353


     86                        BARRY WINKLER, M.D.


 1          answer.

 2          Q.    Right.    And so the case had a fair amount of

 3   publicity; am I right?

 4          A.    Yes, I believe it did.

 5          Q.    Did anyone from CHS management talk to you

 6   about the case?

 7                MS. CANFIELD:     Objection to form.      You can

 8          answer.

 9          A.    Not that I recall.

10          Q.    Okay.    So then, Dr. -- Dr. Brayton and Dr.
11   Mullan basically conducted a third set of examinations;

12   is that right?
13                MS. CANFIELD:     Objection to form.      Asked and

14          answered.     You can answer it again.

15          A.    Yes, they did.

16          Q.    And in that instance, did the judge insist
17   upon them examining doctor -- Mr. Gonzalez separately?

18                MS. CANFIELD:     Objection to form.      You can

19          answer.

20          A.    I think they did -- I think the judge did,

21   yes, direct that.
22          Q.    And is that common?

23          A.    No, it's not.

24          Q.    In all the time that you have been engaging
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                              BARRY WINKLER, M.D.                          87


 1   or doing 730 examinations, had you ever been ordered to

 2   conduct the examination separate from the other

 3   examiner?

 4          A.    No.

 5          Q.    Okay.   When you learned the judge required

 6   that the examinations be done, you know, by Dr. Brayton

 7   and Dr. Mullan separately, what did you -- what did you

 8   think?

 9          A.    I don't think split examinations are ever a

10   good idea.
11          Q.    Why is that?

12          A.    Several reasons.     You -- you run the risk of
13   a defendant being cooperative with one examiner and not

14   cooperative with another examiner.         Different defendants

15   present differently on different days.          Somebody who's

16   malingering may choose to malinger with one examiner and
17   not another.    I feel it's always better to do exams with

18   the other examiner.      Both examiners see the same thing

19   at the same time.

20          Q.    At any point -- I mean, did you raise

21   concerns or did you discuss your feelings about the
22   separate examination order?

23          A.    I think Dr. Kaye and I discussed it.         I don't

24   think Dr. Kaye felt it was a good idea either.
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     88                        BARRY WINKLER, M.D.


 1          Q.    Okay.    And how -- did you ever read or review

 2   Dr. Brayton's examination?

 3          A.    Yes, I do recall reading it.

 4          Q.    And what do you remember?

 5          A.    If I remember, I believe there was quite a

 6   bit of reference to his records, the defendant's

 7   records.    I remember she found him fit to proceed.

 8          Q.    Now, the -- keep going.

 9          A.    Go ahead.    No, that's it.      I'm done.

10          Q.    You said that is her -- her report focused on
11   the records.     Did she actually see Mr. Gonzalez?

12                MS. CANFIELD:     Objection to form.      You can
13          answer.

14          A.    I believe she did.      I didn't say it

15   necessarily focused on records.         It included a lot of

16   information from records, as I recall.          I don't -- I
17   honestly don't recall if she actually saw him.            I don't

18   recall at this point.

19          Q.    Do you recall if Dr. Mullan actually saw Jose

20   Gonzalez?

21          A.    I don't recall.      I know I did review her
22   report, but I don't recall.

23          Q.    So you're not sure if either or -- you're not

24   sure if Dr. Mullan and/or Dr. Brayton wrote their
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                               BARRY WINKLER, M.D.                         89


 1   reports only on the records or if they actually saw Mr.

 2   Gonzalez; are you -- is that your testimony?

 3                MS. CANFIELD:     Objection to form.      You can

 4           answer.

 5           A.   I don't recall.

 6           Q.   Okay.     Now, do you recall if Dr. Brayton

 7   administered any psychological test?

 8           A.   I don't think she did.      I don't remember

 9   seeing any.       But I don't recall seeing any in her

10   report.
11           Q.    At any point -- so I guess I'm going to ask

12   you.    Did Dr. Mullan find that Mr. Gonzalez was
13   malingering?

14           A.   Yes.

15           Q.    And did Dr. Brayton determine that

16   Mr. Gonzalez was malingering?
17           A.    I don't recall Dr. Brayton thinking he was

18   malingering or saying that in her report.

19           Q.    But she did find him fit though; right?

20           A.    She found him fit.

21           Q.    Okay.    Now, at any point, did you express any
22   disdain, or -- I'm not sure if disdain is the right

23   word.     Had you ever said that Dr. Mullan had a tendency

24   to over diagnose defendants' malingering?
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     90                        BARRY WINKLER, M.D.


 1                 MS. CANFIELD:    Objection to form.      You can

 2          answer.

 3          A.    I don't recall -- I don't recall saying that

 4   Dr. Mullan had an over tendency to diagnose malingering,

 5   but I did express disagreement with the opinion that Mr.

 6   Gonzalez was malingering.

 7          Q.    Okay.    Yeah.   So at any point, was Dr.

 8   Brayton, quote, unquote, remediated?

 9                MS. CANFIELD:     Objection to form.      You can

10          answer.
11          A.    I know she underwent some additional

12   training.
13          Q.    When was that?

14          A.    I -- I don't remember.

15          Q.    Was this toward the end of her tenure or in

16   the middle?
17                 MS. CANFIELD:    Objection to form.      Or in the

18          beginning?

19          A.    I -- I want to say my recollection is maybe

20   the middle towards the end.

21          Q.    And what precipitated her getting this
22   additional training?

23          A.     I'm not sure.    I think -- think Dr. Kaye had

24   concerns about her reports, but I'm not positive.
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                              BARRY WINKLER, M.D.                          91


 1          Q.    Was that only -- the only factor that led to

 2   the decision to provide her with additional training?

 3                MS. CANFIELD:     Objection.    You can answer.

 4          A.    I -- I don't know.      I wasn't -- I really

 5   wasn't intimately involved with that.

 6          Q.    Did you provide her with additional training?

 7          A.    I don't recall if she came -- if she did more

 8   cases with us after that.       I don't recall.     She might

 9   have seen more cases with us.        I honestly don't

10   remember.
11          Q.    Did Dr. Kaye convey to you that any judges or

12   other lawyers were complaining about Dr. Brayton's work?
13          A.    Yes, she did say that to me.

14          Q.    What exactly did she say?

15          A.    I believe she referenced a judge saying that

16   -- I think she used the word “inconsistent.”           The judge
17   used the word “inconsistent” with regard to one of Dr.

18   Brayton's reports.

19          Q.    What -- what other things did Dr. Kaye convey

20   to you about Dr. Brayton from these judges and/or, I

21   guess, lawyers?
22                MS. CANFIELD:     Objection to form.      You can

23          answer.

24          A.    I remember there was a comment about the
          Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 92 of 353


     92                         BARRY WINKLER, M.D.


 1   inconsistent report that a judge had said, according to

 2   Dr. Kaye.    I know Dr. Kaye did not like Dr. Brayton's

 3   interviews, did not like the way Dr. Brayton introduced

 4   the interview.     I remember her mentioning that.         And I

 5   think Dr. Kaye mentioned -- I forget if possibly a

 6   lawyer from Legal Aid had complained about an interview

 7   approach also.

 8          Q.    Was this lawyer Jeff Bloom?

 9          A.    I believe it might have been, yes.

10          Q.    Did Lorraine McEvilley also complain about
11   Dr. Brayton?

12                MS. CANFIELD:     Objection to form.      You can --
13          you can answer.

14          A.    I think, according to Dr. Kaye, yes, she

15   might have.     I seem to recall that.

16                THE WITNESS:     Can I just -- excuse me.       Can I
17          get a bathroom break in a minute?

18                 MS. HAGAN:    Why don't we have a lunch break

19          instead.    How long do you need, Dr. Winkler, for a

20          break for lunch and bathroom and whatever?

21                 THE WITNESS:    30 minutes would be plenty.
22                 MS. HAGAN:    Does that work for you, Ms.

23          Canfield?

24                MS. CANFIELD:     Yeah.    I was going to say
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                               BARRY WINKLER, M.D.                         93


 1          either 1:15 or 1:30.      I don't know.     We should

 2          probably ask the court reporter.

 3                MS. HAGAN:    Marci?

 4                THE REPORTER:     That's fine.

 5                MS. HAGAN:    Why don't we do 1:15.

 6

 7                (Luncheon recess taken.)

 8

 9                MS. HAGAN:    Last question and answer, please.

10
11                (The requested testimony was read back.)

12
13   BY MS. HAGAN:

14          Q.    I'm going to go back to the line of

15   questioning.    I hope you don't mind me asking you these

16   things again, Dr. Winkler.       Please bear with me.
17                So first I want to ask you, did Dr. Brayton

18   ever complain to you about Dr. Kaye?

19          A.    Didn't complain directly about Dr. Kaye, per

20   se.   She did complain about Dr. Kaye's comments about

21   her interview style.      And that Dr. Brayton's interview
22   style.   And that Dr. Brayton felt her interviews were

23   conducted the way she had to do them.

24          Q.    Okay.   Now, what did Dr. Brayton say that Dr.
          Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 94 of 353


     94                        BARRY WINKLER, M.D.


 1   Kaye told her about her interview style?

 2          A.    I don't remember specifics other than the

 3   things I mentioned earlier, that Dr. Brayton had a

 4   certain way of introducing evaluation that I don't think

 5   Dr. Kaye did, asking a lot of extraneous questions, in

 6   Dr. Kaye's opinion.      So she was just not happy with the

 7   fact that her interviews were being criticized.

 8          Q.    And did Dr. Brayton ever say she didn't want

 9   to work with Dr. Kaye?

10          A.    What she told me is that she did not want to
11   work in the Bronx anymore.        She never directly say I

12   don't want to work with Dr. Kaye.
13          Q.    Did she tell you why she didn't want to work

14   in the Bronx anymore?

15          A.    She didn't say specifically.        I think it

16   revolves around, again, questions about her procedures,
17   her interview procedures, and possibly her reports.

18   When she got offered another job, that was in essence a

19   promotion, I believe somewhere else.          So she decided to

20   leave.

21          Q.    She decided to do what?
22          A.    To leave and take the other job.

23          Q.    Now, did you agree with the questions that

24   Dr. Kaye raised about Dr. Brayton's report?
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                              BARRY WINKLER, M.D.                          95


 1                MS. CANFIELD:     Objection to form.      You can

 2          answer.

 3          A.    I had my opinions about Dr. Brayton's

 4   reports.    I think I've mentioned earlier that I felt

 5   they were too long, and at times, were not always clear

 6   which was why she was headed with her opinion.

 7          Q.    Now, was there a time -- I guess, you know, I

 8   had to learn a little bit about forensic psychiatry in

 9   the course of this litigation.        I was under the

10   impression that the Dusky case kind of lays out the
11   types of questions or the types of topics that should be

12   covered during the course of a forensic evaluation; is
13   that -- is that true?

14                MS. CANFIELD:     Objection to the form.       You

15          can answer.

16          A.    I didn't hear.     What did you say, “lays it
17   down” in the beginning?

18          Q.    Dusky -- the Dusky decision.

19          A.    Dusky guides -- Dusky provides the overview

20   of what we need to determine -- to evaluate to determine

21   if someone is fit to proceed.        The questions that
22   different doctors ask, they -- some of them have their

23   own way about asking questions to arrive at their

24   determination as to whether someone meets the Dusky
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     96                        BARRY WINKLER, M.D.


 1   standard for fitness.

 2          Q.    Now, was there ever a complaint -- was there

 3   ever a complaint of concern raised about Dr. Brayton

 4   using a list to engage or to conduct her interviews?

 5                MS. CANFIELD:     Objection as to form.       You can

 6          answer.

 7          A.    I seem to remember -- I remember Dr. Kaye

 8   mentioning somebody about that.         I forget if Dr. Brayton

 9   was using that when she was doing interviews in

10   Brooklyn.    But I remember Dr. Kaye mentioning that Dr.
11   Brayton had a very extensive interview form.           A lot of

12   the evaluators use a form to record their notes on.             But
13   I remember Dr. Kaye mentioning that Dr. Brayton had a

14   very comprehensive interview form with a number of

15   questions that Dr. Kaye felt were unnecessary.

16          Q.    Now, for purposes of doctor -- of
17   understanding some of the reasons why Dr. Brayton would

18   not have wanted to work in the Bronx, did you ever learn

19   where Dr. Brayton lived while she was working there at

20   the Brooklyn Court Clinic?

21                MS. CANFIELD:     Objection to form.      You can
22          answer.

23          A.    I believe Dr. Brayton lived in Brooklyn.

24          Q.    Right.    And you were located -- at least your
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                              BARRY WINKLER, M.D.                          97


 1   clinic at the time, and still is, is located in

 2   Brooklyn; am I right?

 3          A.    That's correct.

 4          Q.     Okay.   And then wouldn't the commute be

 5   longer to the Bronx than it would be to Brooklyn?

 6                MS. CANFIELD:     Objection to form.      You can

 7          answer.

 8          A.    Yeah.    I guess depending on what part of

 9   Brooklyn, but I would say that's a reasonable

10   assumption.    It would take longer to get to the Bronx.
11          Q.     And did Dr. Brayton ever complain about her

12   commute to the Bronx?
13          A.    I don't recall whether she did or not.

14          Q.     Did Dr. Brayton ever say that the Bronx Court

15   Clinic was adversarial?

16                MS. CANFIELD:     Objection to form.      You can
17          answer.

18          A.     I don't remember her using the word

19   “adversarial.”

20          Q.    Did she ever describe the environment in the

21   Bronx in a negative way?
22          A.    I'll preface it by saying I did not have a

23   lot of contact with her after she went there.           But the

24   only negative comment would be what I referenced already
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     98                        BARRY WINKLER, M.D.


 1   about how she didn't like the comments about her

 2   interviewing and just didn't want to work in the Bronx

 3   anymore.

 4          Q.    At any point, did she say that Dr. Kaye would

 5   not answer her questions or engage her?

 6          A.    I do recall her saying something to the

 7   effect of not -- Dr. Kaye not answering some of her

 8   questions, I believe.

 9          Q.    Do you recall if it involved the Jose

10   Gonzalez case specifically?
11          A.    I don't recall.

12                MS. CANFIELD:     Objection to form.
13          A.    I don't recall that.

14          Q.    So you're not sure if -- you're not sure if

15   --   you're not sure about the context, and you're not

16   sure if there was a reason behind, maybe, Dr. Kaye
17   allegedly not engaging or talking to Dr. Brayton about a

18   given topic; would that be accurate?

19                MS. CANFIELD:     Objection to form.      You can

20          answer.

21          A.    I don't know any details about why she may
22   not have spoken to her.

23          Q.    Now, at any point, did there -- did there

24   ever come a time when there was discussion about the
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                              BARRY WINKLER, M.D.                          99


 1   reporting of Dr. -- of Mr. Gonzalez's exam?

 2                MS. CANFIELD:     What was the question?       I'm

 3          sorry.

 4          Q.    Was there -- were you ever contacted by the

 5   Office of Corporate Compliance about the recording of

 6   Mr. Gonzalez's exam?

 7          A.    I was not contacted by the office of

 8   corporate compliance, but I did become aware of the fact

 9   that Mr. Gonzalez's exam was recorded.

10          Q.    When did you become aware?
11          A.    I knew when Dr. Kaye did it.

12          Q.    Oh, so you knew.     So how did you know?
13          A.    I was there.    She told me afterwards that she

14   had recorded it.

15          Q.    And did you have a problem with that?

16          A.    I -- I didn't have a problem with it.          It
17   didn't violate any rules that I was aware of.           At the

18   time, we generally did not record evaluations as a

19   standard practice, but I -- Mr. Gonzalez was an

20   extremely difficult defendant to capture everything he

21   said at times.     So I understand why Dr. Kaye would feel
22   the need to record it.

23          Q.    Did you know Dr. Kaye to record any other

24   exams?
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     100                         BARRY WINKLER, M.D.


 1            A.    No.     I think that's the only one I ever knew

 2   of.

 3            Q.    Okay.    And you said it wasn't a standard

 4   practice.      Was it something that you -- that you

 5   determined it wasn't a standard practice on your own or

 6   just from your experience there at the clinic?

 7                  MS. CANFIELD:     Objection to form.      He can

 8            answer.

 9            A.    Do you mean -- I'm sorry.       Can you rephrase

10   it?
11            Q.    Was there like an unwritten policy against

12   recording exams in place at the clinics?
13            A.    It was -- I don't know if I would say it was

14   an unwritten policy, but it was something that we -- if

15   it was ever mandated.        At one point, I forget when it

16   was, there was some talk maybe in the DA's office that
17   they wanted to record evaluations at some point.              And we

18   felt that if it became a mandated policy, it would

19   create a lot of problems in terms of maintenance of the

20   equipment, storage of the recordings, et cetera.              So we

21   were more concerned about it, from my recollection,
22   becoming something they were going to make us do.

23            Q.    Did CHS or HAC have a policy regarding

24   recording forensic exams in place at the time the Jose
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                              BARRY WINKLER, M.D.                          101


 1   Gonzalez was allegedly recorded?

 2         A.    Not to my knowledge.

 3         Q.    And did you listen to Dr. Kaye's recording

 4   when you wrote any of your reports yourself?

 5         A.    No.

 6         Q.    Were you familiar with the AAPL literature on

 7   recording exams?

 8         A.    Yeah, I am familiar with it.        I believe it's

 9   -- I believe it says it's okay in certain situations.

10   I'm not a hundred percent sure.
11         Q.    But there wasn't a blanket prohibition

12   against it; am I right?
13         A.    Not as far as --

14               MS. CANFIELD:     Objection to form.

15         A.    Not -- as you know, there's no blanket

16   prohibition.
17         Q.    Now.   As far as the Office of Corporate

18   Compliance, were you aware that there was an

19   investigation, Dr. Winkler?

20         A.    Of what?

21         Q.    Regarding the Jose Gonzalez evaluation and
22   Dr. Kaye's recording of the exam.

23         A.    I don't think I knew there was an

24   investigation.     I knew, as I recall, once it -- it was
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 102 of 353


     102                        BARRY WINKLER, M.D.


 1   determined or found out or learned that she had recorded

 2   it, I remember some people, I don't recall who it was,

 3   there was discussion whether it was appropriate or not

 4   to do it.

 5            Q.    You're not sure if -- I mean, there was a

 6   discussion.      But did anyone discuss it with you, Dr.

 7   Winkler, whether or not it was appropriate for her to

 8   record?

 9            A.    No, I don't remember them discussing it with

10   me as to whether it was appropriate or not.
11            Q.    Did Ms. Patsos from corporate compliance, did

12   she approve you?
13            A.    Not that the I recall.

14            Q.    Okay.    Did anyone from corporate compliance

15   approach you as to what happened with the Jose Gonzalez

16   evaluation?
17            A.    Not that I remember.

18            Q.    Okay.    Did you ever tell anyone that CHS

19   didn't have a policy of recording exams?

20            A.    Did I ever tell anyone that they didn't have

21   a policy of recording exams?
22            Q.    Right.   A policy or custom.

23                  MS. CANFIELD:     Objection to the form.       You

24            can answer.
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                              BARRY WINKLER, M.D.                          103


 1         A.    I'm not sure I follow what you mean.

 2         Q.    Well, did you ever say to anyone, well, you

 3   know, I don't think it's our practice to record exams

 4   here at CHS?

 5               MS. CANFIELD:     Objection to the form.       He can

 6         answer.

 7         A.    I don't remember saying to anyone it's not

 8   our practice here to record or exams.         I don't know

 9   whether I said we don't typically do it.         I honestly

10   don't recall.
11         Q.    Now, to your -- to your -- did Dr. Kaye, at

12   any time, tell you or talk to you about being written up
13   for recording the exam?

14               MS. CANFIELD:     Objection to form.      You can

15         answer.

16         A.    I do remember her telling me that -- I forget
17   if she said she was written up.        But I seem to remember

18   saying that she considered it a problem, I believe, that

19   she recorded it.

20         Q.    And who did you understand the “they”

21   consisted of?
22         A.    I think the CHS hierarchy.

23         Q.    And when you say CHS hierarchy, who does that

24   entail?
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     104                        BARRY WINKLER, M.D.


 1            A.    I assume it would be Dr. Jain or whoever was

 2   above him at that point.         I don't remember if Dr. Ford

 3   was still there.        I'm not sure.

 4            Q.    Dr. MacDonald, would that -- would he be a

 5   part of that?

 6            A.    Yeah, he would be part of it.

 7                  MS. CANFIELD:     Objection.    Leading.

 8            Q.    And would Dr. Yang be considered part of the

 9   hierarchy too?

10            A.    Yes, I believe so.
11            Q.    Okay.    So do you recall the conversation that

12   you had with Dr. Kaye about this -- this incident?
13                  MS. CANFIELD:     Objection to form.      You can

14            answer.

15            A.    I don't recall the conversation.         I recall,

16   at some point, hearing from her that it was a problem --
17   they thought it was a problem.

18            Q.    Did you ever talk to her about how it was

19   resolved?

20            A.    No, I don't think I ever did.        If I did, I

21   don't remember.
22            Q.    Now --

23                  MS. CANFIELD:     Wait.   Wait everyone was

24            frozen.    Was that question responded to?
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                                BARRY WINKLER, M.D.                        105


 1               MS. HAGAN:      He said I don't think I ever did.

 2               MS. CANFIELD:      Can you read back the question

 3         and answer, because everyone was frozen except for

 4         me there for a second.

 5               MS. HAGAN:      I asked Dr. Winkler, did he

 6         recall learning from Dr. Kaye the outcome of the

 7         investigation.       And then Dr. Winkler said I don't

 8         recall.    I don't think I ever did.       Is that

 9         accurate, Dr. Winkler?

10                 MS. CANFIELD:    I think I missed the question
11         before that too.       Can the court reporter read back

12         two questions.       I missed it.   It was frozen.
13                 MS. HAGAN:    No.   I mean, we can have her go

14         back.

15                 MS. CANFIELD:    Yeah.

16                 MS. HAGAN:    Marci, can you read back the
17         record, please.

18

19               (The requested testimony was read back.)

20

21         Q.    So we talked about -- you said you don't
22   recall having a conversation with Dr. Kaye about the

23   outcome or the resolution of the actual investigation

24   regarding her recording Jose Gonzalez; is that right?
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     106                        BARRY WINKLER, M.D.


 1            A.    That's correct.

 2            Q.    Now, I wanted to, I guess, get your

 3   viewpoint.      Are the -- are the court clinics

 4   HIPAA-exempt?

 5                  MS. CANFIELD:     Objection to the form.       Go

 6            ahead.

 7            A.    We -- as far as I know, yes, the court

 8   clinics are exempt.

 9            Q.    Can you elaborate on that so that the

10   record's clear exactly.
11            A.    I believe there was a determination years

12   ago.     I think Dr. Kaye may have had some paperwork to
13   this effect, a determination by someone, I forget who,

14   that said that the court clinics were HIPAA-exempt.

15            Q.    So in that instance, the gave -- what do you

16   mean by HIPAA-exempt?        Let me not lead you.       What do you
17   mean by HIPAA-exempt in the court clinic

18   (indiscernible).

19                  MS. CANFIELD:     Objection to form.      He can

20            answer.

21            A.    That we do not come under the normal HIPAA
22   prohibitions about discussion -- a discussion of

23   personal information, medical information, history, et

24   cetera.
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                              BARRY WINKLER, M.D.                          107


 1         Q.      And I guess I was going to ask you in

 2   general.   Did you think that CHS adhered to the

 3   separation between treatment and the evaluation aspect

 4   of this operation as it pertained to the operation of

 5   the clinic?

 6                 MS. CANFIELD:   Objection to the form.       You

 7         can answer.

 8         A.    You mean if they kept the treatment and

 9   evaluation sectors separate?

10         Q.    Yes.
11         A.    Yes, I feel that they did.

12         Q.      Were there times where Dr. Kaye raised
13   concerns about the presence of Dr. Alex Garcia-Mansilla

14   and Dr. Brayton's evaluation?

15         A.    I do recall an issue with that, yes.          I

16   forget why Dr. Garcia-Mansilla was involved.          I do
17   remember Dr. Kaye mentioning that, and thinking it was a

18   problem.   I don't remember the details of why Dr.

19   Mansilla-Garcia was involved.

20         Q.      Did you agree that Dr. Garcia-Mansilla being

21   involved in, I guess, sitting in on Dr. Brayton's
22   evaluation would be problematic?

23               MS. CANFIELD:     Objection as to form.       I don't

24         think any of this has been established that she
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     108                        BARRY WINKLER, M.D.


 1            sat in, but go ahead, you an answer.

 2            A.    Well, yeah, I don't -- I don't recall what

 3   involvement Dr. Garcia-Mansilla had with the case.              I

 4   don't -- I don't know what she did or didn't do, so I

 5   really can't give an opinion.

 6            Q.    Do you recall a managing dual agency policy

 7   being issued by CHS after Dr. Kaye raised this issue?

 8                  MS. CANFIELD:     Objection, again, to

 9            foundation.    You can answer.

10            A.    I don't recall if they issued it after that.
11            Q.    Do you recall a policy to that effect

12   happening, a managing dual role policy?
13                  MS. CANFIELD:     Objection to form.      You can

14            answer.

15            A.    Yeah.   I believe there is a managing dual

16   roles policy.
17            Q.    Did you contribute to that policy?

18            A.    I don't recall if I did.       If I did in any

19   form, it would have been to review it and submit any

20   questions or changes.        But I honestly don't recall if I

21   did contribute to it.
22            Q.    I'm going to ask you some general questions

23   about Dr. Kaye and her communications with you about her

24   work environment at CHS after -- I guess during the time
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                              BARRY WINKLER, M.D.                          109


 1   that Dr. Ford was back at CHS and onward.

 2               So at any point once Dr. Ford and Dr. Yang

 3   began to work at CHS, did Dr. Kaye complain to you about

 4   her working conditions under them?

 5               MS. CANFIELD:     Objection to form.      You can

 6         answer.

 7         A.    She -- I think I've discussed the specific

 8   complaint she made.     She was unhappy about her change of

 9   schedule.   She was unhappy about her -- what she said

10   was her difference in pay.       I don't recall other
11   complaints about the environment.

12         Q.    Did she complain about the policies that were
13   being implemented by this new hierarchical structure?

14               MS. CANFIELD:     Objection to form.      You can

15         answer.

16         A.    Can you give me an example of policy?
17         Q.    For example, the -- the redacted medical

18   records; did she complain about that?

19               MS. CANFIELD:     Objection to form.      You can

20         answer.

21         A.    That was not a -- the redacted medical
22   records wasn't a policy.      It just happened, and we all

23   in the clinics complained about it.        That wasn't

24   something that was a policy that we would get them.            It
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     110                        BARRY WINKLER, M.D.


 1   was something that happened, and then we had to work to

 2   get it corrected.

 3            Q.    Did CHS try to implement a form that

 4   basically redacted HIV status information and substance

 5   -- prior substance abuse history from the medical

 6   record.       Do you recall that?

 7                  MS. CANFIELD:     Objection as to form.      You can

 8            answer.

 9            A.    I do recall -- yes, at one point, they had a

10   form.     I think it was a proposed order form.          We have an
11   order form that we have the judges sign for records.

12   And I believe it was a proposed form to use.             It was
13   during the time where we were trying to settle the issue

14   of the redacted records.         And it did not allow for HIV

15   or substance abuse information.

16            Q.    At any point, did you encourage the removal
17   of redacted in the order so that it would facilitate the

18   process?

19                  MS. CANFIELD:     Objection to form.      You can

20            answer.

21            A.    You mean the form order that we used?
22            Q.    Right.   Yes.

23            A.    I think, yes.     I -- I think we added

24   non-redacted records to our order form.            The words
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                              BARRY WINKLER, M.D.                          111


 1   “non-redacted.”

 2         Q.    I'm going to ask you something.         You -- how

 3   often did you say you engaged Dr. Kaye before you left

 4   the center -- before you left the Bronx Court Clinic?

 5         A.    You mean spoke with her?

 6         Q.    Yes.

 7         A.    Every day.

 8         Q.    And did you all talk about, you know, her

 9   working environment up -- up until that time?

10               MS. CANFIELD:     Objection to form.      You can
11         answer.

12         A.    Specifically, we would discuss cases or
13   issues with cases, problems, if there was something like

14   the redacted records issue that was surfacing at the

15   time, we'd talk about that or issues scheduling

16   defendants or lawyers.      There were always things that we
17   spoke about related to the clinic.

18         Q.    Would you say that Dr. Kaye was enthusiastic

19   about her job generally?

20         A.    Yes.

21               MS. CANFIELD:     Objection to form.      You can
22         answer.

23         A.    I would say so.

24         Q.    Now, when she complained to you about pay
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     112                        BARRY WINKLER, M.D.


 1   parity during that time, did her attitude towards the

 2   job change?

 3                  MS. CANFIELD:     Objection to form.      You can

 4            answer.

 5            A.    No.    She was unhappy about that, but it

 6   didn't change -- from what I recall, it didn't change

 7   the way she approached her job.

 8            Q.    Did you think that Dr. Kaye was treated

 9   unfairly in terms of pay, due to conversations and your

10   observations at the clinic?
11                  MS. CANFIELD:     Objection to form.      You can

12            answer.
13            A.    I don't know what her pay was, and I don't

14   know what the other doctor's pay was that she claims she

15   was paid less than.        I don't have that information.        If

16   what she told me was accurate and she was doing the same
17   job and getting paid less, then that would seem unfair

18   to me.

19            Q.    Did you say as much to doctor Dr. Kaye during

20   the course of those conversations?

21            A.    I believe I did.
22            Q.    Okay.   So then when the shift change took

23   place, you were at the Brooklyn Court Clinic; right?

24            A.    Yes.
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                              BARRY WINKLER, M.D.                          113


 1               MS. CANFIELD:     Objection to form.      Yes.

 2               MS. HAGAN:     Yes, he agreed.

 3         Q.    And did Dr. Kaye talk to you about the change

 4   once she went to the Brooklyn Court Clinic?

 5               MS. CANFIELD:     Objection to form.      You can

 6         answer.

 7         A.    I remember her talking to me about it, yes.

 8         Q.    Now, you and Dr. Kaye were talking pretty

 9   much regularly, even after you left the Bronx Court

10   Clinic; is that right?
11               MS. CANFIELD:     Objection.     Leading.    You can

12         answer.
13         A.    We talked clearly not as often, but after I

14   left, I think we would talk sometimes once a week or

15   every couple of weeks.

16         Q.    But it was still a cordial relationship;
17   would I take it?

18         A.    Yes, that's correct.

19         Q.    And did Dr. Kaye, like, discuss the effects

20   that the shift change was having on her with you?

21         A.    Yes.
22         Q.    Okay.    What did she say exactly?

23         A.    Well, as I said earlier, she said that --

24   first she said that it was a violation of disagreement
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     114                        BARRY WINKLER, M.D.


 1   with doctor's counsel, which I referenced earlier.              And

 2   she said that it was impacting her ability to care for

 3   her son in the morning for the treatments that he

 4   needed.

 5            Q.    And did Dr. Kaye raise the issue of her son

 6   being treated or needing treatment prior to the shift

 7   change with you?

 8            A.    I was aware of it, yes.       She had -- it had

 9   come up in discussion.        She had told me about her son.

10            Q.    And did it -- did it interfere with her
11   ability to do her work prior to the shift change, to

12   your knowledge?
13                  MS. CANFIELD:     Objection to form.      You can

14            answer.

15            A.    Not to my knowledge.

16            Q.    So to your knowledge, before the shift
17   change, you didn't notice that Dr. Kaye had any issues

18   with type and leave length you worked with her; right?

19                  MS. CANFIELD:     Objection to form.      You can

20            answer.    No foundation.     Go ahead.

21            A.    Not to my knowledge.
22            Q.    It didn't seem that she had any problems

23   covering the clinic at that time; right?

24                  MS. CANFIELD:     Objection.    You can answer.
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                              BARRY WINKLER, M.D.                          115


 1         A.     No as far as I could see, no.

 2         Q.     Okay.   And what time do the courts -- what

 3   time do the courts open in the Bronx; do you remember?

 4         A.     Courts themselves?

 5         Q.     Well, the court in the Bronx -- in the Bronx.

 6         A.     I think the court in the Bronx would

 7   typically open about 10-, 10:30.

 8         Q.     And what time would defendants be presented,

 9   like the earliest?

10         A.     It would vary.    I think there were sometimes
11   when we would get defendants at 9:30 or 10:00.

12         Q.     But never before 9:00; is that right?
13                MS. CANFIELD:    Objection.     You can answer.

14         A.     Not that I recall, no.

15         Q.     Did you ever get defendants at 9:00?

16         A.     I don't think so, not that I recall.
17         Q.     So would it be fair to say that defendants

18   presented as early as 9:30 and around 10:00 onwards,

19   typically?

20         A.     Yes, I think that's fair to say.

21         Q.     So based on that, would it be necessary for a
22   center director to be at the clinic at 8:00 in the

23   morning?

24                MS. CANFIELD:    Objection.     There's no
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 116 of 353


     116                        BARRY WINKLER, M.D.


 1            foundation.    You can answer.

 2            A.    I can't say whether it's necessary or not.

 3   But the defendants, as you noted, were typically

 4   produced 9:30 and later.

 5            Q.    Okay.   So did Dr. Kaye complain about any

 6   other, I guess, repercussions, associated the with the

 7   change in shift?

 8            A.    I believe, I think I mentioned this earlier

 9   also, per this agreement with -- this prior agreement

10   with doctor's counsel and I think H&H, that it -- I
11   don't remember her saying it changed her -- changed the

12   length of her workday or changed her lunch hour or
13   something.      It somehow altered her schedule.

14            Q.    Did she talk to you about a conversation she

15   might have had with Mr. Wangel and/or Ms. Laboy prior to

16   taking the position over at CHS where she asked if there
17   would be any changes in her working conditions?

18            A.    She did mention --

19                  MS. CANFIELD:     Objection to form.      You can

20            answer.

21            A.    She did mention having a conversation.          I
22   remember her mentioning Jonathan Wangel.

23            Q.    And what do you remember her mentioning about

24   Jonathan Wangel?
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                              BARRY WINKLER, M.D.                          117


 1           A.    The specifics are really -- I don't remember

 2   if she had one conversation with him or more than one.

 3   I really don't remember the specifics of what he might

 4   have said.

 5           Q.   Now, did you observe any of -- did you

 6   observe Dr. Kaye being treated differently than any of

 7   the male directors yourself?

 8                MS. CANFIELD:     Objection to form.     You can

 9           answer.

10           A.   I did not observe that, no.
11           Q.   Did you -- did she complain to you about

12   being treated about her male counterparts outside of the
13   pay parity?

14                MS. CANFIELD:     Objection.    You can answer.

15           A.   I don't know if I recall anything other than

16   the pay parity.
17           Q.   What about the title change, do you remember

18   that?

19           A.   I do remember something about that, yes.

20                 MS. CANFIELD:    Can you put in an objection

21           before that.   Thank you.
22                THE WITNESS:     Sorry.

23           Q.   What did you remember about the title change,

24   Dr. Winkler?
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     118                        BARRY WINKLER, M.D.


 1            A.    I remember Dr. Kaye --

 2                  MS. CANFIELD:     Objection.    Yes.   Go ahead.

 3            A.    -- telling me that they had changed her

 4   title, I believe, from medical director to director.

 5            Q.    And what do you remember about the

 6   conversation, Dr. Winkler?

 7            A.    Dr. Kaye felt that was a demotion.

 8            Q.    When did you -- when did you have that

 9   conversation with Dr. Kaye; do you remember?

10            A.    I'm fairly certain it was after I went to
11   Brooklyn, maybe mid to late 2018.           I honestly don't

12   recall.
13            Q.    And did you agree with Dr. Kaye that the

14   change in title from director -- from medical director

15   to director was a demotion, in fact?

16            A.    No, I don't agree that it's a demotion.
17            Q.    Okay.   Why don't you?

18            A.    Because the way I look at it, if the word

19   medical is in front of director, medical's a qualifier.

20   And to me, a medical director would be part of an

21   organization that would ultimately report to the
22   director.      So in my opinion, it didn't seem like a

23   demotion.

24            Q.    Did you think Dr. Kaye was being reasonable
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                              BARRY WINKLER, M.D.                          119


 1   about that issue with the change in title?

 2         A.    Well, I feel that it bothered her, and she

 3   had her position about it.       I mean, I had my opinion,

 4   she had her opinion.     I don't think it was unreasonable

 5   to object to it.

 6         Q.    Was everyone made to change their title to --

 7   I mean to director?

 8         A.    I don't know if anybody else's title was

 9   changed.   I don't know what technical titles for the

10   other directors in the clinics are.
11         Q.    But you don't know if Dr. Mundy's title was

12   changed or not; right?
13               MS. CANFIELD:     Objection to form.      Maybe you

14         should define what you mean by title.

15         Q.    You wouldn't know if Dr. Mundy's title was

16   changed from medical director to director, would you?
17         A.    That's correct, I wouldn't know that.

18         Q.    Now, did Dr. Kaye also talk to you about

19   being excluded from meetings with Dr. Jain?

20         A.    Which meetings are you referring to?

21         Q.    Not the work meetings, just meetings at the
22   Bronx Court Clinic.

23         A.    I missed the first part.       There was noise.

24         Q.    Meetings at the Bronx Court Clinic.
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     120                        BARRY WINKLER, M.D.


 1            A.    I seem to remember her saying that Dr. Jain

 2   had come to the clinic and met with, might have been Dr.

 3   Brayton, might have been Dr. Mullan, had met with the

 4   other clinician there, and she had not been included.               I

 5   do recall that.

 6            Q.    Now, how often did Dr. Jain meet with you,

 7   Dr. Winkler?

 8            A.    We didn't have a regularly scheduled -- well,

 9   we had a regularly scheduled meeting, but it didn't

10   always happen.       I would say he met with me once -- maybe
11   once a week, once every two weeks.

12            Q.    But -- okay.     And you said you had a
13   regularly scheduled meeting; was it a weekly, regularly

14   scheduled meeting, or was it more than once a week?

15            A.    It was a weekly, regularly scheduled, but

16   often times, he would cancel and say we'll meet next
17   week.

18            Q.    Did you know if he met with Dr. Kaye's office

19   when he met with you?

20                  MS. CANFIELD:     Objection to form.

21            A.    I -- I don't know about how often he met with
22   Dr. Kaye.

23            Q.    Did you know how often he met with Dr. Mundy?

24            A.    I did not know.
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                              BARRY WINKLER, M.D.                          121


 1           Q.   Did you ever know how often he met with Dr.

 2   Owen?

 3           A.   No.

 4           Q.   Were there instances where Dr. Jain met with

 5   all of the directors except for Dr. Kaye?

 6                MS. CANFIELD:    Objection to form.      You can

 7           answer.

 8           A.   I don't remember if there was a meeting when

 9   Dr. Kaye -- meeting of the directors where Dr. Kaye

10   wasn't there.      We didn't have that many directors'
11   meetings all together.      I don't recall if we met without

12   her at any point.
13           Q.   Now, did you ever have any complaints about

14   Dr. Jain yourself?

15           A.   I didn't have complaints about Dr. Jain.          As

16   I mentioned earlier, I have a different approach to
17   doing my interviews and my reports, which I actually

18   discussed with him, and -- like I said earlier.

19           Q.   Now, at any point, did you have a discussion

20   with Dr. Kaye about Dr. Jain throwing out his notes?

21                MS. CANFIELD:    Objection to form.      You can
22           answer.

23           A.   We did, at one point, have a discussion about

24   keeping interview notes, yes.
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     122                        BARRY WINKLER, M.D.


 1            Q.    And what was that discussion?

 2            A.    I believe we spoke about the fact that Dr.

 3   Jain destroyed his interview notes, and we did not -- we

 4   put our interview notes in the file.           We had a different

 5   procedure in the case file in the clinic.

 6            Q.    And did Dr. Kaye tell you that Dr. Jain

 7   destroyed his interview -- interview notes?

 8            A.    I don't know if she told me, or I knew it

 9   already.      I forget where I learned it.

10            Q.    Now, did you make the statement, “I can't
11   tell him had to do.        He's by boss, but I'm keeping my

12   notes, and I'm telling my people to keep theirs”?
13            A.    Yeah, I seem to remember saying something

14   along that line.

15            Q.    Now, did it ever come to your attention that

16   Dr. Jain accused Dr. Kaye of stealing his interview
17   notes?

18            A.    I did not know about that, no.

19            Q.    And you were -- you were still working at the

20   clinic at this time, I take it.          Did you know Dr. Kaye

21   to steal interview notes during the time that you worked
22   at the clinic with her?

23            A.    No.

24            Q.    Does that sound like something she would do
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                              BARRY WINKLER, M.D.                          123


 1   based on your knowledge of working with her all those

 2   years?

 3         A.     No.

 4         Q.     Now, I'm just going to ask you about the, I

 5   guess, dynamics between Dr. Ford and Dr. Kaye after she

 6   started complaining about pay parity when CHS took over.

 7   Did you ever see Dr. Ford and Dr. Kaye together during

 8   that time?

 9         A.     I think we had meetings.      I think Dr. Kaye

10   and I met with Dr. Ford.      This is -- this is post-CHS
11   we're talking?

12         Q.     Yes.
13         A.     I have to think now.      I don't recall if we --

14   I remember meetings with Dr. Kaye and Dr. Ford, but I'm

15   not -- I'm not sure if they were pre or post-CHS, to be

16   honest.
17         Q.     Did she seem to get along with each other's

18   -- generally?

19         A.     Yes, I think so.

20         Q.     At any point, did you notice tension between

21   the two of them?
22         A.     No, I didn't.

23         Q.     Did Dr. Kaye ever complain to you about how

24   she was being treated by Dr. Ford?
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     124                        BARRY WINKLER, M.D.


 1            A.    I don't recall a specific complaint.         I

 2   believe in the context -- I don't know whether she

 3   referenced Dr. Ford.        I don't recall in the context of

 4   the pay disparity and the title change and shift change.

 5   I don't recall.       I think Dr. Ford was still there at

 6   that time.      I don't recall a specific reference to Dr.

 7   Ford.

 8            Q.    And did you have -- did you have any

 9   conversations with Dr. Kaye about how Dr. MacDonald was

10   engaging her?
11                  MS. CANFIELD:     Objection to form.      You can

12            answer.
13            A.    When you say -- when you say “engaging her,”

14   do you mean meetings with Dr. MacDonald?

15            Q.    Well, just in general.       Just the treatment or

16   any kind of contact he may have had with her.
17            A.    I don't recall that.      I don't recall how much

18   contact Dr. MacDonald had with Dr. Kaye at the clinic at

19   that point.

20            Q.    So we went through the shift change and the

21   title change and some of the meetings, you know, that
22   Dr. Kaye was not being invited to some of these

23   meetings.      Did you notice that Dr. Kaye's attitude

24   towards work starting to change during this time?
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                              BARRY WINKLER, M.D.                          125


 1                 MS. CANFIELD:   Objection to form.      No

 2           foundation.   You can answer.

 3           A.    Do you mean her approach to her work or her

 4   attitude about what she was going through?

 5           Q.    Her attitude about what she was going

 6   through.     Let's start with that.

 7           A.    Well, she was not happy about it.

 8           Q.    Okay.   And can you elaborate?

 9           A.    Well, I think I already have.      She was

10   unhappy about the disparity in her pay, and she was
11   unhappy about the change in title and the change in the

12   work schedule.
13           Q.    Did it affect her attitude towards work in

14   general?

15           A.    Not as far as I know.

16           Q.    Did it affect how she spoke about CHS?
17           A.    Well, she was unhappy.     I keep coming back to

18   that.    So she wouldn't speak about CHS in glowing terms

19   if she was unhappy about what they were doing, but it

20   didn't change her approach about her doing her job, as

21   far as I could see.
22           Q.    Okay.   So I'm going to ask you some questions

23   about some of the policies that you may have worked on.

24   I'm going to show you the first one, and I'm going to
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 126 of 353


     126                         BARRY WINKLER, M.D.


 1   mark this as Plaintiff's Exhibit 1.

 2

 3                  (Plaintiff's Exhibit 1, DOCUMENT BATES

 4                  STAMPED NYC_125 through NYC_127, was marked

 5                  for identification.)

 6

 7                  MS. HAGAN:    For the record, Plaintiff's

 8            Exhibit 1 bears the Bates Stamp Series NYC_125

 9            through 127 and I'm sure you'll need an

10            opportunity to look at the document.
11            Q.    The first -- the first page is actually an

12   email from you to Dr. Kaye.         And the subject's third
13   party -- third party-observers during psych testing.              Do

14   you see that; right?

15            A.    I see that.

16            Q.    And I'm going to scroll downwards.         Now, you
17   sent an article to Dr. Kaye.          Do you remember that?

18            A.    Yes, I do remember that.

19            Q.    And for purposes of the record, the article

20   is entitled “Presence of Third-Party Observers During

21   Neuropsychological Testing.”          Now, do you recall why you
22   sent this article to Dr. Kaye?

23            A.    I believe it was in response to a request by

24   attorneys to sit in during psychological testing of
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 127 of 353


                              BARRY WINKLER, M.D.                          127


 1   defendants.

 2         Q.      And what was your position about attorneys

 3   sitting in on psychological tests?

 4         A.    That they should not be allowed to sit in.

 5         Q.    And do you recall what attorney was

 6   interested in sitting in on an exam?

 7         A.    I don't recall.

 8         Q.      Do you recall the context in which the issue

 9   arose?

10         A.      No, I really don't.
11         Q.      Besides sending this article to Dr. Kaye, do

12   you recall any other conversations you may have had with
13   other CHS staff members about this particular topic?

14         A.      At any time?

15         Q.    Yes.

16         A.    I believe this topic came up again after I
17   moved down as director of Brooklyn.        And I believe I

18   sent this -- well, I sent it to one of the attorneys

19   there from Legal Aid who we deal with regularly, and I

20   believe I sent it to Dr. Jain also.

21         Q.      When you sent this article to Dr. Jain, what
22   led to that?

23               MS. CANFIELD:     Objection to form.      You can

24         answer.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 128 of 353


     128                        BARRY WINKLER, M.D.


 1            A.    Well, if I'm remembering correctly that I did

 2   send it to him, it would have been in response to a

 3   discussion about allowing attorneys or anyone else to

 4   sit in during psychological testing sessions.

 5            Q.    Do you remember the circumstances that led

 6   you to send this article to Dr. Jain?

 7                  MS. CANFIELD:     Object to the form.      He can

 8            answer.

 9            A.    I think it was a discussion about how some

10   directors were allowing people to sit in.            And I believe
11   it came up in discussion that I did not think it was

12   appropriate, and that I referenced this article and then
13   sent it.      That's my recollection.

14            Q.    Now, did you experience any retaliation when

15   you raised this issue?

16                  MS. CANFIELD:     Objection.    He can answer.
17            A.    No, I didn't.

18            Q.    You didn't experience any hostility?

19            A.    Hostility, no.

20            Q.    And what directors would allow an attorney to

21   sit in on their exams?
22            A.    I believe Dr. Owen was allowing attorneys, at

23   times, to sit in on psychological testing.

24            Q.    Now, I'm going to show you what is --
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 129 of 353


                               BARRY WINKLER, M.D.                         129


 1                MS. HAGAN:    I'm going to stop the share, and

 2         then I'm going to open up another document.           I'm

 3         going to show you what's going to be marked as

 4         Plaintiff's Exhibit 2.

 5

 6                (Plaintiff's Exhibit 2, DOCUMENT BATES

 7                STAMPED NYC_291 to NYC_295, was marked for

 8                identification.)

 9
10         Q.     Plaintiff's Exhibit 2 bears the Bates Stamp
11   Series NYC_291 to NYC_295.       And I'll give you an

12   opportunity to read it.      But just for the record, this
13   exhibit is from Dr. Jain to, I guess, the center

14   directors.   And it's dated June 28th, 2018, and subject

15   is new FPECC policy.      And it says -- Dr. Jain says, here

16   is the finalized FPECC private practice policy.           Please
17   do not, in all caps, distribute to staff yet.          I think

18   the best way to disseminate the information is to meet

19   with the staff directly.      I'll talk each of you about

20   how to handle it at each of the boroughs.          For now, I am

21   jut sending among us directors first.         Hopefully, we can
22   have a plan to discuss with all the staff.          Now, you

23   remember this email; right?

24                MS. CANFIELD:    Objection.     You can answer.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 130 of 353


     130                         BARRY WINKLER, M.D.


 1            A.    I remember an email from Dr. Jain on practice

 2   policy, yes.

 3            Q.    Okay.   And do you recall reading -- what do

 4   you -- what do you recall about the private practice

 5   policy?

 6                  MS. CANFIELD:     Objection to form.      He can

 7            answer.

 8            A.    That there is a policy.       The private practice

 9   policy is that the clinic clinicians are not allowed to

10   take any private practice cases in the borough in which
11   they work.      And they are not allowed to do any

12   competency evaluation private practice cases anywhere in
13   the city of New York.

14            Q.    Now, do you have a private practice yourself,

15   Dr. Winkler?

16            A.    Yes, I do.
17            Q.    Okay.   And I guess, did this happen before or

18   after the private practice policy in June of 2018?

19                  MS. CANFIELD:     Objection to form.      Did what

20            happen?    You can answer.

21                  MS. HAGAN:    The creation of his private
22            practice.

23            A.    I'm not sure I understand.       Did the policy

24   happen?       Did the --
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 131 of 353


                              BARRY WINKLER, M.D.                          131


 1         Q.    No.   Did your practice -- when did you start

 2   your practice -- your private practice?

 3         A.    My private practice started probably back in

 4   2009, maybe.

 5        Q.     Did you have to adjust how you operated your

 6   private practice after this policy was issued?

 7         A.    I wasn't taking any 730 cases before that.

 8   And yes, I did have to adjust, because now I was in

 9   Brooklyn and I could not take any Brooklyn cases at all.

10         Q.    Now, were you aware that Dr. Kaye had
11   allegations that some of the directors were engaged from

12   double-dipping?
13         A.    What do you mean by double-dipping?

14         Q.    Well, I guess working -- I guess, to a

15   certain degree, either using city resources in order to,

16   I guess, conduct their private practices.          For example,
17   seeing their private practice cases at the court clinic.

18         A.    That --

19               MS. CANFIELD:     Objection to form.      You can

20         answer.

21         A.    That she was accused of it?
22         Q.    No.   No.   That she accused others of doing

23   such things.

24               MS. CANFIELD:     Objection to form.      You can
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 132 of 353


     132                        BARRY WINKLER, M.D.


 1            answer.

 2            A.    I wasn't aware that she accused others.

 3            Q.    Okay.   Okay.    Were you aware that any -- were

 4   you aware of any of the other directors being accused

 5   as-- I mean, engaging in double-dipping?

 6                  MS. CANFIELD:     Objection to form.      He can

 7            answer.

 8            A.    Not that I was aware of.

 9            Q.    Okay.   Was there ever a time where perhaps --

10   not double-dipping necessarily.
11                  Was there a time where -- I'm not going to

12   proceed to that one.
13   Were you aware of any potential problematic behavior

14   with the directors and their private practice since the

15   private practice policy was issued?

16                  MS. CANFIELD:     Objection to form.      You can
17            answer.

18            A.    I wasn't aware of any problem.

19            Q.    Was it ever brought to your attention that

20   there might be some problems with how the directors were

21   engaged in private practice?
22                  MS. CANFIELD:     Objection to form.      He can

23            answer.

24            A.    It didn't come to my attention.
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 133 of 353


                              BARRY WINKLER, M.D.                          133


 1         Q.    No one complained to you?

 2         A.    About the other directors?

 3         Q.    Right.

 4         A.    No.

 5         Q.    So do you know what led -- led to this

 6   practice of policy being issued by CHS management?

 7         A.    As far as I know, it was, I believe initially

 8   -- once CHS took over, I think Dr. Virginia Barber was

 9   particularly involved in this, that they were looking to

10   eliminate all private practice for the clinicians, court
11   clinic clinicians.     And that this, excuse me, was a

12   compromise or solution they came up with.
13         Q.    Did Dr. Kaye ever complain to you or express

14   her opposition to you about the private practice policy?

15               MS. CANFIELD:     Objection.     He can answer.

16         A.    I don't recall her ever objecting to it.           I
17   don't -- not that I recall.

18         Q.    I just want to be -- I just want to make sure

19   that the record's clear.      When you say “clinicians,”

20   you're talking about the forensic court evaluators;

21   right?
22         A.    Yes.

23         Q.    And I was just wondering if there ever came a

24   time when -- that -- during the July 2018 directors'
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 134 of 353


     134                        BARRY WINKLER, M.D.


 1   meeting, did Dr. Kaye tell you that Mr. Millan reported

 2   Dr. Mundy was throwing the results of exams to woo

 3   private referrals?

 4                  MS. CANFIELD:     Objection to form.      You can

 5            answer.

 6            Q.    Read that -- say that -- the last part again.

 7   I didn't really hear it.

 8            A.    Did there ever come a time when Dr. Mullan

 9   told you -- or Dr. Kaye told you that Dr. Mullan

10   reported that Dr. Mundy was throwing the result of exams
11   to woo private referrals?

12                  MS. CANFIELD:     Objection to form.
13            A.    He might have said that to me.

14            Q.    And what was your reaction?

15                  MS. CANFIELD:     Objection.    You can answer.

16            A.    If it's true, it's clearly inappropriate.
17   But I don't know if it's true or not.

18            Q.    Do you recall anybody's viewpoints towards

19   Dr. Kaye changing after she made that comment?

20                  MS. CANFIELD:     Objection to form.      You can

21            answer.
22            A.    I don't recall any -- observing any change in

23   how people interacted with her after that.

24            Q.    Did you ever hear any comments that people
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 135 of 353


                                BARRY WINKLER, M.D.                        135


 1   were upset or perhaps frustrated with Dr. Kaye because

 2   of her position on private practice?

 3                 MS. CANFIELD:    Objection to form.     Private

 4         practice or what Dr. Mundy is allegedly doing?

 5                 MS. HAGAN:    I said the private practice

 6         policy.

 7                 MS. CANFIELD:    You can answer.

 8         A.    Were people upset with her because of her

 9   position on the private practice policy?

10         Q.    Yes.
11         A.      Not as far as I know.

12         Q.    Do you -- do you recall if Dr. Kaye opposed
13   the private practice policy herself?

14               MS. CANFIELD:      Objection.    You can answer.

15         A.    Not that I know of.      I don't know that she

16   opposed it.
17         Q.      She never said she was in opposition to it --

18   to you about it; right?

19                 MS. CANFIELD:    Objection.

20         A.    Not that I recall.

21         Q.      So let me go to Plaintiff's Exhibit 3.
22

23               (Defendant's Exhibit 3, DOCUMENTS BATES

24               STAMPED NYC_320 to NYC_329, was marked for
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 136 of 353


     136                         BARRY WINKLER, M.D.


 1                  identification.)

 2

 3            Q.    And Plaintiff's Exhibit 3 bears the Bates

 4   Stamp Series NYC_320 to NYC_329.          Tell me when you see

 5   the document.       You're seeing the document; right?

 6            A.    Yeah.

 7            Q.    Now, this is for -- Exhibit 3 bears the Bates

 8   Stamp Series NYC_320 through 329.           I'm going to give you

 9   an opportunity to look at it.          In the meantime, I'm just

10   going to read on the record that the exhibit begins with
11   an email to Dr. Kaye to herself.          Then there's an email

12   from you, Dr. Winkler, to Dr. Kaye on July 6th, 2018.
13   You see that; right?

14                  MS. CANFIELD:     Objection.    I see it beginning

15            with --

16                  MS. HAGAN:    I did say that it was Dr. Kaye to
17            herself.    And then under that, there's an email

18            from Dr. Winkler to Dr. Kaye.

19                  MS. CANFIELD:     Okay.   So the most recent of

20            the emails is the email from Dr. Kaye to herself.

21                  MS. HAGAN:    Right.
22                  MS. CANFIELD:     And she's forwarding all these

23            other correspondence that actually begins on June

24            1st, 2018, from Elizabeth Owen to Joseph Zayas.
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 137 of 353


                              BARRY WINKLER, M.D.                          137


 1               MS. HAGAN:     Actually, it appears that the

 2         initial email to --

 3               MS. CANFIELD:     Which is Bates stamped

 4         NYC_000321.

 5               MS. HAGAN:     The original email is from

 6         Antonio Diaz to James Smoot.        And the subject is

 7         new CPL 730 procedures; right?         And then Dr. Owen,

 8         on June 1st, 2018, to -- I guess Dr. Owen's email

 9         is first (indiscernible).

10               MS. CANFIELD:     That was first.
11               MS. HAGAN:     And then after that, Antonio Diaz

12         emails James Smoot.
13               MS. CANFIELD:     Correct.

14               MS. HAGAN:     Subject, CPL 730 procedures.

15               MS. CANFIELD:     Correct.

16               MS. HAGAN:     And then Mr. Smoot then contacts
17         Dr. Winkler --

18               MS. CANFIELD:     Correct.

19               MS. HAGAN:     -- on July 2nd.

20               MS. CANFIELD:     Correct.

21         Q.    Now, for purposes of just getting to the crux
22   of this, and you're reading this, the July 2nd email

23   from James Smoot -- first off, who is James Smoot?           That

24   would be helpful.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 138 of 353


     138                          BARRY WINKLER, M.D.


 1            A.     I think he's -- if I recall correctly, I

 2   think he's head clerk or higher level clerk in the

 3   Brooklyn criminal court system.

 4            Q.     And you're saying high level clerk to the

 5   judges in that -- in that courthouse; right?

 6            A.     Yes.

 7            Q.     So then he says to you, Dr. Winkler, can you

 8   review the attachment and offer any insight as to how

 9   this might facilitate your request and allow us to

10   expedite what we do on our -- on our end, please.              And
11   thanks.       I'm of the mindset that we can adopt this

12   polite program here, I guess, at the Kings County Court
13   Clinic and tweak it a bit to accommodate your request.

14   And then he says, Best, James.          And then you forward

15   this to Dr. Kaye.       Now, why did you forward this

16   exchange to Dr. Kaye; do you recall?
17            A.     I don't recall.    I don't even recall what the

18   email was about without seeing more.

19            Q.     So let's go down further.       This is the new

20   CPL 730 Form and Procedures for Criminal Courts.              You

21   see that; right?
22                   MS. CANFIELD:     For Queens.

23                   MS. HAGAN:    For Queens.    I said for Queens,

24            yes.
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 139 of 353


                              BARRY WINKLER, M.D.                          139


 1         MS. CANFIELD:     Just note for the record, it

 2         appears (indiscernible) information, that the

 3         exhibits seem to be duplicated.

 4               MS. HAGAN:     I don't see how this is

 5         duplicated at all.      But this -- this is the

 6         actual --

 7               MS. CANFIELD:     No.   There's one copy of the

 8         new form and procedures, and then the HIPAA

 9         release, and then the words “disclosed.”           And then

10         the same three documents repeat again.
11         Q.    Now, am I at a place where you have finished

12   -- gotten a chance to finish going through this
13   particular document, Dr. Winkler?

14         A.    Yeah, I skimmed it.      I haven't read it word

15   for word, to be honest, but I skimmed it.

16         Q.    Okay.    And then there is like the HIPAA
17   authorization to disclose form, and there's the order to

18   disclose and provide records.       That's on page 6 of the

19   exhibit.   Then, I guess, it repeats itself here after 6.

20   So I guess 7 through 10 might be repetitious.          Well,

21   actually the complete production from defendants.           So I
22   guess it's duplicative from their part.         But then again,

23   I'm not sure if the language is exactly the same.           So I

24   won't say that.     I won't commit to that yet.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 140 of 353


     140                        BARRY WINKLER, M.D.


 1                  So what I want to ask you, Dr. Winkler, I

 2   want to ask you about the bullets from the Queens pilot

 3   project, right, and whether you actually agree with

 4   these bullets on whether or not it would be applicable

 5   to the Brooklyn Court Clinic.          Okay.

 6   So the first bullet informs a 730 Order Form similar to

 7   the UCMS 730 Order Form for criminal court will be

 8   utilized until such time that the UCMS supreme court

 9   forms are rolled out.        Do you recall that?

10            A.    This is something that I think they were
11   doing in Queens.       And we weren't doing any of this in

12   Brooklyn.
13            Q.    Did you ever do any of this stuff in

14   Brooklyn?

15                  MS. CANFIELD:     Objection to form.      He can

16            answer.
17            A.    This 730 Order Form, no.        I think this was a

18   review of the Queens pilot project, but we didn't do any

19   of that work in Brooklyn.

20            Q.    Okay.   So no HIPAA consent and/or release of

21   information form were ever used in Brooklyn?
22            A.    No.

23            Q.    So the information regarding to the records,

24   right, he -- I think (indiscernible) if the defense
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 141 of 353


                              BARRY WINKLER, M.D.                          141


 1   attorney and defendant agree to do so, the defendant can

 2   sign a HIPAA consent for the release of records to the

 3   psychiatric examiner, or on a case-by-case basis, the

 4   judge may sign an order to release certain information

 5   records to the psychiatric examiners.         Now, you said

 6   that that didn't happen in Brooklyn; am I right?

 7               MS. CANFIELD:     Objection to form.      He can

 8         answer.

 9         A.    We never used HIPAA forms for records.          We

10   will, on a case-by-case basis, get a judicial order for
11   records.

12         Q.    So why didn't you ever use HIPAA forms?
13         A.    I don't think a HIPAA form -- I object to

14   using HIPAA form because -- primarily because if a

15   defendant -- if we're raising or the court or whoever,

16   the defense counsel is raising a question about the
17   defendant's capacity to proceed, then my argument is how

18   do they have the capacity to understand what they're

19   signing when they completed a HIPAA form.

20         Q.    Okay.    Now, there is a discussion here, and

21   maybe you can help me understand what's happening here.
22   This bullet talks about multiple cases, dockets, can be

23   listed on the same form as long as, 1:         The highest

24   charge of every one is either a misdemeanor or a felony.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 142 of 353


     142                         BARRY WINKLER, M.D.


 1                  MS. CANFIELD:     What page are you on?      3 --

 2           3 --

 3                  MS. HAGAN:    326.   326.

 4            Q.    And the return part is the same, which should

 5   also cover misdemeanor and felony issues.            Now, what

 6   does that mean?

 7                  MS. CANFIELD:     Objection to form.      You can

 8            answer if you can.

 9            A.    When they say can be listed on the same form,

10   I'm not sure what form this is even referring to.
11            Q.    Okay.   Then the 730 order with endorsement

12   pages and criminal complaint, with any HIPAA and/or
13   judicial request for records.          And then I guess it

14   should be sent to a central email address.            Did you all

15   have a central email address that dealt with 730 orders

16   in Brooklyn?
17            A.    I think we might have had a central email

18   address for orders at one point.           But we get our orders

19   in Brooklyn.      Some are faxed -- a few of them are faxed.

20   A few of them are emailed, that I'm guessing they go to

21   that central email, and the rest are hand-delivered.
22            Q.    Now, here is probably where, I think we had a

23   discussion with, you know, your disagreement.             It says

24   that next court dated for all felony 730 examinations
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                              BARRY WINKLER, M.D.                          143


 1   are anticipated to be two weeks from the date that the

 2   730 is ordered.    You disagreed with that; right?

 3               MS. CANFIELD:     Objection.     You can respond.

 4         A.    I believe that's very quick, yes.

 5         Q.    If a 730 is ordered during the weekend, then

 6   the court date would be two weeks from the following

 7   Monday.    You disagreed with that; right?

 8               MS. CANFIELD:     Objection.     You can answer.

 9         A.    Yes, I think that is very quick.

10         Q.    Now, did -- did you all have designated
11   people at the Brooklyn courthouse that you

12   (indiscernible) completed 730 reports to?
13               MS. CANFIELD:     Objection to form.      You can

14         answer.

15         A.    We upload our reports to a system called

16   iSight.    It's an electronic report system that all the
17   court clinics are using now.       I believe -- I forget when

18   that was implemented.      Not soon -- it was implemented

19   not too long after CHS took over.        And prior to that, we

20   would send our completed reports to our coordinating

21   manager, who was in essence, the office manager, and
22   then she would forward them to the court.

23         Q.    Do you recall the Bronx Court Clinic hard

24   drive crashing pretty early on in CHS's management of
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 144 of 353


     144                        BARRY WINKLER, M.D.


 1   the clinic?

 2                  MS. CANFIELD:     Objection to form.      You can

 3            answer.

 4            A.    I think I do remember hearing something with

 5   a problem with the hard drive there.

 6            Q.    Now, what do you remember hearing?

 7            A.    Really not much more than that.        But there

 8   was some kind of a problem.

 9            Q.    Now, did Brooklyn get iSight before the

10   Bronx?
11            A.    I don't know.

12            Q.    When did Brooklyn get iSight?
13            A.    I don't remember exactly.       I think we started

14   it maybe summer of 2018.

15            Q.    Would you say iSight accurately captured the

16   workload of the -- of the Brooklyn Court Clinic?
17            A.    I would say it does, because -- I know that

18   it does.      I don't know how efficiently the orders were

19   getting entered into it initially.           But now, all the

20   orders we receive are entered into iSight.

21            Q.    Initially, were -- were the orders being
22   efficiently inputted into the system?

23                  MS. CANFIELD:     Objection to form.      You can

24            answer.
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 145 of 353


                              BARRY WINKLER, M.D.                          145


 1         A.    I don't know.     I didn't enter the orders, and

 2   I don't know -- I think there might have been some

 3   initial bugs in entering orders.        They were working it

 4   out and kind of ramping it up.       So I don't know

 5   initially if they were all getting in or not.

 6         Q.    I mean, would you say that iSight would be an

 7   accurate repository to assess the workload of a given

 8   clinic?

 9         A.    Currently, I would say yes.

10         Q.    Prior to currently, was it -- was there a
11   time that iSight was not necessarily accurate?

12         A.    Again, I don't know, because as I said, I
13   don't uploaded the orders.       I never did.    I know it was

14   phased in, and the coordinating manager in our office,

15   along with the other clerical people were working on

16   getting the orders entered.       So at the very beginning,
17   it probably only had a portion of our outstanding orders

18   entered.   Now, I think at this point, all active orders

19   are getting entered.     So initially, I can't say whether

20   it was accurate or not.

21         Q.    Now, did -- did Dr. Kaye ever complain to you
22   or anyone else complain to you about the data being

23   inaccurate regarding their center?

24               MS. CANFIELD:     Objection.     You can answer.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 146 of 353


     146                        BARRY WINKLER, M.D.


 1            A.    You mean the iSight data?

 2            Q.    The iSight data or the workload data.

 3            A.    I don't recall if there was something -- I

 4   don't recall if there was something connected with a

 5   computer problem in the Bronx, that she might have

 6   mentioned -- Dr. Kaye might have mentioned at one point

 7   about problems uploading orders.          I don't really --

 8            Q.    But she did -- she did complain about the

 9   computer issue in the Bronx to you?

10                  MS. CANFIELD:     Objection.    Leading.    You can
11            answer.

12            A.    I remember hearing about a computer problem
13   in the Bronx.

14            Q.    Was there a computer problem in the Bronx

15   before you left the Bronx Court Clinic?

16            A.    Not that I'm aware of, but I don't know that
17   we were using it as much as it's probably being used

18   now.

19            Q.    When you left the clinic, the Bronx Court

20   Clinic, did you learn of computer problems in the Bronx?

21                  MS. CANFIELD:     Objection to the form.       You
22            can answer.

23            A.    Not as far as I know.

24            Q.    Did Dr. Kaye ever complain about Kronos to
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 147 of 353


                              BARRY WINKLER, M.D.                          147


 1   you?

 2          A.     I do remember her telling me she was having

 3   difficulty accessing Kronos from her office computer.

 4          Q.     At any point, did Dr. Kaye complain to you

 5   about Dr. Jain incorrectly entering her time into

 6   Kronos?

 7               MS. CANFIELD:     Objection to form.      You can

 8          answer.

 9          A.   I don't recall if she said that or not.

10          Q.     Did Dr. Kaye ever complain to you about being
11   docked pay?

12                 MS. CANFIELD:   Objection.
13          A.   I think she did say something at some point

14   about that.      I don't remember a lot of details, but I

15   have some memory that she mentioned some problem with

16   her time being docked some pay, I think.
17          Q.   Did she discuss her pay being docked during

18   the Jewish holidays?

19          A.   I do remember something, yes, around the

20   Jewish holidays.      I remember her saying something about

21   -- I think she said she took those days off, but then
22   got docked or something to that effect.

23          Q.   Now, I'm going to show you what's marked as

24   Plaintiff's Exhibit 4.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 148 of 353


     148                         BARRY WINKLER, M.D.


 1                  (Plaintiff's Exhibit 4, DOCUMENT BATES

 2                  STAMPED NYC_464 through 466 AND NYC-471

 3                  through 477, was marked for identification.)

 4

 5            Q.    Plaintiff's Exhibit 4 bears the Bates Stamp

 6   Series NYC_464 through 466, and then NYC-471 through

 7   477.     It's all one -- one exhibit.        So what I'm going to

 8   do is to start at the top of the exhibit, which is page

 9   1.    And it's from Dr. Jain to the center directors.            And

10   the subject is psychological testing service; right?
11   And it's dated August 27th, 2018.           You see that; right?

12            A.    I don't see anything right now.
13                  MS. HAGAN:    Oh, I'm sorry.     I didn't share

14            the screen.    I apologize.

15            Q.    Okay.    Now, do you see it now?

16            A.    Yes.    Psychological testing survey.
17            Q.    Now, I'm going to give you an opportunity to

18   read it.      Let me know when you need me to scroll.

19            A.    You can scroll.

20            Q.    Now, it appears in this first part of the

21   email, Dr. Jain is trying to develop, I guess, a survey
22   regarding psychological testing in our court clinics to

23   help him plan future training and education.             Was there

24   any future training and education after this survey took
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 149 of 353


                              BARRY WINKLER, M.D.                          149


 1   place?

 2                MS. CANFIELD:    Objection to form.      You can

 3           answer.

 4           A.   Education by who?

 5           Q.   By anyone in the clinic.

 6           A.   Well, within our clinic, we -- when we were

 7   working completely in person, would routinely engage in

 8   training with the interns who rotated through and the

 9   fellows who rotated through at the time.

10           Q.   Now, did the Bronx Court Clinic have, like,
11   interns and fellows rotating through?

12           A.   We did have the Bellevue forensic track
13   interns rotated through for one of their rotations while

14   they were at Bellevue.      And at one point we had forensic

15   psychiatry fellows rotate through -- from the Albert

16   Einstein program.     So they did rotate at one point.
17           Q.   Now, when you left, did they continue to

18   rotate through?

19                MS. CANFIELD:    Objection to the form.       You

20           can answer.

21           A.   I didn't hear the second part.        When I left,
22   what?

23           Q.   When you left, did the fellows continue to

24   rotate through?
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 150 of 353


     150                        BARRY WINKLER, M.D.


 1            A.    No.   The fellows had stopped rotating

 2   probably a couple of years before I left, I think.

 3            Q.    Were there any problems with the fellows?

 4            A.    The problems with the fellows were -- it

 5   became -- it came to a point that both Dr. Kaye and I

 6   felt that the quality of the fellows that were rotating

 7   through, and the result and quality of their work,

 8   became more effort for us to supervise and correct their

 9   reports than to just do the work ourselves.             Plus, some

10   of the fellows who rotated through were resistant to our
11   supervision.      And so Dr. Kaye made the decision to

12   terminate that program or involvement with that program.
13            Q.    Now, you resumed the program when you went to

14   the Brooklyn Court Clinic; is that right?

15            A.    I didn't resume it.      When I went to the

16   Brooklyn Court Clinic, there were already SUNY Downstate
17   fellows who were rotating through.           And there were also

18   Brookdale Medical School for students who were rotating

19   through.      And I continued that for a while, and then I

20   ended that relationship with the both of them.

21            Q.    And was it for the same reasons?
22            A.    It wasn't necessarily for the same reason.

23   The difference with the fellows in the Bronx -- the

24   fellows in the Bronx were forensic psychiatry fellows.
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                              BARRY WINKLER, M.D.                          151


 1   They were forensic psychiatry trained.         Though chose to

 2   be involved in forensic psychiatry.        The -- I'm sorry.

 3   I used word “fellows” for Brooklyn.        I meant to use the

 4   word “residents.”     They were psychiatry residents in

 5   Brooklyn when I took over.

 6               The residents were forced to come to our

 7   clinic.    They were forced to participate in a forensic

 8   rotation somewhere as part of their residency training.

 9   And my position became that they came in with little to

10   no forensic knowledge.      They had very short rotation
11   turnarounds.    It took quite a bit of time to orient them

12   and even bring them up to speed on how we operated and
13   what we did.    And for the most part, none of them left

14   with any interest in doing any forensic psychiatry work.

15   So I decided -- I spoke to Dr. Jain about it, and I told

16   him that I no longer wanted to supervise them.           I didn't
17   feel it was a good use of either my time or the other

18   clinicians who were supervising them.

19         Q.    And I'm going to scroll to, I guess, the

20   survey -- the survey as you completed it.          Now, you do

21   recall completing the survey, right, Dr. Winkler?
22         A.    As far as I know.      It says completed survey

23   attached, so I guess I did.

24         Q.    No.   Just, you know, I just want to make sure
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 152 of 353


     152                        BARRY WINKLER, M.D.


 1   that you recall.        I'm trying to help you out here?

 2            A.    I can't recall doing it, but I'm assuming I

 3   did.

 4            Q.    So would your best guess how often -- you

 5   talk about how often you administer psychological

 6   testing.      We have for 730 examinations, five percent.

 7   Now, before we talked about the volume in the Bronx.               So

 8   you're saying -- were these numbers based on your volume

 9   in the Bronx or in Brooklyn?

10            A.    This would have been in Brooklyn.
11            Q.    Okay.    Would you say that this percentage was

12   the same in -- in the Bronx?
13                  MS. CANFIELD:     Objection to form.      You can

14            answer.

15            A.    My sense would be that -- and I think we

16   actually did a little bit more percentage-wise of
17   testing in the Bronx.        We did more of what they call 390

18   examinations, which you see listed there, which are

19   general psychiatric evaluations for the courts.             We got

20   more orders for those in the Bronx, it seemed, then we

21   do in Brooklyn.        And those -- those more often than a
22   730 would involve some testing.          But my sense was that

23   maybe slightly more in the Bronx, but it may be roughly

24   -- it's hard to estimate.         Roughly the same, maybe
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 153 of 353


                              BARRY WINKLER, M.D.                          153


 1   slightly more in the Bronx.

 2         Q.    Now, about how many 730 examinations would

 3   you say Brooklyn had at this point?

 4                 MS. CANFIELD:   Objection to form.      He can

 5         answer.

 6         A.    I don't know.     I don't know what the total

 7   number was for the year.      I don't have that information.

 8         Q.    Okay.    And do you -- do you remember about

 9   how many 390s that the Bronx may have had when you were

10   there for a year?
11         A.      I don't remember numbers, but I would -- I

12   would say we had more because -- I would say
13   percentage-wise, there were more in the Bronx than in

14   Brooklyn, because when I had the Bellevue forensic track

15   interns cycling through, they were legally allowed, with

16   supervision, to conduct and write the 390 evaluations.
17   And pretty much every week, they had a case to work on.

18   We get very few 390 evaluations in Brooklyn right now.

19         Q.    Have they been outsourced?

20         A.      No, I don't know that they've been

21   outsourced.    It's a difference why they're being ordered
22   or why they're not.     I don't know why they're not

23   ordered as frequently in Brooklyn.        They're court

24   ordered.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 154 of 353


     154                        BARRY WINKLER, M.D.


 1            Q.    So the Brooklyn and Queens 390 exams are not

 2   outsourced; is that your testimony?

 3            A.    As far as I know, they're not.

 4            Q.    Now, you said you -- you went to the -- the

 5   circumstances in which you would order psychological

 6   tests; right?       And you list suspected malingering,

 7   cognitive testing, et cetera; right?           Now, these are

 8   some of the circumstances that, you know, I guess,

 9   precipitated ordering the exam for Mr. Gonzalez; right?

10                  MS. CANFIELD:     Objection to the form.       You
11            can answer.

12            A.    Well, I wouldn't say I ordered them.         We
13   conducted them.

14            Q.    Right.

15            A.    So are you asking me if these reasons listed

16   here in Number 2 are applicable -- if some of them are
17   applicable to Mr. Gonzalez?

18            Q.    Yes.

19            A.    Yes.

20            Q.    Okay.    And then, I guess, in here, Number 3

21   says, “What specific questions do you think can be
22   answered through psychological testing?”            And you

23   answer, malingering psychosis and/or cognitive

24   functioning, intellectual functioning, neurocognitive
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 155 of 353


                              BARRY WINKLER, M.D.                          155


 1   functioning, personality assessment, and diagnostic

 2   clarification.    Now, I mean, I'm not going to go much

 3   more into this, but I'm going to ask you generally:            Did

 4   you think this survey was a good exercise by Dr. Jain of

 5   just trying to assess or, I guess, develop education and

 6   training as the -- in these instances [ph.]?

 7               MS. CANFIELD:     Objection to form.      You can

 8         answer.

 9         A.    I guess it gave an overview of what the

10   different directors felt in terms of what could be
11   beneficial through psychological testing.          A good -- I

12   don't know how to quantify whether it's good or not, but
13   I'm assuming it gave him some information to work with.

14         Q.    Did this -- did this survey result in

15   training and/or education that would relate to the

16   topics covered in this particular survey?
17               MS. CANFIELD:     Objection to form.      You can

18         answer if you're able.

19         A.    Do you mean specific CHS-based training

20   programs related to these topics?

21         Q.    Well, first CHS-based training program
22   related to the topics, yes.

23         A.    No.

24         Q.    Okay.    Now, were you or any of your staff, I
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 156 of 353


     156                         BARRY WINKLER, M.D.


 1   guess, given the opportunity to pursue training in any

 2   of these topics elsewhere?

 3                  MS. CANFIELD:     Objection to form.      Answer if

 4            you can.    I don't think the topics are about

 5            training.    They want to know how you did and why.

 6            Go ahead, you can answer.

 7            A.    Are you asking, do we have the opportunity of

 8   the staff to seek -- to obtain training elsewhere?

 9            Q.    Did CHS finance or support training

10   externally on any of these topics that are shown here?
11                  MS. CANFIELD:     Objection to form.      You can

12            answer.
13            A.    I don't know that CHS provides financial

14   support.      They might.    I have never taken advantage of

15   it, but I -- I know -- I think -- actually, I think H&H

16   or CHS does provide some type of reimbursement for
17   relevant training.        And I think, possibly, the union,

18   the clinicians are in might provide some reimbursement

19   too.

20            Q.    Did you ever have any training pertaining to

21   any of these topics while you were at CHS?
22            A.    No.

23            Q.    Did you know if any of the other directors

24   had training pertaining to any of these topics at CHS?
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                              BARRY WINKLER, M.D.                          157


 1               MS. CANFIELD:     Objection.     You can answer.

 2          A.   I don't know about what the other directors

 3   did.

 4          Q.   Did Dr. Jain preside over any training or any

 5   of these topics at CHS?

 6               MS. CANFIELD:     Objection to form.      You can

 7          answer.

 8          A.   I don't recall him doing any training.          I

 9   know he did some interactions with the psychiatry

10   residents at one point.      I don't know if any of it
11   involved any training on psychological testing.

12          Q.   So what were your -- what were your opinions
13   of this survey overall?

14          A.   I don't recall having a firm opinion about

15   it.    It was something that it was sent to me to fill

16   out.   I just assumed it would provide an overview of the
17   kind of psychological testing that was being done in the

18   different clinics.     But I don't know if anything really

19   came out of it.

20          Q.   Now, did you -- I'm going to show you what's

21   going to be marked as Plaintiff's Exhibit 5.          And
22   Plaintiff's Exhibit 5 bears the Bates Stamp Series

23   NYC_837 through NYC_838.

24
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 158 of 353


     158                        BARRY WINKLER, M.D.


 1                  (Plaintiff's Exhibit 5, DOCUMENT BATES

 2                  STAMPED NYC_837 through NYC_838, was marked

 3                  for identification.)

 4

 5            Q.    Now, this email is from Dr. Mundy to

 6   Dr. James.      It's dated (indiscernible) 2018.         And the

 7   subject is the draft psychological testing policy.              You

 8   see that; right?

 9            A.    Yes.

10            Q.    And you see -- you see that Dr. Mundy says,
11   “Cool, looks good”; right?

12            A.    Yes.
13            Q.    And then Dr. Jain responds to Dr. Mundy,

14   “Thanks everyone for you suggestions.           I incorporated

15   them.     I'm actually envisioning an entire

16   policy/procedure on the scope/limits of the 390s. So
17   Dan, we can include more specifics there.            Beesh.”

18   Right?

19            A.    Yes.

20            Q.    And Beesh, for the record, is Dr. Jain;

21   right?
22            A.    Yes.

23            Q.    And then Dr. Mundy responds, “Looks good.           I

24   defer to the psychologists' concern about wording and
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                                 BARRY WINKLER, M.D.                       159


 1   ethics.      One thought:    In Manhattan, we have encountered

 2   judges who specifically request testing in the course of

 3   ordering a 390 or drug court assessment.          I think an

 4   official stance could be included, in substance, any

 5   testing performed is at the discretion of the clinic,

 6   and orders specifying testing are not inherently in the

 7   scope of this policy, or something worded smarter than

 8   that.     No biggie.”

 9           Now, did you agree with Dr. Mundy on that -- on

10   that point?
11           A.    Yeah.    I don't think the judges should be

12   able to order specific testing, because it's not always
13   warranted.     They don't always know what tests might be

14   applicable or appropriate, et cetera.          So I think -- go

15   ahead.

16           Q.    Did it interfere with your independence as an
17   evaluator?

18           A.    I'm sorry.     Say that again?

19           Q.    Does it interfere with your independence?

20           A.    Well, independence, I don't think that it

21   would -- I don't foresee it somehow interfering
22   necessarily in the ultimate conclusion as an evaluator.

23   But I see it as interfering in the process and, perhaps,

24   being needless.       And also some defendants, slash,
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 160 of 353


     160                         BARRY WINKLER, M.D.


 1   patients can only tolerate a certain amount of time with

 2   an interviewer or test, and it might not be warranted or

 3   fair to put them through a specific test.            Or it may not

 4   be fair to put them through a specific test that's not

 5   warranted.

 6            Q.    Does it interfere with your clinical

 7   judgment?

 8                  MS. CANFIELD:     Objection to form.      You can

 9            answer.

10            A.    I think it interferes with your clinical
11   judgment in terms of how you would approach a particular

12   evaluation.        I don't know that it would necessarily
13   interfere with your ultimate clinical judgment or

14   conceptualist of the defendant after the interview or

15   the evaluation.

16            Q.    Now, you then commented, “I think El should
17   be reworded to better conform to the ethical guidelines

18   regarding third-party observers.

19                  MS. CANFIELD:     I'm going to object.      Dr.

20            Winkler's comment occurred prior to Dr. Mundy.

21            This is in reverse order.
22                  MS. HAGAN:    Oh.   Dr. Winkler --

23                  MS. CANFIELD:     Look at the time stamp,

24            Winkler (indiscernible) 2:18, and Mundy is at
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                               BARRY WINKLER, M.D.                         161


 1           4:04.    Same day.   Dr. Mundy's comment is after Dr.

 2           Winkler's.     Just to make it clear for the record.

 3           Q.      Dr. Winkler, did you make the following

 4   statement?      I'm going to read it for you.

 5                “I think El should be reworded to better

 6   conform to the ethical guidelines regarding third-party

 7   observers.      Observers during testing, especially those

 8   with a relationship with the person being tested, such

 9   as attorneys, potentially violate the standardized

10   administration, validity, and reliability of the tests.
11   The only observers who should be allowed in the room are

12   other trained psychologists or students who have
13   received instruction and supervision in testing, and who

14   are observing as part of their training.         I'm concerned

15   that the current, quote, no reasonable alternative, end

16   quote, wording will open the door for others to argue
17   they should be allowed in.       Barry.”   Do you remember

18   that?

19           A.      I don't specifically remember it, but I

20   clearly wrote it.

21           Q.   Right.    Let's go to Section E1 that you were
22   referencing so that we have some context.          And I think

23   that would be back in Exhibit 4.        So let's go back.

24                MS. CANFIELD:    Uh --
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 162 of 353


     162                           BARRY WINKLER, M.D.


 1                  MS. HAGAN:      I'm going to go back, Ms.

 2            Canfield.    Please allow me to go forward with my

 3            deposition without interference.         You have the

 4            exhibits today.       So --

 5                    MS. CANFIELD:    I'm going to object, because

 6            this email correspondence was from November, and

 7            Exhibit 4, assuming it went out, is dated in

 8            August.

 9                  MS. HAGAN:      This is completely inappropriate.

10            That is not a proper objection.
11                  MS. CANFIELD:      It is.   You're misleading the

12            witness.
13                    MS. HAGAN:    It's not a proper objection.

14                  MS. CANFIELD:      It might have been --

15                  MS. HAGAN:      (Indiscernible ) objection to

16            form.
17                    MS. CANFIELD:    Well, objection to form,

18            because it might have been other --

19                    MS. HAGAN:    It's not an objection.     It's not.

20                  MS. CANFIELD:      It is.   There might have been

21            several different versions of the drat, and you
22            can't conclude that --

23                    MS. HAGAN:    You're coaching the witness, and

24            I'm going to note that yet again for the record,
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 163 of 353


                               BARRY WINKLER, M.D.                         163


 1         that --

 2               MS. CANFIELD:     That's fine.     But you're

 3         misleading the witness.       I just wanted to be clear

 4         on the record.

 5               MS. HAGAN:     3 -- 3B.    3 was the -- I think it

 6         was E.    You said E -- here you have --

 7               MS. CANFIELD:     You don't even have the survey

 8         up.   You just have the survey.        You don't have the

 9         policy.

10               MS. HAGAN:     So this is --
11               MS. CANFIELD:     Actually, the policy is even

12         older.    It's from June, not even August.
13               MS. HAGAN:     You are telling the witness by

14         coaching the witness.

15               MS. CANFIELD:     I'm just saying, you are

16         misleading.
17               MS. HAGAN:     You're coaching the witness

18         again.    Again.    So --

19               MS. CANFIELD:     Just saying, you're misleading

20         the witness.       So go ahead with your question.

21               MS. HAGAN:     I'm not leading the witness.        I
22         think that you need to stop.        That's what you need

23         to do.

24               MS. CANFIELD:     There's nothing that suggests
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 164 of 353


     164                         BARRY WINKLER, M.D.


 1            -- there's nothing --

 2                  MS. HAGAN:    You need to stop.

 3                  MS. CANFIELD: -- attached to this email that

 4            says that that is the policy.

 5                  MS. HAGAN:    I think that E1 should be

 6            reworded.    So let's go --

 7                  MS. CANFIELD:     I think that's a fair -- I

 8            think that's a comment to make, but you're

 9            misleading the witness.        Actually, it's not even

10            the policy, again.
11                  MS. HAGAN:    Are you finished?

12                  MS. CANFIELD:     Yes.   You don't have the
13            policy.    You don't have the policy --

14                  MS. HAGAN:    Are you finished?

15                  MS. CANFIELD:     Yes, I am.

16                  MS. HAGAN:    Thank you.     Okay.   Let's look at
17            the policy and make sure that we have the right

18            thing in front of us.

19                  MS. CANFIELD:     Perfect.

20

21                  (Plaintiff's Exhibit 6, DOCUMENT BATES
22                  STAMPED NYC_840 THROUGH NYC_842, was marked

23                  for identification.)

24
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 165 of 353


                               BARRY WINKLER, M.D.                         165


 1                MS. HAGAN:    For purposes of this deposition,

 2         what will be -- Exhibit 6 bears the Bates stamp

 3         series 840, 841, and 842.

 4         Q.     And I'm going to allow you to look at the

 5   policy, Dr. Winkler, and then let me know when I need me

 6   to scroll.   Okay?

 7         A.     Okay.

 8                MS. CANFIELD:    Did you email it to me?

 9                MS. HAGAN:    You have it.

10                MS. CANFIELD:    I do not have it.      I would
11         have to search a different database.          It was not

12         provided to me in accordance with Magistrate
13         Cott's directive.

14                MS. HAGAN:    (Indiscernible).     Go ahead.

15                MS. CANFIELD:    That's a separate database.

16                MS. HAGAN:    You don't have the documents that
17         you produced to me.      Tell me --

18                MS. CANFIELD:    I don't have it handy to me.

19         As well as Judge Cott said, “Do unto others as you

20         would like them to do with you.”

21                MS. HAGAN:    Yes.   Yes.
22                MS. CANFIELD:    I do not have it handy.       If

23         you want to, let's just stay on the record while I

24         find it then.
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     166                         BARRY WINKLER, M.D.


 1                  MS. HAGAN:    Yes.

 2                  MS. CANFIELD:     Because I have to search a

 3            completely different database for it.

 4                  MS. HAGAN:    Go ahead.

 5                  MS. CANFIELD:     So stay on the record while I

 6            do that.

 7                  MS. HAGAN:    He's reading.     Let's keep

 8            reading.

 9                  THE WITNESS:     I'm going to take a quick

10            bathroom break if that is okay, while --
11                  MS. CANFIELD:     Perfect.    Perfect.

12                  THE WITNESS:     I will be right back.
13
14                  (Recess taken from 3:12 p.m. until 3:17

15                  p.m.)

16
17   BY MS. HAGAN:

18            Q.    Did you have an opportunity to read through

19   Exhibit 6?

20            A.    Hold on one second.      I kind of lost -- only

21   have a small icon on the screen now.
22            Q.    Okay.

23            A.    You have to make that larger.        Now, I think

24   I'm back, but I'm only seeing -- there we go.             Okay.
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                              BARRY WINKLER, M.D.                          167


 1           Q.   Is there a part of the document you need me

 2   to go to, Dr. Winkler?

 3           A.   Well, no.    I honestly didn't read every word

 4   of it, but if you have a question about a specific

 5   part --

 6           Q.   Yes.    I do have a question about a specific

 7   part.    In your email -- in the previous email, you

 8   mention that you believe that the wording in section --

 9   let's go up to it, E1, right, should be reworded to

10   better conform to the ethical guidelines regarding
11   third-party observers; right?       And you talk about

12   observers during the testing; right?         And I want to go
13   back to E1 in this document.       Okay.

14                Right now, E1 says -- at that time, E1 said,

15   “Administration and Documentation:         Unless no reasonable

16   alternative is available, psychological testing shall
17   not be performed with a non-examiner, e.g., attorney

18   present.”    Now, was that what you were talking about

19   needing to be rewritten?

20           A.   Yes.

21           Q.   Okay.    And what exactly did you believe would
22   be more consistent with the actual guidelines?

23           A.   That should say psychological testing shall

24   not be performed with a non-examiner present.          That in
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 168 of 353


     168                         BARRY WINKLER, M.D.


 1   my opinion, there are -- I think I said in that email,

 2   the -- unless no reasonable alternative is available,

 3   leaves the door open to certain individuals making an

 4   argument for being allowed to be present.

 5            Q.    All right.    So now, I'm going to show you

 6   what we've marked as -- did Dr. Kaye comply with your --

 7   you know, your suggestion?

 8                  MS. CANFIELD:     Objection to form.

 9            A.    I don't recall.     That was a draft.      I don't

10   recall what the final version was, whether that was
11   taken out or not.

12            Q.    Did it ever come to your attention that the
13   policy may have been circulated externally prior to

14   being finalized?

15            A.    Circulated to whom?

16            Q.    External stakeholders outside of the CHS
17   system.

18            A.    I wasn't aware of that, if it happened.

19            Q.    Had there ever been any discussions about CHS

20   policy being circulated externally outside -- outside of

21   CHS?
22            A.    When you say “external,” do you mean -- when

23   you say “outside CHS,” do you mean within H&H or --

24            Q.    Well, the defense community, the courthouses,
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 169 of 353


                              BARRY WINKLER, M.D.                          169


 1   had the policy been circulated prior to their

 2   finalization, or I guess, you know -- yeah, finalization

 3   (indiscernible)?

 4         A.    Not as far as I know.

 5         Q.    So did you -- specifically, let me narrow it.

 6   Did you know Dr. Kaye to circulate any policies outside

 7   of CHS?

 8         A.    Not that I'm aware of.       I don't know whether

 9   she did it.

10         Q.    Do you know of any of the other directors who
11   circulated policy outside of CHS?

12         A.    Not that I'm aware of.       Not that I recall.
13         Q.      Did Mr. Peck or -- did Mr. Peck or anyone

14   else get any policies from Dr. Owen?

15         A.    I don't know if he did.

16         Q.    Now, I did ask you about the managing dual
17   role policy at one point.      I want to go over that with

18   you some.

19         A.    Okay.

20               MS. HAGAN:     So that particular -- this

21         particular exhibit will be marked as Plaintiff's
22         Exhibit 7.     And it bears the Bates Stamp Series

23         NYC_1188 to NYC_1190.       And I'm going to give you

24         an opportunity to scroll through the document.            I
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 170 of 353


     170                         BARRY WINKLER, M.D.


 1            just want to make sure that the Bates stamp series

 2            are accurate, that's why I'm scrolling so quickly.

 3            So it's right.

 4

 5                  (Plaintiff's Exhibit 7, DOCUMENT BATES

 6                  STAMPED NYC_1188 to NYC_1190, was marked for

 7                  identification.)

 8

 9            Q.    I'm going to start -- and for purposes of the

10   record, the email is from Dr. Jain to the center
11   directors.      The subject is the FPECC Policy, managing

12   dual roles.
13                  And I guess he -- he's telling you at this

14   point that (indiscernible) respective court clinic.              Do

15   you recall this document?

16                  MS. CANFIELD:     Hold on.    I do not have this
17            document either.

18                  MS. HAGAN:    You should have it.

19                  MS. CANFIELD:     All right.    I think

20            (indiscernible).     Thank you.

21                  MS. HAGAN:    Okay.    So do you recall receiving
22            this email, and then I guess the doc -- this

23            actual policy, Dr. Winkler?

24                  THE WITNESS:     I don't see it.
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                               BARRY WINKLER, M.D.                         171


 1               MS. HAGAN:     Oh, let me share.     I'm sorry.

 2         Sorry about that.      Now, you should see it.       Do you

 3         have it?

 4               THE WITNESS:     Yes.

 5               Q.    Okay.    So here's the policy.      Do you

 6         recall -- do you remember this document?

 7         A.    I will look at it.

 8               MS. CANFIELD:     You also knew the

 9         (indiscernible) myself, please.

10               MS. HAGAN:     Oh, okay.    I'm sorry.
11         A.    Could you scroll just a little, please.

12         Q.    Okay.
13         A.    Just to catch.     Sorry.

14               MS. HAGAN:     Yeah, just give me a minute.        I'm

15         having technical difficulty again.

16
17                (Off the record for technical difficulties.)

18

19         Q.    So now, do you -- I'm going to go back to the

20   exhibit.   I'm going to share.      Now, to go back to the

21   exhibit, it's dated January 22nd, 2019.         You see that;
22   right?

23         A.    Yes, I see that email.

24         Q.    Right.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 172 of 353


     172                        BARRY WINKLER, M.D.


 1                  And at the bottom of the exhibit, for some

 2   reason, the policy is dated December 21st, 2018.              You

 3   see that; right?

 4            A.    I see that.

 5            Q.    Okay.    Now, prior to receiving the finalized

 6   version of this exhibit -- of this policy, did you all

 7   -- did you or anyone else have an opportunity to comment

 8   on -- on the actual policy before it was finalized?

 9            A.    I don't recall whether I did or not.

10            Q.    Okay.    Do you recall an incident that may
11   have contributed to this -- this policy being drafted to

12   begin with?
13                  MS. CANFIELD:     Objection.    Asked and

14            answered.     You can answer again.

15            A.    I don't recall.

16            Q.    But any chance, was there an instance where
17   Dr. Alex Garcia-Mansilla may have tried to sit in on an

18   examination?

19                  MS. CANFIELD:     Objection.    Asked and

20            answered.     You can answer it again.

21            A.    I think you're referring to what we discussed
22   earlier about her, at some point, trying to sit in on an

23   evaluation at the -- in the Bronx, but I don't recall --

24   I don't recall if that was the impetus to this policy.
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                              BARRY WINKLER, M.D.                          173


 1         Q.    Has there been any other instance prior --

 2   outside of that that may have led to this policy being

 3   drafted?

 4               MS. CANFIELD:     Objection to form.      You can

 5         answer.

 6         A.    Not that I recall.

 7         Q.    So you don't recall any other third-party

 8   treating clinicians seeking to sit in on a forensic

 9   psychiatric exam; right?

10               MS. CANFIELD:     Objection to form.      You can
11         answer.    No foundation.

12         A.    I don't recall any, no.
13         Q.    And do you recall any -- Dr. Alex

14   Garcia-Mansilla tried to sit in on this exam?

15               MS. CANFIELD:     Objection to form.      You can

16         answer.
17         A.    No, I don't.

18         Q.    And just for purposes of clarify, AAPL, as

19   well as just forensic psychiatry, in general, really --

20   really reiterate -- I guess, emphasizes the separation

21   between treating and evaluation; am I right?
22               MS. CANFIELD:     Objection.     You can answer.

23         A.    Yes.   It makes it clear there's a separation

24   between treatment and evaluation.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 174 of 353


     174                         BARRY WINKLER, M.D.


 1            Q.    And do you believe that this policy

 2   reiterates that position?

 3            A.    You know, I didn't read it word for word.

 4   I'd have to absorb it.         I don't know whether it does or

 5   not.     I think it --

 6            Q.    Can you take -- I'm sorry.

 7            A.    I think it's an attempt to do that, but I

 8   don't know if it does or not.

 9            Q.    Would you say it's consistent with that

10   premise?
11            A.    Yes.   I'd say it's consistent with that

12   premise.
13            Q.    Do you recall Mr. Wangel or MOCJ getting

14   involved in the dual agency violations at the court

15   clinic?

16                  MS. CANFIELD:     Objection to form.
17            A.    I don't recall knowing anything about that.

18                  MS. HAGAN:    Okay.    So I'm going to go to

19            Plaintiff's Exhibit 8.

20

21                  (Plaintiff's Exhibit 8, DOCUMENT BATES
22                  STAMPED NYC_1268 to NYC_1269, was marked for

23                  identification.)

24
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                               BARRY WINKLER, M.D.                         175


 1                MS. HAGAN:    Plaintiff's Exhibit 8 bears the

 2         Bates Stamp Series NYC_1268 to NYC_1269.

 3         Q.     Let me share the screen again.        And for

 4   purposes of the record, the email is from you, Dr.

 5   Winkler, to Dr. Jain -- Dr. Jain.        And it's dated

 6   February 14th, 2019.      And I guess I want to go to the

 7   beginning, so you'll have an opportunity to, you know,

 8   get the full context.

 9                The thread starts with Dr. Jain to the center

10   directors.   And it's the FPECC mission draft.         This is a
11   draft of the mission and the vision for FPECC that we

12   started discussing at our last directors' meeting.           I
13   think this is a good time to revisit it and discuss any

14   feedback or suggestions you have.

15                Do you recall a discussion about the mission

16   of the unit?
17         A.     I recall at some point having some discussion

18   about it.    I don't recall specifically when it was or

19   when it was discussed, but I do recall it being

20   discussed at some point.

21         Q.     You know, Dr. Owen says -- she says -- she
22   interjected -- she says, the idea of retaining highly

23   competent clinical staff.      Did you agree with her, you

24   know, I guess, input regarding that?
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 176 of 353


     176                        BARRY WINKLER, M.D.


 1            A.    Yes, I guess so.     I would think any staff --

 2   I would hope any staff you would hire would be highly

 3   competent.      So -- but I would agree, I guess, with that.

 4            Q.    Now, ultimately, you -- you agree.         You say

 5   it looks good, right, the mission statement; right?

 6            A.    Yes.

 7
 8                  (Plaintiff's Exhibit 9, DOCUMENTS BATES

 9                  STAMPED NYC_3996 THROUGH NYC_3998, NYC_3044

10                  THROUGH NYC_3045, were marked for
11                  identification.)

12
13            Q.    So then I'm going to show you what's marked

14   as Plaintiff's Exhibit 9.         And it pertains to

15   unauthorized recording.         And that's dated May 31st,

16   2019.     Now, prior to May 31st, 2019, were you aware of
17   any unauthorized recording policy in place at CHS?

18                  MS. CANFIELD:     Objection.    Asked and

19            answered.     You can answer again.

20            A.    Not that I'm aware of.

21            Q.    Okay.    And did you have any input on this
22   policy that I'm going to show you regarding unauthorized

23   use -- unauthorized recordings?

24                  MS. CANFIELD:     What are the Bates stamp
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 177 of 353


                              BARRY WINKLER, M.D.                          177


 1         numbers?

 2               MS. HAGAN:     Bates stamp numbers are NYC_3996

 3         to 3998, and then NYC_4044 to 4045.

 4         Q.    Now, I'm going to scroll to the actual policy

 5   itself, if you don't mind, Dr. Winkler, do you?

 6         A.    I don't mind.

 7         Q.    Thank you.     So here it is.     Do you recall

 8   seeing this document at any point?

 9         A.    Yes.   I do recall seeing this, I believe.

10         Q.    And did you talk to Dr. Kaye about the actual
11   policy at any point?

12         A.    I don't recall if I did or not.
13         Q.    Did you sign a confidentiality agreement in

14   conjunction with this particular policy, by any chance?

15               MS. CANFIELD:     Objection to form.      You can

16         answer.
17         A.    A confidentiality agreement?

18         Q.    Yes.

19         A.    With regard to this policy?

20         Q.    Just in general, as far as your job at CHS.

21               MS. CANFIELD:     Objection to form.      You can
22         answer.

23         A.    I don't recall signing a specific

24   confidentiality agreement.       I don't know.     I can't
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 178 of 353


     178                        BARRY WINKLER, M.D.


 1   answer that.      I don't recall signing it.        Maybe it was

 2   called something else.        I don't know.

 3            Q.    Okay.    In 2019 -- in the summer of 2019, were

 4   there any agreements circulated to you or any of the

 5   other center directors regarding how you administered

 6   exams?

 7            A.    Agreements?

 8            Q.    Yes.    For you to sign.

 9            A.    I don't recall.     Possibly.    I don't recall.

10            Q.    Were you -- were any agreements circulated to
11   you as far as what information you would be able to

12   disclose or basically email to yourself?
13                  MS. CANFIELD:     Objection to the form.       You

14            can answer.

15            A.    I honestly don't recall.       Poss --

16            Q.    Were you made -- I'm sorry.
17            A.    Possibly, but I don't recall.

18            Q.    Was it ever brought to your attention about

19   CHS's proper email procedure?

20            A.    Proper email for what?

21            Q.    As far as --
22                  MS. CANFIELD:     Objection.    You can answer.

23            Q.    As far as sharing -- as far as emailing

24   documents outside of CHS.
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                              BARRY WINKLER, M.D.                          179


 1               MS. CANFIELD:     Objection.     You can answer.

 2         A.    I don't recall if there was a specific

 3   policy.    I know we are not allowed to email outside of

 4   the system that has any confidential information.

 5         Q.    When did you learn that?

 6         A.    That's, I think, always been the rule.

 7         Q.    Where was that rule written or stated?

 8               MS. CANFIELD:     Objection to form.      You can

 9         answer.

10         A.    I think it's a basic -- I think it relates to
11   basic HIPAA requirements that you cannot transmit

12   outside of a secure system any kind of confidential
13   information such as that.

14         Q.    But the court clinics are HIPAA-exempt, so

15   would that necessarily fall under HIPAA, Dr. Winkler?

16               MS. CANFIELD:     Objection to form.      You can
17         answer.

18         A.    I don't know.     I'm not really following what

19   you're asking me.

20         Q.    I'm asking whether or not you received any

21   documents from CHS pertaining to unauthorized recordings
22   outside of this policy at the beginning?

23         A.    I don't -- I don't recall.

24         Q.    Did you receive any documents pertaining to
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 180 of 353


     180                        BARRY WINKLER, M.D.


 1   email usage from CHS?

 2                  MS. CANFIELD:     Objection.    Asked and

 3            answered.    You can answer again.

 4            A.    I don't recall.

 5            Q.    Do you recall signing anything about email

 6   usage from CHS?

 7                  MS. CANFIELD:     Objection.    Asked and

 8            answered.    You can answer it again.

 9            A.    Again, I don't recall.

10            Q.    And do you recall any documents that required
11   you to sign regarding your knowledge of CHS's

12   unauthorized reporting policy?
13                  MS. CANFIELD:     Objection.    Asked and

14            answered.    You can answer it again.

15            A.    I don't recall whether I signed anything.

16            Q.    And do you recall if you signed anything that
17   pertains to CHS's alleged confidentiality policy?

18                  MS. CANFIELD:     Objection.    Asked and

19            answered.    He can answer again.

20            A.    Yeah, I don't recall.

21
22                  (Plaintiff's Exhibit 10, DOCUMENT BATES

23                  STAMPED NYC-360 THROUGH NYC_363, was marked

24                  for identification.)
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                                BARRY WINKLER, M.D.                        181


 1         Q.    I'm going to show you what's marked as

 2   Plaintiff's Exhibit 10.       Plaintiff's Exhibit 10 bears

 3   the Bates Stamp Series NYC-1913.

 4               Now, Dr. Winkler, can you see the document?

 5         A.    Yes.

 6         Q.    Now, Dr. Winkler, do you recall writing an

 7   email to Dr. Jain, Bronx records request template

 8   affidavit and order.

 9         A.    I don't recall writing it, but I see it.           I'm

10   reading it.
11               MS. HAGAN:      There might be more than that.

12         It should be 1913 -- I'm sorry about that -- well,
13         actually --

14               MS. CANFIELD:      I only see 1913.

15                 MS. HAGAN:    It's not even 1913.     I apologize.

16         Actually, it's the Bronx template.
17               MS. CANFIELD:      Oh, 1913 that you sent me is

18         1913.

19                 MS. HAGAN:    Yeah.   I -- actually, I'm sorry.

20         I actually would like to mark Exhibit 10 to be

21         NYC_360 to NYC_363.       I apologize for that.
22                 MS. CANFIELD:    Okay.

23               MS. HAGAN:      And that will be Exhibit 10

24         instead.
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     182                        BARRY WINKLER, M.D.


 1            Q.    And it's an email from Dr. Winkler to Dr.

 2   Jain dated July 11th, 2018.         Do you see that?      Do you

 3   remember this email, Dr. Winkler?

 4            A.    No, I don't remember it, but there it is.

 5            Q.    For the purposes of the deposition, Dr.

 6   Winkler sent Dr. Jain an email with the subject, “Bronx

 7   Records Request Template Affidavit and Order” dated July

 8   11th, 2018.        And you say, “Hi, Beesh, here are the forms

 9   we use in the Bronx.        I think that specifically asking

10   for redacted records is a better approach.”             You saw
11   that; right?

12            A.    Yes.
13            Q.    Now, did Dr. Jain have any reaction that you

14   suggested that you didn't ask for redacted records?

15                  MS. CANFIELD:     Objection to form.      You can

16            answer.
17            A.    Can you say that again -- ask that again,

18   please.

19            Q.    Did Dr. Jain have a reaction when you said --

20   when you suggested that you did not specifically ask for

21   redacted records?
22            A.    I don't recall if he had any reaction to it.

23            Q.    Okay.    Now you used this document in the

24   Bronx.     How long would you say you used this document?
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                              BARRY WINKLER, M.D.                          183


 1           A.   Can you scroll down a little bit more,

 2   please.

 3           Q.   Sure.

 4           A.   I believe this looks like the form that I put

 5   together.    I think I referenced earlier in my testimony

 6   about putting together a form order for records that

 7   complied with certain requirements for us to get

 8   un-redacted records.     This looks like that form.        I

 9   can't be 100 percent positive, but it looks like.           And

10   it is that form, I would say, we used it only for a
11   couple of years, two or three years, perhaps.

12           Q.   Now, this -- this form is something that you
13   and Dr. Kaye worked together on; is that right?

14                MS. CANFIELD:    Objection to form.      You can

15           answer.

16           A.   Yes.
17           Q.   And did you use this form in Brooklyn when

18   you went to Brooklyn?

19           A.   I don't remember if I used this form or not.

20   They might have had their own form already that they

21   used.     It's possible I used it, but I don't recall.
22           Q.   Now, did Dr. Jain have any issues with the

23   form as it is in its current state?

24                MS. CANFIELD:    Objection to form.      You can
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 184 of 353


     184                         BARRY WINKLER, M.D.


 1            answer.

 2            A.    I don't recall if he had any issues with it.

 3            Q.    Did you work with any CHS attorneys in

 4   drafting this form?

 5            A.    If this is the form I drafted, I -- I was

 6   given this information by legal -- what was called

 7   Rikers Island legal.        Some legal counsel at Rikers

 8   Island who, I guess, was connected to their records

 9   department who gave me the necessary information,

10   sections of the law, wording, et cetera.            I don't think
11   I worked with any CHS legal on this.

12            Q.    The Rikers --
13            A.    Excuse me.    Maybe Rikers Island legal was CHS

14   legal, and it wasn't termed that way.

15            Q.    Was it a Ms. Caltagirone?

16            A.    I don't recall.
17            Q.    Let me show you a document that deals with

18   this topic.      Maybe that will help.       So Plaintiff's

19   Exhibit 11 deals with --

20                  MS. HAGAN:    I'm going mark this as

21            Plaintiff's Exhibit 11.
22

23                  (Plaintiff's Exhibit 11, DOCUMENT BATES

24                  STAMPED NYC_1913, was marked for
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 185 of 353


                              BARRY WINKLER, M.D.                          185


 1                identification.)

 2

 3         Q.     And I'm going to ask you this, actually.          And

 4   this is from you, Dr. Winkler.       And Plaintiff's Exhibit

 5   11 bears Bates Stamp Series NYC_1913.         And Dr. Winkler,

 6   this is from you to Ms. Persaud and Dr. Kaye.          And it's

 7   dated August 21st, 2107.      And the subject is Rikers

 8   Island record; right?      And -- and it basically -- just

 9   for the record, it's a conversation.         I spoke with Judge

10   Moore today about the -- whatever case.         He was aware of
11   the fact that we received redacted records and was

12   wondering if any progress had been made in resolving the
13   situation.   I told him about Judge Torres' involvement

14   and the fact that we still have not heard anything about

15   a resolution.    Judge Moore took Wanda Roberts' name and

16   telephone number and said he would be contacting her to
17   find out why his order has not been satisfied.           He said

18   it is unheard of for someone to supply redacted records

19   in response to a judicial subpoena.        Now, I'm going to

20   ask you about that last sentence.        Was it unheard of for

21   someone to supply redacted records in response to a
22   judicial subpoena?

23                MS. CANFIELD:    Objection to form.      You can

24         answer.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 186 of 353


     186                        BARRY WINKLER, M.D.


 1            A.    That was the judge's words, that's why I put

 2   it in quotes.       It -- up until the time that we started

 3   to receive the redacted records, we had not received

 4   redacted records in response to a judicial subpoena.

 5            Q.    And who produced the redacted records in

 6   response to a judicial body?

 7            A.    It would have been the Rikers Island Records

 8   Bureau.       That's Wanda Roberts is the woman -- I don't

 9   know her exact title, but she's basically the director

10   of that Rikers Island Records Bureau, whatever it's
11   called.

12            Q.    Who would have given Ms. Roberts the
13   directive to redact the documents?

14                  MS. CANFIELD:     Objection to form.      You can

15            answer.

16            A.    I honestly don't know who would have told her
17   to do that.

18            Q.    Was it before or after CHS took over

19   management of the clinics?

20            A.    This was before CHS took over.

21            Q.    Was it before or after Corizon was no longer
22   the vendor managing --

23            A.    I --

24                  MS. CANFIELD:     Objection to form.      No
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 1           foundation.   He can answer.

 2           A.   Not sure when -- because CHS took over from

 3   Corizon before they took over the clinics.          I'm not

 4   exactly sure when that transition occurred.          I believe

 5   CHS was in control of the records or in control of the

 6   services at Rikers at this time, but I'm not completely

 7   sure.

 8           Q.   So CHS may have been in control of the

 9   records and services at Rikers at this time, August

10   21st, 2017; is that right?
11                MS. CANFIELD:    Objection as to form.       You can

12           answer.
13           A.   Yes, they may have been.

14           Q.   And had it been your experience up to that

15   point, that redacted records would be provided in

16   response to a -- a judicial subpoena?
17           A.   No.

18           Q.   So you had never experienced that before;

19   right?

20           A.   Not that I recall.     If it had ever happened,

21   it was an isolated incident and a mistake that was
22   corrected.   But it hadn't occurred as a regular

23   procedure.

24                MS. HAGAN:    Okay.   So I'm going to draw your
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     188                         BARRY WINKLER, M.D.


 1            attention to what's going to be marked as

 2            Plaintiff's Exhibit 12.       Plaintiff's Exhibit 12

 3            bears the Bates Series Kaye5thProduction012.

 4

 5                  (Plaintiff's Exhibit 12, DOCUMENT BATES

 6                  STAMPED KAYE5THPROD012, was marked for

 7                  identification.)

 8

 9            Q.    Now, the top portion of the email is redacted

10   because that's what's stated between myself and Dr.
11   Kaye.     And then Dr. Winkler, this is an exchange between

12   you and Dr. Kaye from your personal email account.              Do
13   you see that, right, Dr. Winkler?

14            A.    I don't see it.

15                  MS. CANFIELD:     It says 5th Production,

16            October 6th, 2021?
17                  MS. HAGAN:    Yes.

18                  MS. CANFIELD:     Underscore October 6th, 2021.

19            Is that the name of the document.

20                  MS. HAGAN:    I don't have all that on here.          I

21            have Kaye5thProduction012, that's what I have.
22            That's what it says.

23            Q.    Now --

24                  MS. CANFIELD:     Hold on.    I don't think I have
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                              BARRY WINKLER, M.D.                          189


 1         this document.

 2               MS. HAGAN:     You do have the document.

 3               MS. CANFIELD:     I can't find it from when you

 4         sent it over.

 5               MS. HAGAN:     It's amongst the exhibits that

 6         you have this morning.       You have them.

 7               MS. CANFIELD:     I don't have it.

 8               MS. HAGAN:     It's there, Ms. Canfield.       All of

 9         the --

10               MS. CANFIELD:     It's -- it's not in what you
11         sent over.     So let me find it.      I know you sent me

12         other documents today.       You just produced them.
13         Let me find it, please.       Okay.    And it's the same

14         one, October 6th, 2021.       It starts at Bates

15         Kaye5thProduction001 at the bottom.

16               MS. HAGAN:     This is not that exhibit.
17         Exhibit 12 is Kaye5thProduction012.          That's what

18         it says.

19               MS. CANFIELD:     You don't provide it, but I

20         will --

21               MS. HAGAN:     You have it.
22               MS. CANFIELD:     Yeah.    I found it in the

23         production, but --

24               MS. HAGAN:     You have it --
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     190                          BARRY WINKLER, M.D.


 1                   MS. CANFIELD:    -- I think this is a specific

 2            exhibit.

 3                   MS. HAGAN:    You do have it.     You have them

 4            all.

 5            Q.     Dr. --

 6                   MS. CANFIELD:    I'm not going to quibble with

 7            you.   I do not have it.

 8                   MS. HAGAN:    I will forward the emails with

 9            all the exhibits again.       They were there.

10                   MS. CANFIELD:    Thank you.
11                   MS. HAGAN:    They're all there.

12            Q.     Now, Dr. Winkler, have you had an opportunity
13   to read the exhibit that's marked?

14            A.     I just read it now, yes.

15            Q.     Okay.    So for purposes of the record, the

16   email is from you to Dr. Kaye in your suspected personal
17   account -- Gmail account.         Right.    And you and say sent;

18   right?     And to begin the thread, it's an email from Dr.

19   Kaye and it says, “And get his approval to respond

20   before we do”; right?         And then you respond:      “I was

21   thinking about it, and I don't think this should wait
22   until you get back from vacation.           We don't need the

23   judges pissed at us, and with the city looking at

24   everything.      I don't think it's a good idea to drag our
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                               BARRY WINKLER, M.D.                         191


 1   feet.    This needs to get resolved.       I'll send her an

 2   email, and just tell her we only got medical records,

 3   and we need everything”; right?          That's what you say

 4   back.    Then Dr. Kaye sends back:       “Okay.   I think we

 5   should clearly state that redacted records of any sort

 6   are completely unacceptable and that HIV and substance

 7   abuse is central to a psychiatric exam; right?”           And

 8   then you say “sent.”      Do you recall this exchange with

 9   Dr. Kaye?

10                MS. CANFIELD:    Can I ask, is there an email
11           before?

12                MS. HAGAN:    No.    No.
13                MS. CANFIELD:       There's not an email before

14           October 24th, 2017, that was --

15                MS. HAGAN:    I said no.

16           Q.   Dr. -- Dr. Winkler, do you recall --
17                MS. CANFIELD:       Okay.   Then I'll ask Dr. Kaye

18           during the deposition, because it looks like

19           there's another email correspondence before this,

20           and we'll ask for its production.

21                MS. HAGAN:    You should.
22           Q.   Now, Dr. Winkler, do you recall this email

23   exchange?

24           A.   I don't recall this specific exchange.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 192 of 353


     192                        BARRY WINKLER, M.D.


 1            Q.    Okay.   Now, who's JHC?

 2            A.    I believe that's Jeremy H. Colley, Dr.

 3   Colley, who would have been, at that time, the director

 4   of the forensic psychiatry division at Bellevue.

 5            Q.    Now, clearly, you and Dr. Kaye had, you know,

 6   as you said earlier a fair amount of discussion about

 7   redacted medical records; right?

 8            A.    That's correct.

 9            Q.    And enough so that you discussed it outside

10   of work; am I right?
11                  MS. CANFIELD:     Objection to form.      You can

12            answer.
13            A.    Well, we discussed it, yeah, outside of work,

14   yes.

15            Q.    And did Dr. Colley also have a position

16   against redacted medical records?
17            A.    I don't recall what Dr. Colley's position on

18   it was.       I believe that he agreed with us on it, but I

19   don't know for certain.

20            Q.    Did Dr. Colley confer with you and/or Dr.

21   Kaye about this topic and how to address it?
22            A.    I don't recall if he did.       I think we had

23   some discussion with it, but I'm not sure exactly when

24   or what or what he said, but I would imagine we had some
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                                BARRY WINKLER, M.D.                        193


 1   discussion with him about it.

 2                 MS. HAGAN:    Well, then, I would like to show

 3           you another exhibit, and it's Plaintiff's Exhibit

 4           13.

 5

 6                 (Plaintiff's Exhibit 13, DOCUMENTS BATES

 7                 STAMPED KAYE5THPROD010 TO KAYE5THPROD011,

 8                 was marked for identification.)

 9
10           Q.    Plaintiff's Exhibit 13 bears the Bates Stamp
11   Series Kaye5thProduction010 through 11.          You see the

12   email; right?    The first part is redacted because that's
13   between myself and Dr. Kaye, and I guess it's the last

14   part of the email.     I'm going to scroll down to the

15   beginning of the thread.

16                 Now, Dr. Winkler, the beginning of the thread
17   is from you to Dr. Kaye, and it's dated September 21st,

18   2017.    Well, first -- the first email again says okay.

19   And then you respond:       I'm not bringing attention to

20   anything.     I'm trying to gather ammunition for us to use

21   when HHC legal and/or some judge tells us we can't ask
22   for the info any longer without a hearing.          Do you

23   recall that?

24           A.    I don't recall writing that, but I believe I
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 194 of 353


     194                        BARRY WINKLER, M.D.


 1   recall what it's referencing.

 2            Q.    What is it referencing?

 3            A.    I believe this refers to, at one point, and I

 4   believe I mentioned this earlier, when we started to get

 5   the redacted records as to substance abuse, there had

 6   been a law passed, maybe 2016, a new law about substance

 7   abuse -- obtaining substance abuse treatment program

 8   records.      And the law, I reviewed it, it contained a

 9   very elaborate procedure including having to go before a

10   judge for a hearing to get permission, to get the
11   records.      My position at the time, still is, is that

12   that law only applied to records from substance abuse
13   treatment programs, and that we were not asking for

14   substance abuse treatment program records.            We were just

15   asking for the defendant's self-report of substance use

16   as part of their mental health records.
17            Q.    And what were you -- why would you anticipate

18   that HHC legal would tell you that you, guys, could not

19   ask for that information any longer without a hearing?

20                  MS. CANFIELD:     Objection to form.      You can

21            answer.
22            A.    I believe -- I forget who referenced that

23   law.     When we first started to look into why this

24   information was being redacted, I believe we were
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                              BARRY WINKLER, M.D.                          195


 1   directed to that law by somebody at HHC legal, or it was

 2   passed down to us from HHC legal.        I don't recall

 3   exactly, but I think that's what happened.

 4         Q.    Now -- then, Dr. Kaye responded to you,

 5   “Okay, LP.”    Who's LP?

 6         A.    That would be Lucrecia Persaud, the

 7   coordinating manager at the clinic.

 8         Q.    Okay.    “Should also call or email with the

 9   court clerk and possible law secretary in the parts

10   where there are outstanding records.         I think the law 42
11   is up to the judge's discretion, clearly not strong

12   enough for HHC to fight turning over un-redacted records
13   via email.”    And do you recall HHC fighting turning over

14   un-redacted records?

15         A.      What I recall is we -- we took steps to

16   advise Ms. Roberts that the records were not
17   appropriate, Wanda Roberts.       And I believe she told us

18   that it was a response to a new law.         And I think that

19   at that time, that was their position that they would

20   not turn over un-redacted records to us without going

21   through this burdensome procedure as per this law for a
22   hearing, et cetera, for the substance abuse records

23   anyway.

24         Q.    So then Dr. Kaye continues:        “I do not think
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 1   we should bring attention to the legal arguments against

 2   giving us what we need.         That's between HHC legal and

 3   the judges; right?        We need to step back and let the

 4   courts duke it out with HHC legal, LAS, etc., but not

 5   us.”     Do you recall that?

 6            A.    I don't necessarily recall it, but I see it

 7   there.

 8            Q.    Now, would you say Dr. Kaye or either -- Dr.

 9   Kaye reaching out to the court about the medical records

10   is part of her job, per se?
11                  MS. CANFIELD:     Objection as to form.      You can

12            answer.
13            A.    Yeah, I think that would be part of her job.

14            Q.    Would advocating on behalf of the defendant's

15   constitutional rights be part of Dr. Kaye's job?

16                  MS. CANFIELD:     Objection as to form.      I don't
17            think it's -- objection to form.

18            A.    Well, yeah.     I'm not getting where this is --

19   when you say advocating for their constitutional rights,

20   what are you specifically referring to?

21            Q.    For example, earlier you testified that you
22   didn't believe that a defendant who might have a

23   psychiatric condition would be able to knowingly waive

24   or knowingly sign over a HIPAA release; am I right?
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 1         A.    Yes.

 2         Q.    And wouldn't you believe -- wouldn't you

 3   think that that would invoke that inmates or that

 4   defendant's constitutional rights?

 5               MS. CANFIELD:     Objection to form.

 6         A.    I don't know whether it falls under a

 7   constitutional right, but I think it's definitely a

 8   questionable procedure.

 9         Q.    Okay.    What constitutional rights are invoked

10   or, perhaps, touched on by the 730 process?
11               MS. CANFIELD:     Objection to form.      Are you

12         asking that as a doctor or a lawyer?
13               MS. HAGAN:     He's a forensic psychiatrist.

14         This is his job, a psychologist, whose job has

15         both a medical and legal tenants of practice.            And

16         he's both a lawyer and a psychologist.          Please
17         answer.

18               MS. CANFIELD:     That's why I asked.      Go ahead.

19         You can answer.

20               MS. HAGAN:     He can answer.

21         A.    The constitution, or at least it's been
22   determined by the Supreme Court, that it is

23   unconstitutional to prosecute someone if they don't have

24   a basic understanding of how the system works and their
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 198 of 353


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 1   charges against them.

 2            Q.    Now, would it be part of Dr. Kaye's job or

 3   any of the other directors' job to fight to ensure that

 4   these protections are in place?

 5                  MS. CANFIELD:     Objection as to form.      You can

 6            answer.

 7            A.    When you say “protection,” what are you

 8   referring to?

 9            Q.    Well, there's a constitutional protection

10   that -- you know, against, you know the due process of
11   law, right, with these inmates; right?            Would you agree?

12                  MS. CANFIELD:     Objection to form.      You can
13            answer.

14            A.    There is due process rights.        Correct.

15            Q.    Now, would it be part and parcel of Dr.

16   Kaye's job to advocate for the protection of the
17   inmates' or the defendants' due process rights?

18                  MS. CANFIELD:     Objection.    You can answer.

19            A.    I don't think it's any of our jobs to

20   advocate whole heart (indiscernible) or their due

21   process rights, but I think that advocating for
22   competence, appropriate completion of the exams that we

23   are directed to complete, is within our jobs and within

24   Dr. Kay's job.
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                              BARRY WINKLER, M.D.                          199


 1          Q.    What about approaching the judges about

 2   redacted record?

 3                MS. CANFIELD:    Objection to form.

 4          A.    I absolutely believe that's within her job.

 5          Q.    So if Dr. Kaye did not approach the judge,

 6   you -- judges, you would believe she wasn't doing her

 7   job?

 8                MS. CANFIELD:    Objection to form.      You can

 9          answer.

10          A.    I wouldn't say that means she's not doing her
11   job.   But I think it is part of her job.        There's

12   nothing inappropriate by her getting the -- all of the
13   judges, contacting them.

14          Q.    Did you do that?

15          A.    I think I referred to one -- or there's one

16   email you showed where I think I had Lucrecia or
17   somebody call the judge to tell them that we were not

18   getting the records and got the judge involved.           So yes,

19   I would do it.

20          Q.    And did you know the other directors at the

21   other centers to do it?
22          A.    I don't know whether they do it or not or did

23   it or not.

24          Q.    Did CHS management ever tell you that it was
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 200 of 353


     200                        BARRY WINKLER, M.D.


 1   inappropriate to do that?

 2                  MS. CANFIELD:     Objection as to form.      You can

 3            answer.

 4            A.    I don't recall being told that.

 5            Q.    Now, if complaining about legal violations

 6   occurring as a result of violations in the

 7   administration of CPL 730 beyond the scope of Dr. Kay's

 8   job?

 9                  MS. CANFIELD:     Objection as to form.      You can

10            answer.
11            A.    You're going to have to break that down and

12   be more specific what you are referring to.
13            Q.    Specifically complaining about legal

14   violations; would that be part of Dr. Kaye's job?

15            A.    Well, what kind of legal violations?

16            Q.    Well, for example, let's say you have an
17   effort to conduct a 730 examination without two

18   evaluators.      Would that be Dr. Kaye's job to complain

19   about that?

20                  MS. CANFIELD:     Objection to form.      You can

21            answer.
22            A.    To do an evaluation with one evaluator at a

23   time, you mean in separate interviews; is that what

24   you're saying?
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 1         Q.     No.    Just one.

 2         A.     Well, that is not legal to do it that way.

 3   So if it happened that way, and she was aware of it, I

 4   would assume it would be part of her job to point that

 5   out to someone.

 6         Q.     It would?

 7         A.     I'm sorry?

 8         Q.     Why would it?      I mean, her job is to actually

 9   evaluate the defendant.      Why should she complain if she

10   has completed her evaluation, and there wasn't a second
11   evaluator?

12                MS. CANFIELD:      Objection to form.    You can
13         answer.      Argumentative.

14         A.     Yeah.    It's confusing.    Are you referring to

15   a case that Dr. Kaye would be responsible to complete,

16   and someone does it with one evaluator?         Or are you
17   referring to her learning of somebody doing an

18   evaluation with one case that's not part of her clinic?

19         Q.     Well, I'm saying in general, if Dr. Kaye made

20   policy oriented (indiscernible), she didn't specifically

21   complain about how she administered exams or how exams
22   were administered in the Bronx.        What she complained

23   about were various violations of the 730 law.

24                MS. CANFIELD:      Objection.   Are you testifying
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 1            -- are you testifying, Ms. Hagan?

 2                  MS. HAGAN:    I'm asking for examples, and

 3            that's what I'm giving him.

 4            Q.    Did you ask --

 5                  MS. CANFIELD:     Okay.   No, you're -- you're

 6            testifying.

 7            Q.    Dr. Winkler, you asked for examples.         Dr.

 8   Winkler, at any point, was there an effort made to do

 9   examinations without records all together?

10            A.    Yes.    Some examinations are done without
11   records.

12            Q.    Okay.    Would it have been Dr. Kaye's job to
13   complain that examinations done with -- just solely on

14   the records was a violation of the CPLR?

15                  MS. CANFIELD:     Objection as to form.      You can

16            answer if you're able.
17            A.    As far as I know, doing evaluations strictly

18   on the records does not violate the CPL 730 statute.

19            Q.    It doesn't.

20                  Does it make it proper?

21                  MS. CANFIELD:     Objection to form.      He can
22            answer.

23            A.    I don't -- it's not, in my opinion, a matter

24   of proper or improper.         I think doing -- writing
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                              BARRY WINKLER, M.D.                          203


 1   evaluations on -- just on records, is more difficult

 2   because you need, in my experience, quite a bit more

 3   information to come to a conclusion, come to an opinion,

 4   rather, than you do if you are able to meet with the

 5   defendant in person.

 6           Q.   Dr. Kaye is aware that there are violations

 7   in the administration of the CPL by CHS, and has legal

 8   ramification.    Is she, as a non-officer of the court,

 9   required to report this?

10                MS. CANFIELD:    Objection as to form.       I mean,
11           he's not a 30(b)(6) witness as to what his ethical

12           or legal obligations are, but you can answer, Dr.
13           Winkler, if you're able.

14           A.   I don't know if she has an obligation or not.

15           Q.   You don't know?

16           A.   I don't know what her obligation is in that
17   case.

18           Q.   Would you feel like you were obligated?

19           A.   Repeat the situation.

20           Q.   If you are aware of violations of the

21   administration of CPL 730 by CHS, and it has legal
22   ramifications, would you be required to report this?

23   Now, let's say you weren't a lawyer, would you be

24   required to report it?
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 1                  MS. CANFIELD:     Objection to form.      You can

 2            answer, if you're able.

 3            A.    I don't know if I would be required to report

 4   it, but I -- depending on the violation, I might feel

 5   obligated to report it.

 6            Q.    Is that part of your job, Dr. Winkler?

 7                  MS. CANFIELD:     Objection.    Again, he's not a

 8            30(b)(6) witness as to what job responsibilities

 9            or the scope of his employment is or Dr. Kaye's,

10            but you can answer as best you're able, Dr.
11            Winkler.

12            A.    It's not a specific requirement of my job
13   that I'm aware of, but it's -- I think it might be an

14   ethical obligation to do it.

15            Q.    Right.   But just to be clear, you're saying

16   it might be an ethical obligation.           But it's not -- an
17   ethical obligation where?         Where, ethically, would you

18   be bound to do so, to report to CHS, if they were

19   violating the law?

20                  MS. CANFIELD:     Objection as to form.      Again,

21            he's not an expert witness in ethics or the
22            requirements, job description, employment of an

23            evaluator, but go ahead.

24                  MS. HAGAN:    Uh-huh.    You're coaching the
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                               BARRY WINKLER, M.D.                         205


 1         witness.

 2                MS. CANFIELD:    No, I'm not.     I'm objecting.

 3         He's not a 30(b)(6), but go ahead, Dr. Winkler.

 4                MS. HAGAN:    Duly noted.    Speaking objection.

 5         A.     I don't know what the ethic -- there's

 6   ethical guidelines to psychiatrists and psychologists.

 7   They'd have to be reviewed so see if there's some area

 8   that appears applicable.      I mean, this is all very

 9   hypothetical and vague, so it's hard to give a direct

10   answer.
11         Q.     Have you ever seen any ethical guidelines

12   that require you, as a forensic psychiatrist, to report
13   violations of the CPL?

14                MS. CANFIELD:    Objection as to form.       He can

15         answer.

16         A.     You know, violations of the CPL is so broad.
17   So no.    In those words, no, I have not.

18         Q.     If CHS violations in administering the CPL

19   730 compromised public safety, would you be required to

20   report it?

21         A.     Compromised public safety?
22         Q.     Yes.

23         A.     I'm assuming -- I don't know.       This is --

24   when you say “compromised public safety,” I'm not really
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 206 of 353


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 1   sure what you're getting at.

 2                  MS. CANFIELD:     Right.

 3            Q.    For example, you have a -- you have a

 4   defendant who is either being released due to a

 5   determination of -- he has a misdemeanor.            He's found --

 6   he's found unfit -- or he's found fit; right?              And he

 7   wasn't found fit -- because you're asking me to provide

 8   you with a scenario.        And I'm asking you what the scope

 9   of your job is.       So I'm going to stop there.        What I'm

10   going to ask you is:        What is the scope of your job as
11   it pertains to the administration of discipline?

12                  MS. CANFIELD:     Again, objection.      He's not a
13            30(b)(6) witness, but your personal opinion, Dr.

14            Winkler, you can provide it.

15            A.    Scope of my job that applies to what?          I

16   didn't hear the last part.
17            Q.    As far as the violations of 730.

18            A.    I can't answer that question.        I --

19            Q.    Do you have an obligation to report

20   violations of the 730 at the forensic meetings?

21            A.    What is a violation of 730?        What is that?
22   What do you mean by violation of 730?

23            Q.    If there are -- if there are -- if exams are

24   being administered in a way that's inconsistent with the
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                              BARRY WINKLER, M.D.                          207


 1   CPL, right, do you have an obligation to report that to

 2   anyone?

 3                 MS. CANFIELD:   Objection again.      Same -- same

 4         objection.     He's not a 30(b)(6).      But go ahead,

 5         Dr. Winkler, to the extent that you can respond.

 6         A.      To the extent that I can respond, if I

 7   believe that someone is conducting evaluations that is

 8   violating the CPL, then I would feel that, yes, that

 9   should probably be recorded to someone.

10         Q.      Is that part of your job?
11                 MS. CANFIELD:   Objection.     Answer if you're

12         able.
13         A.    That is part of my job.

14         Q.      Dr. Winkler, did you say that was not part of

15   your job?

16         A.    That's part of my job to report that.          Again,
17   I believe it's more of an ethical consideration.

18         Q.      But you can't cite where, what ethical

19   consideration; right?

20         A.    There's a code of ethics.        I don't have them

21   in front of me, so no, I can't.
22         Q.      If exams are wrongly used to get inmates off

23   of Rikers by calling them unfit when they are not, do

24   you have to report this?
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 208 of 353


     208                        BARRY WINKLER, M.D.


 1                  MS. CANFIELD:     Objection.    Again, he's not a

 2            30(b)(6) witness.      Go ahead, Dr. Winkler.

 3            A.    Could you repeat the question?        I didn't hear

 4   all of it.

 5            Q.    If exams are being wrongly administered to

 6   get inmates off of Rikers by calling them unfit when

 7   they're not, do you have to report this?

 8                  MS. CANFIELD:     Objection.    Go ahead.

 9            A.    If I was -- if I knew that to be the -- to be

10   a fact, then I would feel, yes, I would need to report
11   that to someone.

12            Q.    Is that part of your job, Dr. Winkler?
13                  MS. CANFIELD:     Objection as to form.      You can

14            answer if you're able.

15            A.    It's not specifically or explicitly stated as

16   part of my job, that I know of.
17            Q.    Now, going back to Exhibit 13, I've attached

18   -- you emailed Dr. Kaye:         “I've attached my suggestions.

19   I've also emailed some links about CFR that have

20   relevant info.       I'm still looking into the HIV question.

21   Another issue is getting un-redacted records for the
22   remaining outstanding orders.          I was thinking we should

23   use -- we should have LP email that attorney at HHC,

24   tell her to get us those records ASAP.            Having LP do it
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                               BARRY WINKLER, M.D.                         209


 1   would send the additional message that we don't consider

 2   this even worthy of an email from us, but that is just a

 3   thought.”    Do you recall writing that?

 4         A.     I don't recall writing it, but clearly I did.

 5         Q.     So what do you mean by that document?

 6         A.     I think I meant that we were getting -- we

 7   were not satisfied with the information from the HHC

 8   attorneys.   And I think maybe we felt that we were kind

 9   of being dismissed or not really capable of

10   understanding the question.       I think that's what I was
11   implying there.

12                MS. HAGAN:    Now, I'm going to go to what
13         would be Plaintiff's Exhibit 14.         And I'm going to

14         share.    Plaintiff's Exhibit 14 bears the Bates

15         Stamp Series Kaye5thProduction1 through 2.           And

16         I'm going to share the screen momentarily.
17

18                (Plaintiff's Exhibit 14, DOCUMENT BATES

19                STAMPED KAYE5THPROD001 THROUGH

20                KAYE5THPROD002, was marked for

21                identification.)
22

23         Q.     Now, the top is redacted because it's an

24   exchange between myself and Dr. Kaye.         And I'm going to
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 210 of 353


     210                        BARRY WINKLER, M.D.


 1   move to the beginning of the thread.           And the beginning

 2   of the thread is dated November 16th, 2017.             You see

 3   this; right?

 4            A.    Yes.

 5            Q.    And it's from Lucrecia Persaud to Dr. Kaye,

 6   and it CC's you.        You see this; right?

 7            A.    Yes.

 8            Q.    And it says -- well, Ms. Persaud says, “Hi,

 9   Dr. Kaye.      Today, we received redacted medical records

10   from Rikers for Mr. Cesar Mederocouret and Mr. Alberto
11   Cruz.     Thank you.”     You saw that; right?

12            A.    Yes, I see it.
13            Q.    Okay.    And then you respond, Dr. Winkler, I

14   guess to Ms. Caltigirone.         Now, was this the agency

15   attorney you referenced before?

16            A.    I think it is.
17            Q.    Okay.

18            A.    It is.

19            Q.    So you say, “Hi, Ms. Caltagirone --

20   Catagirone.”      I'm not sure how to pronounce the name.

21   “Please see the below.        This is an ongoing problem that
22   needs to be resolved.        The judges are becoming

23   increasingly frustrated by these delays.”            Do you

24   remember this?
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                              BARRY WINKLER, M.D.                          211


 1         A.    I don't remember it, but I see it.

 2         Q.    Do you remember the judges becoming

 3   increasingly frustrated by the delays?

 4         A.    I do recall that, yes.

 5         Q.    Now, the delays not only affect -- affect the

 6   judges.    They affect the defendants; right?

 7         A.    Yes, that's correct.

 8         Q.    The defendants are -- the defendants' -- the

 9   defendants' attention is prolonged because they are not

10   able to proceed with the evaluation process; am I right?
11               MS. CANFIELD:     Objection.     You can answer.

12         A.    Yes, the longer the evaluation is delayed,
13   the longer they are retained.

14               MS. HAGAN:     Okay.   So then, I'm going to move

15         forward to what will be marked as Plaintiff's

16         Exhibit 15.     And it bears the Bates Stamp Series
17         NYC_80.

18

19               (Plaintiff's Exhibit 15, DOCUMENT BATES

20               STAMPED NYC_80, was marked for

21               identification.)
22

23         Q.    And for purposes of the record, NYC-80 is an

24   email that starts at the top, from Dr. Kaye to Tasha
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 212 of 353


     212                        BARRY WINKLER, M.D.


 1   Lloyd, and a number of other people, along with Tasha

 2   Lloyd, Yanika King, Lucrecia Persaud, yourself, Dr.

 3   Winkler, and a number of other HHC staff persons; right?

 4   You see this; right?

 5            A.    Yes, I see it.

 6            Q.    And I'm going to scroll down to the beginning

 7   of this spread so, I guess, you can have some context.

 8   Now, who's Tasha Lloyd, Dr. Winkler?

 9            A.    She's somebody who is associated -- it says

10   it here -- she's associated with the Mayor's Office of
11   Criminal Justice.       We refer to it as MOCJ, M-O-C-J.

12            Q.    Now, who did MOCJ -- what role did MOCJ play
13   with the court system?

14            A.    They don't necessarily play a role.         At one

15   point, MOCJ began a pilot project in the Queens Court

16   Clinic to reduce the amount of time between when a 730
17   competency evaluation was ordered, and the report was

18   actually sent to the court.

19            Q.    And was that appropriate; do you believe?

20                  MS. CANFIELD:     Objection.    You can answer.

21            A.    I don't know -- I don't know if it's a matter
22   of whether it was appropriate or inappropriate.             I think

23   it's not a bad thing to try to speed up the process.              As

24   you mentioned earlier, people who are kept in jail --
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                              BARRY WINKLER, M.D.                          213


 1   whose evaluations are delayed are kept in jail longer.

 2   So I don't think it's inappropriate to try and move

 3   things quickly.

 4         Q.    Do you feel that the court clinic warrants

 5   trying to ensure that these evaluations should be

 6   processed efficiently prior to this entity being --

 7   becoming involved?

 8               MS. CANFIELD:     Objection to form.      You can

 9         answer.

10         A.    Well, at least speaking for the clinic, I was
11   involved in the Bronx.      I thought we were doing the best

12   job we could to move them forward.
13         Q.    Do you think anything would have made it

14   easier for you all to move the evaluations forward?

15         A.    No.   Aside from that redacted records issue,

16   which we discussed, I feel that we were moving the cases
17   as efficiently as we could, really.

18         Q.    Would staff in the Bronx -- would more staff

19   in the Bronx have been helpful?

20

21               MS. CANFIELD:     Objection to form.      You can
22         answer.

23         A.    More staff would have moved things quicker,

24   because you would have the availability of more
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 214 of 353


     214                         BARRY WINKLER, M.D.


 1   examiners; so you could see more cases.

 2            Q.    On average, how many cases would an examiner

 3   see per day?

 4                  MS. CANFIELD:     Objection to form.      Are you

 5            talking about the Bronx?

 6            Q.    On average, what was your experience, how

 7   many how many examinations do you do in a day, Dr.

 8   Winkler?

 9                  MS. CANFIELD:     Again, objection.      Bronx or

10            Brooklyn?
11                  MS. HAGAN:    I'm speaking to Dr. Winkler.

12                  MS. CANFIELD:     Okay.   Just trying to clarify.
13            Dr. Winkler, if you can answer --

14            Q.    Dr. Winkler, when you were at the Bronx, who

15   many exams did you do per day?

16            A.    We averaged about two exams a day.
17            Q.    Now, in Brooklyn, how many exams do you do

18   per day?

19            A.    We have a different number of doctors, but we

20   still try to average two exams per doctor per day.

21            Q.    Okay.   That's what I was trying to get at.
22   When you were in the Bronx, one doctor would do an

23   average of two exams a day; is that right?

24            A.    Yes.
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 215 of 353


                              BARRY WINKLER, M.D.                          215


 1         Q.    Okay.    That's what I wanted to get at.

 2               So now, at any point, was there a discussion

 3   from Dr. Kaye about her discussions about cutting

 4   corners to speed up the process?        Did she address those

 5   kind of concerns to you?

 6         A.    I don't recall.      She might have.     I don't

 7   recall honestly.

 8         Q.    Do you think that there were efforts made by

 9   MOCJ and/or CHS -- do you think that there were efforts

10   made by MOCJ and/or CHS to speed up the process by
11   cutting corners?

12         A.    In the Bronx or -- because MOCJ was involved
13   with Queens.    They weren't not involved with us.

14         Q.    Or just in general.

15         A.    I don't know that MOCJ -- I don't know about

16   cutting corners.     I don't know that their time frames
17   were realistic, as I said earlier.        In the Bronx, I

18   don't recall that there were attempts to cut corners

19   necessarily in -- in moving our exams along.

20         Q.    So would -- let's say, for example, doing an

21   exam based solely on the records, would that have been
22   considered cutting corners?

23               MS. CANFIELD:     Objection to form.      You can

24         answer.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 216 of 353


     216                        BARRY WINKLER, M.D.


 1            A.    It's not an example of cutting corners, per

 2   se.     If it is the only way to complete an exam, and the

 3   examiners feel they have sufficient information to come

 4   to an opinion, then as a last resort, I think it's

 5   appropriate and not, per se, a way of cutting corners.

 6            Q.    Has that ever occurred while you were there?

 7            A.    I didn't hear the first part of your

 8   question.

 9            Q.    Has that ever occurred while you worked at

10   CHS?
11                  MS. CANFIELD:     Objection to form.      You can

12            answer.
13            A.    Had what ever occurred?

14            Q.    And effort to just do an exam with just on

15   the record instead of asking for a court order?

16            A.    Have we ever -- there have been exams done on
17   records, but only if we have enough information to come

18   to the opinion.       If we don't, then the judge's advise

19   that we don't have enough information -- that we have

20   obtained the records.        We don't have enough information

21   to come to an opinion, and that the judge has the option
22   to issue a force order if they choose.            So we've never

23   been -- I've never been made to write a report or

24   records where a force order was an option.
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                              BARRY WINKLER, M.D.                           217


 1         Q.    Was there ever an effort -- and we talked

 2   about this earlier, to -- I guess to present Mr.

 3   Figueroa [ph.] to different sites so that a force order

 4   process would be expedited?

 5               MS. CANFIELD:     Objection to form.      You can

 6         answer.

 7         A.    I -- I don't understand.       Please, can you

 8   rephrase it?

 9         Q.    Was there a number of times that a defendant

10   would have to refuse production before a force order
11   would go into effect?

12               MS. CANFIELD:     Objection as to form.       You can
13         answer.

14         A.    Force orders, they don't go into effect.             The

15   judge has to issue it.      It's at their discretion.       We

16   would -- I think we would typically try and make two to
17   three attempts to have someone brought in to see them.

18   And then at that point, assuming that we were able to

19   get the records and the records did not contain enough

20   information to come to an opinion, we would then ask the

21   judge if they wanted to issue a force order.          And then
22   it's on the judge's discretion on that case if they want

23   to issue a force order.

24         Q.    Now, did this issue come into play in the
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 218 of 353


     218                        BARRY WINKLER, M.D.


 1   Miguel Figueroa case?

 2            A.    I don't recall if he was force ordered.          He

 3   -- we did eventually see him.          He might made been force

 4   ordered, but I don't recall, per se, if he was or not.

 5            Q.    Was there an effort to obtain a force order

 6   because Mr. Figueroa had resisted production a few

 7   times?

 8            A.    I actually don't recall.       If he had resisted,

 9   I assume that we would have asked for one, but I don't

10   recall if we did.
11            Q.    Now, at any time did Dr. Ford and/or Dr. Owen

12   seek to have, I guess, evaluations on the record, in
13   lieu of a force order?

14                  MS. CANFIELD:     Objection to form.      You can

15            answer.

16            A.    I don't know about -- I can't speak for Dr.
17   Ford.     I know that Dr. Owen was very opposed to

18   requesting force orders.         And I don't know if she ever

19   did an evaluation where we would have gotten a force

20   order and did not.

21            Q.    Is it ever appropriate to ask for a force
22   order before writing a report?

23            A.    Is it ever appropriate to ask for one?

24            Q.    Let me make sure I have the question right.
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 219 of 353


                                BARRY WINKLER, M.D.                        219


 1               Is it appropriate to ask for a force order

 2   before writing a report in opining on fitness based on

 3   records alone?

 4         A.    Yes, I think that's appropriate.

 5         Q.    When?

 6         A.      Well, I think I outlined the situation.        If

 7   you made -- if the clinicians have made multiple,

 8   whatever that is, typically two to three attempts -- did

 9   you ask about getting a force order before getting

10   records?
11         Q.    Yes.

12         A.    I think it's appropriate.        I don't think it's
13   inappropriate to ask for a force order.          I don't know if

14   the judges would grant it if records had not been

15   obtained.   But it's the judge's discretion.         We do not

16   tell the judge to issue a force order.         It's a
17   suggestion.    There have been cases where judges have

18   issued the force order of their own initiative because

19   defendants have refused to come in, and the judges were

20   frustrated.

21                 MS. HAGAN:    I'm going to show you what will
22         be marked as Plaintiff's Exhibit 17.

23

24                 (Plaintiff's Exhibit 17, DOCUMENT BATES
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 220 of 353


     220                         BARRY WINKLER, M.D.


 1                  STAMPED NYC_1914 through NYC_1915, was

 2                  marked for identification.)

 3

 4            Q.    And Plaintiff's Exhibit 17 bears the Bates

 5   Stamp Series NYC_1914 through NYC_1915.            Do you see

 6   that?

 7            A.    No, I don't see it.

 8            Q.    Let me share.     Now, do you see it?

 9            A.    Yes.

10            Q.    And for purposes of the record, the email
11   starts at the top with -- it's from Dr. Kaye to an

12   slaird@nyccourt.gov, and it CC's yourself.            Now, I'm not
13   sure who Ms. Laird is.         Do you recall?

14            A.    No.     I don't actually recall who that is.

15            Q.    So let's go down to the beginning, so you can

16   get a full context.        Would that be fair?
17            A.    Sure.

18            Q.    Okay.    So the email starts from a Wanda

19   Roberts to Ms. Persaud.         And it's regarding a CHS730

20   request.      The subject is medical record.        And it says,

21   “Good afternoon, Lucrecia.         Please review attached
22   medical records for Mr.         This is part one of the medical

23   records.      Thank you.”    You see that; right?

24            A.    Yes.
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                              BARRY WINKLER, M.D.                          221


 1         Q.    And it's dated February 2nd, 2018.

 2               Then we scroll -- we scroll up, and then Ms.

 3   Persaud sends you an email.       I guess it must be with the

 4   medical records, Dr. Winkler.       You see that; right?

 5         A.    Yes.

 6         Q.    And then you respond to Dr. Kaye and

 7   Ms. Persaud and you say specifically -- you say, “Hi,

 8   Lucrecia.   Please advise Ms. Roberts that these records

 9   are useless.    They're redacted and do not include an

10   attestation/certification, which we need for the court.
11   Please advise her that we require un-redacted certified

12   records as soon as possible, since the court is
13   questioning the delay in this case.”         Do you see that;

14   right?

15         A.    Yes.

16         Q.    And then Dr. Kaye writes to Ms. Laird, and
17   she tells the court -- I guess she works for the courts.

18   “They're still receiving these redacted records from

19   CHS, despite judicial orders for un-redacted records.”

20   Do you require -- do you remember judicial orders for

21   un-redacted records coming to -- to the court clinic?
22         A.    I remember we were preparing orders at one

23   point.   It never said redacted records.        And at one

24   point, we actually put in the wording, which I think I
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 222 of 353


     222                        BARRY WINKLER, M.D.


 1   mentioned earlier, that we wanted, specifically,

 2   non-redacted records.

 3            Q.    Now, did you ever raise these concerns --

 4   well, at this time, you know, Dr. Jain hadn't been

 5   working there, but Dr. Ford was definitely around.              Did

 6   you ever bring issues to Dr. Ford and/or Dr. MacDonald

 7   about the continued production of redacted records?

 8            A.    I don't remember ever raising anything with

 9   Dr. MacDonald, but I believe we had a discussion about

10   it with Dr. Ford.
11            Q.    And who is we?

12            A.    That would have been Dr. Kaye and I.
13            Q.    And how did that discussion go?

14            A.    I don't remember.

15                  MS. CANFIELD:     Objection to form.      You can

16            answer.
17            A.    Yeah, I don't remember any specific

18   discussion, but I'm assuming that it would have been

19   discussed with Dr. Ford, since it was a significant

20   problem.

21            Q.    Did Dr. Ford tell you that she would do
22   anything about the problem?

23            A.    I -- I don't recall what she said.

24            Q.    Did Dr. Ford have a position regarding the
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 223 of 353


                              BARRY WINKLER, M.D.                          223


 1   medical records?

 2         A.    I don't recall.      I actually don't recall if

 3   she had a position.     I don't believe she had a position

 4   supporting redacted records, but I don't honestly

 5   recall.

 6

 7               (Plaintiff's Exhibit 18, DOCUMENT BATES

 8               STAMPED NYC-1924 through NYC-1925, was marked

 9               for identification.)

10
11         Q.    I'm going to show you what's marked as

12   Plaintiff's Exhibit 18.      Plaintiff's Exhibit 18 bears
13   the Bates Stamp Series NYC-1924 through NYC-1925.           And

14   I'm going to share the screen.       And for purposes of the

15   record, Exhibit 18 -- at the top of Exhibit 18 is an

16   email from Dr. Kaye to you, Dr. Winkler.         And it's dated
17   February 23rd, 2018.     You see that; right?

18         A.    Yes.

19         Q.    Again, I'm going to scroll down to the

20   beginning, so you can get the full context.          Apparently,

21   this is an email from Dr. MacDonald to an Elizabeth
22   Moreira.   Do you know who Ms. Moreira is?

23         A.    She was -- I'm not sure of her current job.

24   She was a -- an administrator -- a kind of an
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 224 of 353


     224                         BARRY WINKLER, M.D.


 1   administrative supervisor on the forensic unit at

 2   Bellevue.

 3            Q.    Okay.    And Dr. MacDonald says, “Hi, Liz.        Can

 4   you share with me the records you received for the cases

 5   that Dr. Kaye could not complete?           Thanks, Ross.”     You

 6   see that; right?

 7            A.    Yes.

 8            Q.    And then -- now, do you recall any kind of

 9   correspondence or any kind of inquiry from Dr. MacDonald

10   regarding any case you say you couldn't complete because
11   of the record?

12                  MS. CANFIELD:     Objection as to form.      He can
13            answer.    It assumes facts.

14            A.    I don't recall any conversation with him, no.

15            Q.    Okay.    Now then, Ms. Moreira says to Dr.

16   MacDonald:      “It would have to be requested from the
17   clinic itself.         I can copy Melissa and the ACM, if you'd

18   like.”     The ACM, who do you recall -- who is that?

19            A.    I think that would be Lucrecia Persaud,

20   Assistant Coordinating Manager, I think that was her

21   title.
22            Q.    Okay.    I wasn't sure.    But then, Dr.

23   MacDonald says, “Yes, please, to Ms. Moreira.”             You see

24   that; right?
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 225 of 353


                              BARRY WINKLER, M.D.                          225


 1         A.     Uh-huh.   Yes.

 2         Q.     And then Ms. Moreira responds back to Dr.

 3   MacDonald, Dr. Kaye, and Ms. Persaud.         And she says. “No

 4   problem.    Do you have the defendant's name for the case

 5   in question?    I have copied Dr. Melissa Kaye and

 6   Lucrecia Persaud to this email.        To set some context,

 7   Dr. Ross MacDonald of CHS is trying to work on the

 8   redaction issue and is requesting to see the version of

 9   records we have received for outstanding cases in which

10   were redacted and therefore, left an opinion
11   un-rendered.”    Do you -- you weren't here on that CC

12   just yet.    But do you remember seeing this at any point?
13         A.     I don't remember it, no.

14         Q.     So let's scroll up further.       Eventually, Dr.

15   Kaye sends this to you.       Do you recall Dr. MacDonald

16   being involved and discussing the redacted medical
17   records issues with you around this time?

18         A.     I don't recall it.     I see the email, but I

19   don't recall it.

20

21                (Plaintiff's Exhibit 19, DOCUMENTS BATES
22                STAMPED NYC_137 THROUGH NYC_138, was marked

23                for identification.)

24
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 226 of 353


     226                         BARRY WINKLER, M.D.


 1            Q.    Exhibit 19 bears the Bates Stamp Series

 2   NYC_137 through NYC_138.         Before we get into that, I

 3   would like to just follow up with the last discussion on

 4   Dr. MacDonald.       Do you recall Dr. MacDonald demanding

 5   that Dr. Kaye release records to him that date the Bronx

 6   Court Clinic obtained their judicial subpoena for purses

 7   of a CPL 730 exam?

 8                  MS. CANFIELD:     Objection as to form.      What?

 9            Q.    I don't recall that, no.

10                  MS. CANFIELD:     What are the Bates stamps?
11                  MS. HAGAN:    NYC_137 to NYC-138.

12                  MS. CANFIELD:     Thank you.
13            Q.    And for purposes of the record, the document

14   is from Dr. Kaye to a Ginger James at the Bronx DA, an

15   S. Gardner at the court, yourself, Dr. Winkler, and

16   Mr. Persaud.       Subject, “A Subpoena for Appearance and
17   Notes.”       And I'm going to go to the bottom of the

18   exhibit and give you an opportunity to look at the

19   context.      So Ms. Persaud sends an email to Dr. Kaye on

20   March 15th, with FYI, subpoena for appearance and notes.

21   You see that, right, Dr. Winkler?
22            A.    Yes, I see it.

23            Q.    And then Dr. Kaye sends a response to an S.

24   Gardner and a Ginger James at the Bronx DA.             She has a
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                              BARRY WINKLER, M.D.                          227


 1   question mark.    And then she says, “Please note, as

 2   previously discussed, there are serious HIPPA

 3   restrictions and concerns regarding defendant's medical

 4   records.    The Bronx Court Clinic can only release

 5   medical records and other materials by judicial

 6   subpoena.    If ADA Mortorno has further concerns or

 7   questions, she may contact H&H legal department or the

 8   court directly.”     Do you remember that?

 9         A.     I don't remember this specific instance, but

10   I remember these types of things coming up.
11         Q.     Okay.   So then Ms. Ginger -- who is Ms.

12   Ginger at the DA's office?
13         A.     Ginger James was ADA -- an ADA.        I forget.    I

14   think she had a supervisory position at some -- at some

15   level.   I forget exactly what it was.

16         Q.     Okay.   And she then responds, “Thank you for
17   reaching out to me, Dr. Kaye.       The subpoena was signed

18   by a judge, and it is returnable to the court.           Is there

19   still an issue?”     Right?   And then there's another

20   response from Dr. Kaye, and it CC's you.         “It would be

21   problematic for us to disseminate HIPPA-protected
22   information we obtained by judicial order to the DA or

23   defense directly.”     Now, did you agree with this

24   position?
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 228 of 353


     228                        BARRY WINKLER, M.D.


 1            A.    Yes.

 2            Q.    Okay.    Why?

 3            A.    Because we are -- even though the clinic may

 4   be HIPAA-exempt, that information was supplied to us by

 5   judicial order.        We are not allowed to then turn around

 6   and share it with somebody else without another order.

 7            Q.    Now, would -- would Dr. Kaye asserting this,

 8   be a part of her job?

 9            A.    I would say it is, because the DA's office

10   asked for the records, and she needs to respond.
11            Q.    But then the DA's office also says that the

12   judge had signed an order to this effect.            Would that
13   still be part of Dr. Kaye's job to continue to point out

14   that this would be a problem?

15                  MS. CANFIELD:     Objection to form.      You can

16            answer.
17            A.    Yes, I think it would be.

18            Q.    And what's that based on?

19            A.    I think I just said that we are not allowed

20   to share the records -- the judge -- when we get a

21   judicial order, the records are specifically to provide
22   this information about the defendant for the -- in this

23   case Bronx Court Clinic.         It's not Bronx Court Clinic

24   and anybody else who needs it.          So those records are
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                              BARRY WINKLER, M.D.                          229


 1   issued by judicial order directly to us.         And we are not

 2   allowed to then turn around and give them to somebody

 3   else, unless there's another judicial order saying,

 4   okay, Bronx Court Clinic, you can now turn those records

 5   over to, for example, the DA's office.

 6         Q.    So then she says, “We can and will send the

 7   records we used to complete our exam and our notes

 8   directly to the court on Monday.        This is a serious and

 9   sensitive issue, and we do not want to violate the

10   defendant's privacy rights or the initial intent of the
11   original order.     Thank you for understanding.”

12               Now -- now, did you believe that this was a
13   serious and sensitive issue, Dr. Winkler?

14         A.    Yes.

15         Q.    Okay.    And did you believe the defendant's

16   privacy rights could have possibly been violated?
17         A.    Yes.

18         Q.    Now, Dr. Winkler, at any point, did you read

19   Dr. Kaye's lawsuit?

20         A.    Did I read it?

21         Q.    Yes.
22         A.    No.

23         Q.    So you've never read Dr. Kaye's lawsuit

24   against CHS and -- and any of the defendants?
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 230 of 353


     230                         BARRY WINKLER, M.D.


 1            A.    No.

 2            Q.    Why not?

 3            A.    I just never have.

 4            Q.    But why?    I'm asking you why?

 5            A.    I've been very busy with my job and certain

 6   issues in my personal life and just never took the time

 7   to read it.

 8            Q.    Did you discuss it with Dr. Kaye at any

 9   point?

10            A.    I think at some point, she mentioned to me
11   that she had filed the lawsuit, yeah, when we were

12   speaking.      We haven't spoken in a while.
13            Q.    Do you know why?

14            A.    No.     I don't know why we haven't talked, but

15   I know she had told me that she filed a lawsuit.

16            Q.    And what was your reaction to that?
17            A.    I didn't necessarily have a reaction.          If she

18   feels she has legitimate claims, then she's pursuing her

19   legal options.

20                  MS. HAGAN:    Why don't we take a break.

21
22                  (Recess taken at 4:44 p.m. until 4:55

23                  p.m.)

24
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 231 of 353


                              BARRY WINKLER, M.D.                          231


 1   BY MS. HAGAN:

 2         Q.    So Dr. Winkler, I wanted to talk to you about

 3   an incident that involved an Officer Ross.          Do you

 4   recall anything to that effect?

 5         A.    What was the officer's name?

 6         Q.    Officer Ross.     It was a CO and an inmate that

 7   may or may not have been properly restricted during the

 8   course of an examination.      Do you recall that?

 9               MS. CANFIELD:     Objection to form.

10         A.    No.   Not offhand, no.
11

12               (Plaintiff's Exhibit 20, DOCUMENT BATES
13               STAMPED NYC-1990 to NYC-1992, was marked for

14               identification.)

15
16               MS. HAGAN:     So I'm going to -- I'm going to
17         bring up what's marked as Plaintiff's Exhibit 20.

18         And it bears the Bates Stamp Series -- it bears

19         the Bates Stamp Series NYC-1990 to NYC-1992.           I

20         want to make sure I have the right number.           And

21         I'm not sure if you want to go through the actual
22         letter, but it's from -- it appears to be from

23         Mr. Bloom to Captains Jones and Lynch.          Do you

24         recall -- do you know who these two individuals
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 232 of 353


     232                        BARRY WINKLER, M.D.


 1            are?

 2            A.     Which two individuals are you referencing?

 3            Q.     Captains Jones and Lynch.

 4            A.     Captains Jones and Lynch.      No, I don't.

 5            Q.     Okay.   Now, you do remember working with Jeff

 6   Bloom; right?

 7            A.     Yes, I know Mr. Bloom.

 8            Q.     Okay.   So on May 4th, 2018, Mr. Bloom says

 9   that he's writing to inform you about an incident that

10   took place on May 2nd at 215 East 161st Street,
11   specifically on the third floor where the psychiatric

12   examinations take place.         My client, Mr. Was being
13   examined by Doctors Kaye and Winkler.

14            The examination had been ordered by a judge.

15   When we entered the DOC area, Officer Ross asked that

16   we show her our identification.          Each of us complied
17   with her request.       We then entered area -- interview

18   area; whereupon, the doctors commenced their

19   examination.       While I am not personally familiar with

20   DOC security protocol, I have always observed the

21   officers assigned to that particular tour perform their
22   duties in much the same way.          When we entered the

23   interview area, the defendant is always seated on the

24   wooden bench against the wall, so that she is facing
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                              BARRY WINKLER, M.D.                          233


 1   the door.    The defendant's left wrist is always cuffed

 2   to the wall.     At the conclusion of the interview, we

 3   leave the interview room, the doctor signs the papers

 4   for the officer, and we are then let out of the DOC

 5   area.    The officer closes and locks the door when we

 6   leave.    On May 2nd, the officer, upon completion of the

 7   examination asked doctors to sign the paperwork.           They

 8   complied.    The officer then entered the interview room,

 9   leaving us in the out -- outer area.         When one of the

10   doctors asked the officer to let us leave before she
11   uncuffed the defendant from the wall, the officer said

12   no.     She then uncuffed him from the wall and cuffed him
13   -- cuffed him behind his back.       Had he decided to do

14   so, the defendant could have run anywhere in the area

15   and could have caused serious physical injury to one of

16   us or to himself.
17           Now, do you recall anything like that happening?

18           A.   Yes, I recall the incident now.

19           Q.   Okay.   So what happened?

20           A.   It's exactly as stated in the letter,

21   actually.
22           Q.   Did you think that Mr. Bloom and/or Dr. Kaye

23   were being unfair by writing this up?

24           A.   No.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 234 of 353


     234                        BARRY WINKLER, M.D.


 1            Q.     Did you believe that Dr. -- Dr. Kaye or Dr.

 2   Bloom fostered a kind of like an adversarial or we're

 3   coming to get you kind of atmosphere in the Bronx Court

 4   Clinic?

 5                   MS. CANFIELD:    Objection as to form.      You can

 6            answer.

 7            A.     We're coming to get you as to who, to anybody

 8   they interacted with or DOC?

 9            Q.     Well, just anyone who may not have been part

10   of the Legal Aid Society, or I guess, had some level of,
11   I guess, familiarity with Dr. Kaye?

12            A.     No.   I don't -- I don't have that -- I don't
13   think that's what was happening, no.

14            Q.     Did Dr. Kaye and/or Mr. Bloom target people?

15                   MS. CANFIELD:    Objection to form.      You can

16            answer.
17            A.     Target people in what way?

18            Q.     Well, target any -- let's start with -- did

19   they target any other forensic evaluators with any kind

20   of reprisal or any kind of hostility?

21                   MS. CANFIELD:    Objection to form.      Are we
22            talking post or pre-CHS?       You can answer, if you

23            can.

24            A.     I don't have any knowledge of any of that.
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                              BARRY WINKLER, M.D.                          235


 1         Q.    Ever; is that right?

 2               MS. CANFIELD:     Objection to form.      You can

 3         answer.

 4         A.    Not to my knowledge.

 5         Q.    Okay.    Now, did any of the other center

 6   directors approach you or talk to you, Mr. Winkler,

 7   about not wanting to work with Dr. Kaye?

 8               MS. CANFIELD:     Objection to form.      You can

 9         answer.

10         A.    Not that I recall.
11         Q.    Was anyone intimidated by Dr. Kaye?

12         A.    Intimidated?
13         Q.    Yes.

14         A.    What do you mean by “intimidated”?         Like the

15   (indiscernible) intimidated?

16         Q.    Of the dictionary definition, nothing --
17   nothing special.     You know, sorry.

18         A.    No one has ever told me that they were

19   intimidated by Dr. Kaye.

20         Q.    You were not intimidated by Dr. Kaye; right?

21         A.    No.
22         Q.    Did Dr. Kaye ever yell at you, Dr. Winkler?

23               MS. CANFIELD:     Objection to form.      He can

24         answer.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 236 of 353


     236                           BARRY WINKLER, M.D.


 1            A.    No.       I don't recall yelling.    We would have

 2   -- there were times we didn't agree on a case or

 3   procedure.       We would discuss it.     I never -- I was never

 4   yelled at.

 5            Q.    Now, wasn't it particularly difficult to

 6   staff the Bronx Court Clinic in general?

 7                    MS. CANFIELD:    Objection to form.     Again,

 8            when?

 9            A.    Right.      When are you talking about?

10            Q.      Okay.    When CHS took over the clinic, was it
11   difficult for -- was it difficult to staff the court

12   clinic?
13            A.    I -- I don't know about staffing and

14   difficulties with the clinic, because I wasn't there

15   anymore.      I went to Brooklyn.       So I don't know if it was

16   difficult or what was going on with the staffing.
17            Q.    Now, do you recall when Dr. Brayton resigned

18   from the clinic?

19            A.    I -- I don't necessarily recall.         I think it

20   might have been -- I don't know, maybe it was the end of

21   2018.     I honestly don't recall.
22            Q.    Would it be fair to say it was around

23   November of 2019?

24            A.    I don't know.
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                              BARRY WINKLER, M.D.                          237


 1         Q.    And -- and do you remember when Dr. Kaye

 2   resigned from CHS?

 3         A.    I think it was early 2020.        I don't recall

 4   that either, exactly.

 5         Q.    Was there a time period between the time Dr.

 6   Brayton resigned and Dr. Kaye resigned, where Dr. Kaye

 7   wasn't seeing any 730s?

 8         A.    I don't know.

 9         Q.    Were you being called up to the Bronx to

10   provide assistance in completing 730s during that time
11   period?

12         A.    I was sent to the Bronx at some point to do a
13   case, might have been two cases.        But I don't recall --

14   I don't recall when that was.

15         Q.    Okay.    Was there ever a work stoppage, to

16   your knowledge, in the Bronx Court Clinic between
17   November of 2019 and January of 2020?

18         A.    I'm not aware of a work stoppage, no.

19         Q.    Were you aware of defendants that would

20   normally be produced in the Bronx Court Clinic being

21   produced elsewhere during that time period?
22         A.    I don't know if there was a defendant --

23   there could have been a defendant produced in Queens.            I

24   have some recollection of that, but I'm not positive.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 238 of 353


     238                         BARRY WINKLER, M.D.


 1            Q.    Were you -- were you aware of any backlog

 2   that may have been in place at that time between

 3   November of 2019 and January 2020?

 4            A.    I'm not aware of any backlog.

 5            Q.    Were you aware of any discussions of

 6   approximately 40 cases that may not have been seen in

 7   the Bronx during that period of time?

 8            A.    I recall now.     I think -- I do recall hearing

 9   something about that.        I think Jeff Bloom raised that or

10   mentioned that it was something that he was concerned
11   about, I believe.

12            Q.    Do you know if that was true, what he was
13   raising issues about?

14            A.    I don't know if it was true, no.

15            Q.    Did you know Mr. Bloom to write things that

16   were not true?
17            A.    No, not --

18                  MS. CANFIELD:     Objection to form.      You can

19            answer.

20            A.    Not in my experience.

21            Q.    All right.    So it wasn't your experience that
22   he did write untruthful things.          How you would you

23   describe working with Jeff Bloom?

24            A.    I enjoyed working with Jeff Bloom.         I thought
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                               BARRY WINKLER, M.D.                         239


 1   he was a good attorney and very easy to work with.

 2         Q.     Okay.   And how would you describe his quality

 3   of work?

 4         A.     Very good.    I think he's a very good attorney

 5   and always came very prepared to our evaluations.

 6         Q.     And would you say that he -- he was fair in

 7   his dealings with CHS staff?

 8                MS. CANFIELD:    Objection as to form.       You can

 9         answer.

10         A.     He was always fair, I felt, in his dealings
11   with me.

12        Q.      Okay.   Do you think that he was fair with
13   anyone else?

14        A.      Not that I ever noticed or observed.

15         Q.     Did you ever hear complaints about

16   Mr. Bloom's behavior towards CHS staff?
17         A.     No, I don't recall hearing any complaints

18   about him.

19                MS. HAGAN:    I'm going to show you what will

20         be marked as Plaintiff's Exhibit 21.          Plaintiff's

21         Exhibit 21 bears the Bates Stamp Series NYC_2739.
22

23                (Plaintiff's Exhibit 21, DOCUMENT BATES

24                STAMPED NYC_2739, was marked for
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 240 of 353


     240                        BARRY WINKLER, M.D.


 1                  identification.)

 2

 3            Q.    And now, it's Bates stamped series NYC-2739.

 4   And do you see the document that I'm referencing, Dr.

 5   Winkler?

 6            A.    Yeah, I see it now.

 7            Q.    And the email starts with Ms. Swenson

 8   emailing Dr. Kaye, Dr. Jain, and Clarence Muirjr.              And

 9   the subject, “Question.”         She says, “Hello.      I had a

10   question come up regarding who is permitted to attend
11   730 examinations in the Bronx.          I understand that the

12   general policy is that only attorneys are allowed to sit
13   in.     Would you have something in writing reflecting

14   that?     I'd like to add support to the policy.          So any

15   written information would be helpful.”            You see that;

16   right?
17            A.    Yes.

18            Q.    Now, what was your dealings with Ms. Swenson?

19                  MS. CANFIELD:     Objection.    You can answer.

20            A.    Well, Ms. Swenson is the administrative

21   supervisor -- she's the supervisor for the clerical
22   personnel for each of the court clinics.            So I sometimes

23   deal with her if I have questions about -- that are

24   clerical, staff.
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                              BARRY WINKLER, M.D.                          241


 1         Q.    Did you sign off on your clerical staff time

 2   sheets?

 3         A.    No, I don't.

 4         Q.    And did you ever, since you have ever been at

 5   the Brooklyn Court Clinic?

 6         A.    No.

 7         Q.    Okay.    Now, for your -- for the clinicians at

 8   the clinic, do you just sign off on their time sheets?

 9         A.    No.    I don't sign off on their time sheets

10   either, because they have some kind of computer issue.
11   So actually, Dr. Weisman has to sign off on them.

12         Q.    And -- and has this been the case of you not
13   signing off any of the clinician's time sheets since

14   you've been director at the Brooklyn Court Clinic?

15         A.    Yes.

16         Q.    Do you evaluate the other clinicians on site?
17         A.    When you say “evaluate,” do you mean do I

18   have to prepare an annual evaluation form?

19         Q.    Yes.

20         A.    There was one year -- I believe it was one

21   year we were required to complete annual evaluations,
22   but then that has not been continued after that one time

23   that we did it.

24         Q.    Okay.    And then, did Dr. Kaye ever complain
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 242 of 353


     242                         BARRY WINKLER, M.D.


 1   to you that her managerial job functions had been taken

 2   away from her?

 3                  MS. CANFIELD:     Objection to form.      You can

 4            answer.

 5            A.    Can you give me some more specifics?

 6            Q.    Like, for example, it was my understanding

 7   that at some point that Dr. Kaye managed Ms. Persaud.

 8   Is that your understanding too?

 9                  MS. CANFIELD:     Objection to form.      When?   You

10            can answer.
11            A.    I believe that prior to the CHS takeover,

12   that the clerical staff of each clinic was directly
13   supervised by the clinic director.           So then yes, Dr.

14   Kaye would have supervised Ms. Persaud.

15            Q.    Now, do you, as a manager of the Brooklyn

16   Court Clinic have, I guess, access to the calendars of
17   the staff and the administrative staff and clinicians at

18   the clinic?

19            A.    You mean the assigned case -- their assigned

20   cases, that calendar?

21            Q.    Yes.
22            A.    Yes, I do.

23            Q.    Did Dr. Kaye ever complain to you that she

24   didn't have access to the calendar at her -- at her
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 243 of 353


                               BARRY WINKLER, M.D.                         243


 1   clinic?

 2                MS. CANFIELD:    Objection.     You can answer.

 3           A.   I -- I think she did say that at one point.

 4   Yes, I do seem to recall that.

 5           Q.   So she complained about having access to the

 6   calendar.    Do you recall how it was resolved, if it was

 7   resolved?

 8           A.   I don't know.    I don't recall, or I'm not

 9   sure I even know how it was ever resolved.

10           Q.   Now, was there ever a time where a Lorraine
11   McEvilley asked specifically that you conduct an exam

12   with Dr. Kaye?
13           A.   I do recall that, yes.

14           Q.   Do you remember exactly what the

15   circumstances were or somewhat what the circumstances

16   were?
17           A.   I -- I don't -- I don't.      If you can give me

18   some more specifics that might refresh me if I do --

19           Q.   Sure.

20           A.   -- have a memory of that.

21                MS. HAGAN:    So why don't we do this?       I'm
22           going to show you a document, what will be

23           Plaintiff's Exhibit 22.     Right.    And Plaintiff's

24           Exhibit 22 bears the Bates Stamp Series NYC_3036
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 244 of 353


     244                        BARRY WINKLER, M.D.


 1            and NYC_3037.

 2

 3                  (Plaintiff's Exhibit 22, DOCUMENT BATES

 4                  STAMPED NYC_3036 and NYC_3037, was marked for

 5                  identification.)

 6

 7            Q.    You see that; right?

 8            A.    Yes, I do see it.

 9            Q.    Okay.   And for purposes -- I'm going to

10   scroll down so you can see the beginning of the thread.
11   Okay.     So the email starts from -- it starts with Dr.

12   Kaye emailing Ms. Persaud, Dr. Jain, Dr. Brayton, and
13   Ms. McEvilley.        You see this; right?

14            A.    Yes, I see it.

15            Q.    And in the subject is “Split Finding Parole

16   Case Third Evaluator Needed.”          Do you see this?
17            A.    Yes.

18            Q.    And it says, “Hi, Lucrecia, will need a third

19   evaluator to complete the CPL 730 exam due to a split

20   finding.      Please coordinate with Dr. Jain to assign a

21   third evaluator.”       You see that; right?
22            A.    Yes.

23            Q.    And then I would like to ask you:         How often

24   did you deal with Ms. McEvilley?          I guess it says here,
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 245 of 353


                               BARRY WINKLER, M.D.                         245


 1   she's the director of the parole revocation defense unit

 2   at Legal Aid Society.      Prior to you going on to become

 3   the director of the Brooklyn Court Clinic, how often

 4   would you interact with Ms. McEvilley?

 5         A.     I interacted with Ms. McEvilley fairly

 6   regularly.   She would sit in on any parole violation

 7   cases where a competency evaluation had been ordered.

 8         Q.     Okay.   And what was your working relationship

 9   like with Ms. McEvilley?

10         A.     Very good.
11         Q.     What did you think of Ms. McEvilley?

12         A.     I liked Ms. McEvilley.      I think she's a very
13   good lawyer, very bright.

14         Q.     Okay.   And did you think she treats the

15   staff, while you were there, fairly?

16         A.     Yes.
17         Q.     Okay.   So would you describe your

18   relationship or her relationship with any of the staff

19   as contentious?

20                MS. CANFIELD:    Objection to form.      You can

21         answer.
22         A.     No, I would not describe it as contentious.

23         Q.     Or hostile?

24                MS. CANFIELD:    Objection to form.      You can
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 246 of 353


     246                        BARRY WINKLER, M.D.


 1            answer.

 2            A.    No, not hostile.

 3            Q.    Okay.   So Ms. McEvilley writes to Dr. Kaye

 4   and Ms. Persaud, Dr. Jain, and Dr. Brayton again, and

 5   she says, “Good morning.         Regarding the split finding

 6   with one of the parole cases, since a third evaluator is

 7   needed, I ask that the third evaluator be someone other

 8   than Dr. Jain.       It is my understanding that a forensic

 9   competency evaluator cannot be a direct supervisor of

10   the second evaluator.        And since Dr. Brayton is one of
11   the evaluators on this case, and Dr. Jain is her direct

12   supervisor on this case, due to the Bronx Court Clinic
13   director, Dr. Kaye, being one of the other evaluators,

14   there would be an appearance of a conflict of interest

15   for Dr. Jain to be assigned as the third evaluator in

16   this matter.”       Did you agree with Ms. McEvilley on this
17   point?

18            A.    I agree that a supervisor of another

19   clinician should not be the second evaluator on a

20   competency evaluation.

21            Q.    So you agree with her?
22            A.    Yes, I agree with her.

23                  MS. CANFIELD:     Objection.

24            Q.    Then she says, “I request that if possible,
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                              BARRY WINKLER, M.D.                          247


 1   Dr. Barry Winkler, be third evaluator.         I am familiar

 2   with his work, and I feel confident in his skill set and

 3   integrity.   I am available to come to the Brooklyn Court

 4   Clinic to sit in on this case, if that would help

 5   facility the examination.      I guess she meant

 6   “facilitate.”

 7         Now, Dr. Winkler, did you think that Ms.

 8   McEvilley may have been overstepping her bounds by

 9   requesting that you specifically sit in on the exam?

10         A.     No.    I think she's allowed to make a request
11   such as that.      I don't think it's overstepping.

12         Q.     At any point, did Ms. McEvilley or anyone
13   else state that Dr. Brayton was being remediated?

14         A.     No.

15                MS. CANFIELD:    Objection to form.

16         Q.     Did at any point, did anyone -- did Ms.
17   McEvilley or anyone else state that Dr. Brayton was

18   being remediated?

19         A.     I know that Dr. Brayton, at some point,

20   underwent additional training.       I believe the word

21   “remediated” might have been used at some point.
22         Q.     Who would have possibly used that word; do

23   you know?

24         A.     I'm not sure.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 248 of 353


     248                         BARRY WINKLER, M.D.


 1            Q.    Would “remediated” have been the appropriate

 2   word?

 3            A.    I'm not exactly sure of the -- I'm not sure

 4   of the exact definition of remediate.           But my

 5   understanding was that she was receiving additional

 6   training.

 7            Q.    Okay.   Thank you.

 8                  Now, was there ever a time where the person

 9   designated to do Dr. Brayton's performance evaluation

10   became an issue?
11                  MS. CANFIELD:     Objection to form.      You can

12            answer.
13            A.    I don't know.     I don't recall.

14            Q.    You're not sure?

15            A.    Yeah.

16                  MS. HAGAN:    So let's -- let's start with the
17            -- just a little bit of an overview, so we could

18            have a clear record regarding Dr. Brayton's tenure

19            at CHS.

20                  So this will be Plaintiff's Exhibit 23?

21
22                  (Plaintiff's Exhibit 23, DOCUMENT BATES

23                  STAMPED NYC_2153, was marked for

24                  identification.)
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 249 of 353


                              BARRY WINKLER, M.D.                          249


 1           Q.   And Plaintiff's Exhibit 23 bears the Bates

 2   Stamp Series NYC_2153.      And it's dated October 10th,

 3   2018.    And I'm going to share the screen, because I'm

 4   not sharing it apparently.       And now, can you see the

 5   exhibit?

 6           A.   I see it.

 7           Q.   Okay.   So on October 10th, 2018, Dr. Kaye

 8   emails you, Dr. Winkler, Dr. Mullan, and Ms. Persaud.

 9   And the subject is “Psychological Testing Referral, DD.”

10   Is that the initial of a defendant?
11           A.   I'm assuming that it is.

12           Q.   Okay.   She says, “Hi, Barry.      We need
13   malingering testing on (redacted).        He presented in

14   somewhat of a spurious manner with possible delusional

15   material, but it seemed overdone.        We need collateral

16   data to call it and for report preparation.          Perhaps,
17   you can use this as a training case for Dr. Brayton, and

18   she can do the testing and write up, the psychological

19   testing report.”     You see that; right?

20           A.   Yes.

21           Q.   Now, would you say this is fairly early on in
22   Dr. Brayton's tenure?      This is October 2018; right?

23           A.   Yes.

24           Q.   So would you say this is around the time that
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 250 of 353


     250                        BARRY WINKLER, M.D.


 1   Dr. Brayton started at the court clinic?

 2            A.    Yes, I believe it was.

 3            Q.    And would you say that Dr. Kaye was being

 4   helpful that -- suggesting that the testing -- that, you

 5   know, that she can take part in the testing of this

 6   particular defendant at this time?

 7            A.    Yes.

 8            Q.    Okay.    So then, you respond to Dr. Kaye:

 9   “That's a good idea.        I put him on tentatively for

10   Friday, October 26.        I've cc'd Anansa on this email, so
11   she can confirm that she will be available that day.”

12   You see that; right?
13            A.    Yes.

14            Q.    And she was there, of course; right?

15            A.    Yes.

16            Q.    How did this go when she sat in on that
17   training on that day?

18            A.    I don't remember what happened with that

19   case, honestly.        I don't remember if she did the testing

20   and did a report.       I don't recall.

21            Q.    Now, when you trained Dr. Brayton, was she
22   receptive to your critique and/or assessment of her

23   work?

24            A.    Yes.    I would say she was receptive.
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                              BARRY WINKLER, M.D.                          251


 1         Q.    But she was not receptive to Dr. Kaye's

 2   assessment of her work; would that be accurate?

 3               MS. CANFIELD:     Objection to form.      You can

 4         answer.

 5         A.    I don't know.     I can't speak to whether she

 6   was receptive to Dr. Kaye or not.        I don't know.

 7         Q.    Well, you testified earlier that Dr. Brayton

 8   articulated to you that Dr. Kaye did not like how she

 9   wrote her reports; right?

10         A.    Did not like how she conducted her interviews
11   in particular.

12         Q.    And did you like the way Dr. Brayton
13   conducted her interviews?

14               MS. CANFIELD:     Objection.     Asked and

15         answered.    You can answer.

16         A.    I did not -- I felt that she asked some
17   questions that didn't need to be asked.

18         Q.    Did you tell Dr. Brayton as much?

19         A.    I believe I did discuss it with her.

20         Q.    And how did Dr. Brayton react?

21         A.    She was receptive.
22         Q.    Did she alter or modify how she conducted the

23   interview that you gave her your case?

24         A.    She did not alter it significantly, no.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 252 of 353


     252                         BARRY WINKLER, M.D.


 1            Q.    And how did you react that she continued to

 2   do whatever she did?

 3            A.    I reinforced it with her again.

 4            Q.    And then what happened?

 5            A.    Well, I did not do that many interviews with

 6   her.     That would have been towards the end of her

 7   training with us.       And then I think not long after that,

 8   she went up to the Bronx.

 9            Q.    Okay.    Now, you said that at times, her

10   reports had some deficiencies.          Would that be accurate?
11            A.    Yes, that's accurate.

12            Q.    Now, did you identify these deficiencies to
13   Dr. Brayton?

14            A.    Yes.    I made corrections on some of her

15   reports.

16            Q.    And how did she react when you made these
17   corrections?

18            A.    She was receptive.

19            Q.    Did she try to improve upon her report

20   writing abilities after you critiqued her?

21            A.    I think she tried.
22            Q.    She tried.    What happened?     When you say,

23   “She tried,” it suggests she wasn't successful.             What

24   happened?
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 253 of 353


                              BARRY WINKLER, M.D.                          253


 1               MS. CANFIELD:     Objection to form.      He can

 2         answer.

 3         A.    Her report quality, in my opinion, did not

 4   improve drastically.

 5         Q.    And was it detrimental for her to constantly

 6   perform her job?

 7               MS. CANFIELD:     Objection to form.      You can

 8        answer.

 9         A.    I'm sorry.     Can you say it again?      I didn't

10   get all of it.
11         Q.    Are these detriments -- did it impact her

12   ability to constantly perform her job?
13         A.    It impacted her ability to clearly

14   communicate her opinion in her report.

15         Q.    Was Dr. Brayton competent?

16         A.    I think she's competent, but she had some
17   deficiencies that needed to be addressed.

18         Q.    I asked you:     Did you evaluate Dr. Brayton?

19               MS. CANFIELD:     I don't know if the court

20         reporter heard that.        It was --

21               THE REPORTER:     I got it.
22               MS. HAGAN:     I --

23               MS. CANFIELD:     I know, but can you just

24         repeat it.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 254 of 353


     254                           BARRY WINKLER, M.D.


 1            Q.      Did Dr. Brayton -- did you evaluate Dr.

 2   Brayton?

 3                  MS. CANFIELD:      No.    The one before that, the

 4            competency.

 5                  MS. HAGAN:      Was Dr. Brayton competent, and he

 6            said yes, but she has deficiencies.          That's what

 7            he said.     Isn't that right?

 8                    MS. CANFIELD:    Did you get that.

 9                    MS. HAGAN:    Yes, she got it.      Didn't you get

10            that.
11                  THE REPORTER:      Yes, I did get it.

12                  MS. HAGAN:      Okay.    Thank you.    I did not hear
13            it, but --

14            Q.    Now, Dr. Winkler, you evaluated Dr. Brayton,

15   didn't you?

16            A.    I supervised her work, some of it.
17            Q.      At some point, did you complete a performance

18   evaluation for Dr. Brayton?

19            A.    I don't recall if I did or not.

20

21                    (Plaintiff's Exhibit 24, DOCUMENT BATES
22                  STAMPED NYC_1310 and NYC_1311, was marked for

23                  identification.)

24
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 255 of 353


                              BARRY WINKLER, M.D.                          255


 1         Q.    Let me show you what's been marked as

 2   Plaintiff's Exhibit 24.      Maybe this will help.

 3   Plaintiff's Exhibit 24 bears Bates Stamp series]

 4   NYC_1310 and NYC_1311.      And it starts with an email from

 5   Dr. Kaye to Dr. Jain and Dr. Winkler.         Do you see this;

 6   right?

 7         A.    Yes.

 8         Q.    And it's dated February 25th, 2019; is that

 9   right?

10         A.    Yes.
11         Q.    And the subject is “Dr. Brayton's Employee's

12   Performance Evaluation”; right?
13         A.    Yes.

14         Q.    And I'm going to go to the bottom of it, so

15   you can get the full context.       I wouldn't want you not

16   to have that.    So at the beginning of this thread,
17   there's an email from Dr. Jain to Dr. Kaye and yourself.

18   And Dr. Jain says, “Hi, Dr. Kaye.        Dr. Brayton's

19   employee performance evaluation, blank form attached, is

20   due next Wednesday, February 27.        Would you like to

21   complete it or because she has thus far spent more time
22   in Brooklyn than Bronx, would you like Dr. Winkler and

23   me to complete it?     Either way should be fine.        And even

24   if Dr. Winkler and I formally complete it, we can
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     256                         BARRY WINKLER, M.D.


 1   certainly incorporate any feedback you have regarding

 2   what you have observed of her performance so far.              Thank

 3   you so much.”

 4            Now, this is February 22nd, 2019, and we agreed

 5   that Dr. Brayton started, perhaps, at court clinic with

 6   CHS in the fall of 2018; would that be accurate?

 7            A.    Yes, I think that's accurate.

 8            Q.    So we are talking a good, let's say, three

 9   months in 2018, another -- so she's been here about five

10   months.       Would that be accurate, five or six months;
11   right?

12                  MS. CANFIELD:     Objection to the form.       You
13            can answer.

14            A.    That sounds accurate.

15            Q.    Okay.   Now, I'm going to scroll up.        Now, Dr.

16   Kaye responds, “Hi, Beesh.         Thanks for reaching out.
17   Dr. Brayton started in the Bronx in mid-December.”

18   Would that be accurate?

19                  MS. CANFIELD:     Objection to form.

20            A.    I think --

21                  MS. CANFIELD:     You can answer.
22            A.    I think it is.

23            Q.    Okay.   “Since that time, as you know, I have

24            Been out due to the unexpected death of my
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 257 of 353


                              BARRY WINKLER, M.D.                          257


 1   brother and FMLA to care for my child in the context of

 2   the adverse shift change.”       Do you recall that being

 3   some of the circumstances at the time with Dr. Kaye?

 4         A.    Yes, I do.

 5         Q.    Okay.    As a result, I have not had much

 6   opportunity to work with Dr. Brayton.         I know Barry

 7   supervised and trained her for months in Brooklyn before

 8   she was sent to work in the Bronx.        At this point, I

 9   think it's best that you and Barry complete her

10   performance evaluation.      In so doing, please feel free
11   to incorporate the feedback I've given to both of you as

12   you see fit.    Anansa approached me last week asking if
13   she could shadow a clinician in an emergency room in

14   order to shore up her clinical skills.         I think that

15   experience could be helpful to her, but I told her she

16   would need to pursue approval and logistics of that
17   through you.    Thanks, Melissa.”      You see that; right?

18         A.    Yes.

19         Q.    Now, in fact, you and Dr. Jain complete an

20   evaluation for Dr. Brayton?

21         A.    I may have.     I honestly don't remember
22   completing it, if I did.

23         Q.    What would you rate Dr. Brayton's performance

24   on?
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 258 of 353


     258                         BARRY WINKLER, M.D.


 1            A.    Rating in terms of -- what are the choices?

 2            Q.    Well, there's fully competent.        You know, do

 3   you remember the rating for yourself?

 4            A.    I don't recall the ratings.

 5            Q.    So you're not sure if you rated Dr. Brayton;

 6   right?

 7            A.    I don't recall.

 8            Q.    And you're not sure if -- you're not sure

 9   what you would have rated her; am I right?

10            A.    I don't know what the rating choices were.           I
11   don't recall --

12            Q.    Did you --
13            A.    -- (indiscernible).

14                  MS. HAGAN:    I decided to modify the question.

15            Q.    Would you say that Dr. Brayton was a bad

16   employee?
17            A.    Bad employee, no.

18            Q.    Would you say that she did not perform the

19   functions of her job in a satisfactory manner?

20            A.    I would say she required improvement in how

21   she performed certain functions.
22            Q.    Would you have hired Dr. Brayton knowing how

23   she performed?

24                  MS. CANFIELD:     Objection.    Hindsight's always
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 259 of 353


                              BARRY WINKLER, M.D.                          259


 1         20/20.    You can answer.

 2               MS. HAGAN:     Yeah.

 3         A.    If I knew the quality of her work, I probably

 4   would not have hired her -- would not hire her now.

 5         Q.    Okay.    Thank you.

 6               Now, I'm going to show you what will be

 7   marked as Plaintiff's Exhibit 25.        Plaintiff's Exhibit

 8   bears the Bates Stamp Series NYC_1649.

 9
10               (Plaintiff's Exhibit 25, DOCUMENT BATES
11               STAMPED NYC_1647, was marked for

12               identification.)
13
14         Q.    I want to make sure this is right, and let

15   me share it with you.      And Plaintiff's Exhibit 25 is an

16   email that appears to be Dr. Jain seeking some
17   contribution or some, you know, feedback from you.           And

18   it's dated August 27th, 2019.       And the subject is

19   “Anansa Supervision.”      You see that; right?

20         A.    I see it.

21         Q.    Was this like -- did this happen between you
22   and Dr. Jain fairly frequently, I would say, during the

23   course of his tenure at CHS?

24         A.    Did what happen?
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 260 of 353


     260                          BARRY WINKLER, M.D.


 1            Q.     Did he reach out to you for guidance in

 2   managing or writing things to specific employees?

 3            A.     No, it wasn't a regular thing.       I think in

 4   this case, since I had done some supervision of Dr.

 5   Brayton, that's why he asked me if there was anything I

 6   wanted to contribute or change.

 7                   MS. CANFIELD:    I'm sorry.    Did you say 1649?

 8            It looks like 1647.      That's the proper one.

 9                   MS. HAGAN:    I guess it's 1647.     That's the

10            proper one.
11                   MS. CANFIELD:    Thank you.    All right.     Thank

12            you.
13                   MS. HAGAN:    Why we modify that for the

14            record.    Exhibit 25 is NYC_1647.       And just to make

15            sure that we don't miss anything, let's see what

16            1649 says.    We can pull that up.       For purposes of
17            -- that's an out-of-office email.         So I'm not sure

18            that that is for Dr. Winkler.        But back to --

19                   MS. CANFIELD:    Okay.   I just wanted to clear

20            this up.

21            Q.     So back to 1647.    Now that Dr. Winkler had
22   some more time to think, I don't think he needed any,

23   but here it is:       “Hi, Barry, I'm going to reach out to

24   Dr. Kaye and CC you.         Anything you would like me to
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                              BARRY WINKLER, M.D.                          261


 1   change/add to this email?”       And then he writes, “Hi, Dr.

 2   Kaye.    As we've generally discussed, we would like to

 3   continue being available to provide supervision for Dr.

 4   Brayton, especially on specific cases in which you may

 5   not be able to do so because you are also the

 6   co-examiner.    I believe Dr. Brayton?

 7           Actually has some recent cases she would like to

 8   discuss, and I would like -- I will try to meet with

 9   her for supervision.     Please let us know, and we can

10   also be available by phone if there are any areas which
11   you think it would be useful for us to focus on with

12   her.    Thanks so much, Beesh.”
13           Now, you know, does the issue -- was there a

14   concern by Dr. Kaye about supervising directly with Dr.

15   Brayton?

16           A.   I don't know of any issue other than she --
17   if she was the co-examiner, then as we discussed

18   previously, the supervisor doesn't typically or

19   shouldn't -- couldn't -- the co-examiner should not be

20   supervising the other examiner.

21           Q.   Right.   Right.    So ultimately, was there like
22   any resolution as it -- as it pertained to this issue

23   with Dr. Brayton and Dr. Kaye as far as --

24                MS. CANFIELD:     Objection.    Objection to form.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 262 of 353


     262                         BARRY WINKLER, M.D.


 1                  MS. HAGAN:    I didn't even finish my question.

 2            So -- yes.

 3            Q.    Was there any resolution?

 4            A.    I'm not sure what you're asking me, if

 5   there's any resolution.

 6                  (Plaintiff's Exhibit 26, DOCUMENT BATES

 7                  STAMPED NYC_3111 and NYC_3112, was marked for

 8                  identification.)

 9
10                  MS. HAGAN:    Let's move on.     So I'm going to
11            be showing you what's marked as Exhibit 26 --

12            Plaintiff's Exhibit 26, and it bears the Bates
13            Stamp Series NYC_31 -- 3111 and NYC_3112.          And I'm

14            going to share it.

15            Q.    So here at the bottom of this email, there is

16   -- it's from Dr. Jain to Dr. Kaye and yourself.             Again,
17   this is on August 27th.         It starts with (indiscernible).

18   Now, do you kind of have to look at this?

19            A.    Well, I believe it's the same email that we

20   just reviewed.

21            Q.    Right.   But then we go up.      And then Dr. Kaye
22   responds:      “Hi, Beesh.    I'm reaching out to follow up on

23   your email about the operations and staffing at the

24   Bronx Court Clinic.        And this is on August 28th, 2019.
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                              BARRY WINKLER, M.D.                          263


 1   I'd like to find a time we can meet with Barry to come

 2   up with a strategy and to develop our ability in the

 3   Bronx to work as a team and discuss your expectations

 4   and best practices that you'd like to use in the Bronx.”

 5   Do you recall that?

 6           A.   This email do I recall, or do I recall

 7   meeting?

 8           Q.   Do you recall Dr. Kaye trying to meet with

 9   the two of you to develop a team strategy on how to

10   supervise Dr. Brayton?
11           A.   I remember her talking about wanting to do

12   it, yes.
13           Q.   When did -- did the meeting ever take place?

14           A.   I don't recall if it did or not.

15           Q.   Okay.   Then Dr. Jain says, “This is a good

16   idea.    Unfortunately, I will not be able to meet today,
17   but we can try to plan something for next week, either

18   an in-person meeting or a phone call if that's more

19   conducive to get things started.        In the meantime, on a

20   separate note, would you be available for a brief phone

21   call today to get your input regarding our process for
22   getting records?     That's another topic.”

23                Now, was Dr. Kaye being reasonable when

24   trying to have a meeting with you to figure out how Dr.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 264 of 353


     264                        BARRY WINKLER, M.D.


 1   Brayton should be supervised going forward at that time?

 2                  MS. CANFIELD:     Objection to form.      You can

 3            answer.

 4            A.    I think that's a reasonable request.

 5            Q.    Do you believe that Dr. Jain was being

 6   cooperative with Dr. Kaye's effort in trying to resolve

 7   the issues?

 8            A.    If I recall, his response was that he said it

 9   was a good idea to meet.

10            Q.    But did it ever happen?
11            A.    I don't recall that it happened.

12            Q.    You don't remember either way?
13                  MS. CANFIELD:     Objection to form.

14            Q.    You don't remember if the meeting happened;

15   is that right?

16            A.    I don't recall having a meeting.
17            Q.    And you don't recall who evaluated Dr.

18   Brayton; is that correct?

19                  MS. CANFIELD:     Objection to form.      You can

20            answer.

21            A.    The formal evaluation, I don't recall if I
22   did one for her or not.         I know the email says I did, so

23   I assume I did.       But I don't recall doing it.

24            Q.    You don't recall what you rated her at; am I
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 265 of 353


                                BARRY WINKLER, M.D.                        265


 1   right?

 2         A.      No, I don't recall doing it.

 3               MS. CANFIELD:      Just note for the record, I

 4         don't have a copy of that batch that you sent

 5         over.    Plaintiff's Exhibit Number 26.

 6               MS. HAGAN:      I'm not sending anymore because

 7         it's there.     You have it, you just can't find it

 8         right now.

 9                 MS. CANFIELD:    Okay.   So I'll assume that you

10         will change your mind, and you'll send it over
11         later, consistent with Judge Cott's --

12                 MS. HAGAN:    Because it's there in the email.
13         You need to look at your email.

14               MS. CANFIELD:      I am looking right now.      I've

15         looked twice.     It's not there.

16               MS. HAGAN:      You are stalling.    Please --
17                 MS. CANFIELD:    I'm actually not.     I'm just

18         trying to be -- talking about reasonable.           I'm

19         trying to be reasonable here.        I don't have a

20         copy.    I'm noting it for the record that I don't

21         have a copy.
22               MS. HAGAN:      Because it will be a

23         misrepresentation, and if I'm right, I'm going to

24         write the court.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 266 of 353


     266                         BARRY WINKLER, M.D.


 1                  MS. CANFIELD:     That's fine.     If you're right,

 2            I will apologize as you pointed out.         I do not see

 3            it.

 4                  MS. HAGAN:    Stop it.

 5                  MS. CANFIELD:     Excuse me.

 6            Q.    Now, Dr. Winkler, I'm going to show you

 7   what's going to be marked as Plaintiff's Exhibit 27.

 8   Plaintiff's Exhibit 27 bears the Bates Stamp Series

 9   NYC_3117 to NYC_3119.

10
11                  (Plaintiff's Exhibit 27, DOCUMENT BATES

12                  STAMPED NYC_3117 THROUGH NYC_3119, was marked
13                  for identification.)

14

15            Q.    Do you see that?

16            A.    I see an exhibit, yes.
17            Q.    Okay.   And the record -- and just for the

18   purposes of the record, it is from Dr. Jain to Dr. Ford.

19   And then it's regarding Dr. Brayton's supervision.              And

20   it's dated September 5th, 2019.          Do you see that?

21            A.    Yes.
22            Q.    Okay.   And I'm going to scroll down to the

23   bottom of the exhibit.         Do you see that?     I'm going to

24   go back to the bottom of this particular email thread,
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                              BARRY WINKLER, M.D.                          267


 1   not the exhibit.     I'm going to be asking about NYC_3119.

 2   You see that?

 3         A.     Yes.

 4         Q.     Okay.   So it's Dr. Jain to Dr. Kaye and Dr.

 5   Winkler.    And the subject is “Dr. Brayton's

 6   Supervision.”    It says, “Hi, Dr. Kaye.       As we've

 7   generally discussed, we can continue being available to

 8   provide supervision to Dr. Brayton, especially on

 9   specific cases in which you may not be able to do so

10   because you are also the co-examiner.         I believe Dr.
11   Brayton actually has some recent cases she would like to

12   discuss,” and -- you know, and this is an earlier email;
13   right?   And then it goes up to Dr. Kaye has read this

14   email already.      And go again.   And then Dr. Kaye talks

15   about being available to now speak on the phone.           Do you

16   see that?
17         A.     I see, “Can I call you at 9 a.m. if that

18   still works.”

19         Q.     And that's Dr. Jain.      And then Dr. Kaye says,

20   “I'm leaving for a meeting at Water Street shortly.            Can

21   you call now or this afternoon?”        And then he says, “We
22   can try this afternoon.      No problem.”     Right?   And then

23   Dr. Jain says, “Just as a brief update, as I think you

24   know, I will be helping out and seeing a case with Dr.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 268 of 353


     268                         BARRY WINKLER, M.D.


 1   Brayton next Tuesday.”           Now, Dr. Jain is Dr. Brayton's

 2   supervisor; right?

 3            A.    He was the supervisor for all the clinics.

 4   So yeah, technically, he was one of her supervisors.

 5            Q.    So wouldn't evaluating a case be problematic

 6   in and of itself?

 7            A.    If he was going to be the co-evaluator and to

 8   also supervise her report, then that would be a problem.

 9            Q.    Yes.    “Any supervision on the case, I will

10   suggest to her that she can come to either of you, Drs.
11   Kaye or Winkler, where as needed.           Otherwise, looking

12   forward to discussing the plan going forward next week.
13   All the best.”         Right?

14                  Now, then here it is, he says, “He plans on

15   meeting with Dr. Kaye and Winkler to discuss Dr.

16   Brayton's supervision, and let me know if you have any
17   thoughts about this.”           And then you wouldn't know what

18   transpired there, and you're not sure if this meeting

19   ever took place between the three of you; am I right?

20                  MS. CANFIELD:       Objection.   Asked and

21            answered.     He can answer again.
22            A.    Yeah.    I'm not sure if it ever happened.

23            Q.    Okay.    Now, at any point, did anyone from the

24   Department of Investigations ever approached you about
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                              BARRY WINKLER, M.D.                          269


 1   complaints involving CHS in the court clinics?

 2         A.    Not allowed -- not sure if I'm allowed to

 3   answer that.

 4         Q.    You should be.

 5         A.    I was approached at some point by the

 6   Department of Investigation.

 7         Q.    When was that?

 8         A.    Recently.

 9         Q.    How recent?

10         A.    I was contacted about a week ago.
11         Q.    And what -- to the extent that you can, what

12   did they ask you about, Dr. Winkler?
13               MS. CANFIELD:     Objection.     I think those

14         investigations are confidential.         He's not going

15         to be able to testify to it.

16         A.    I'm not going to.      They told me it was
17   confidential.    I'm not going to share that.

18         Q.    It was confidential, but were you ever

19   approached by the Board of Correction?

20         A.    Approached, no.

21         Q.    Did you receive any correspondence by the
22   Board of Correction?

23         A.    There was a complaint -- somebody filed a

24   complaint -- a defendant's family member, at some point,
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 270 of 353


     270                        BARRY WINKLER, M.D.


 1   filed a complaint.        This was a Brooklyn case.       I think

 2   it involved a delay in their family member being

 3   released because they claimed a report had not been sent

 4   to the court when, in fact, it had, and the court was

 5   unable to locate it.        That complaint was sent to the

 6   Board of Corrections and was eventually passed on or

 7   brought to my attention by Dr. Weisman.            And I generated

 8   a response once I found out that a report had actually

 9   been generated and that the court had just been unable

10   to locate it.
11            Q.    Now, did the Board of Correction approach you

12   about any of the complaints or any of the issues that
13   Dr. Kaye may have raised during the course of your

14   tenure at CHS?

15            A.    No.

16                  MS. CANFIELD:     Objection.    Assumes facts.
17            Q.    You said no, right, Mr. Winkler?

18            A.    I haven't been approached by Board of

19   Correction.      It just was a complaint that filtered down

20   to them.

21            Q.    Were you ever approached by the Inspector
22   General's Office?

23            A.    No.

24            Q.    Okay.   And now, at any point, did you
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                              BARRY WINKLER, M.D.                          271


 1   participate in interviewing a Catalina Hackworth,

 2   Doctor?

 3         A.     Yes.

 4         Q.     So you did; right?

 5         A.     Yes.

 6         Q.     And was Dr. Hackworth also retired?

 7         A.     Yes.

 8         Q.     Would it be fair to say that Dr. Hackworth

 9   started after Dr. Kaye had left the Bronx Court Clinic?

10         A.     I don't -- I don't recall exactly when she
11   started, if there was any overlap, or it was after Dr.

12   Kaye left.
13         Q.     Would it be fair to say that Dr. Hackworth at

14   the court clinic approximately 13 months?

15         A.     I don't know.

16                MS. CANFIELD:    Objection to form.      I'm sorry,
17         Bronx Court Clinic?

18         Q.     Would it be fair to say that Dr. Hackworth

19   worked for CHS for approximately 13 months?

20         A.     I don't know how long she worked there.

21         Q.     Did Dr. Hack -- was Dr. Hackworth hired to
22   work specifically at a (indiscernible) clinic?

23         A.     She was hired to work at the Bronx Court

24   Clinic.
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     272                         BARRY WINKLER, M.D.


 1            Q.    Did she work there for the duration of her

 2   employment at CHS?

 3            A.    Yes.

 4            Q.    Okay.   Now, the pandemic, I guess, started in

 5   -- probably in March 2020.         Would that be accurate, Dr.

 6   Winkler?

 7            A.    It's when it impacted our operations, yes,

 8   March 2020.

 9            Q.    And how did it impact CHS operation?

10            A.    Initially, we worked completely remote from
11   home, five days a week.         And then in July, beginning of

12   July, 2020, we began a hybrid schedule of two days in
13   the office per week, three days at home.

14            Q.    Were there ever complaints that CHS weren't

15   seeing defendants for 730 examinations during the time

16   -- during the time?
17                  MS. CANFIELD:     Objection.    This was after

18            (indiscernible) case employment; so it's

19            irrelevant to the litigation.

20                  MS. HAGAN:    You can answer.

21            A.    There were delays, initially, in being able
22   to see any defendants because the video teleconference

23   system had to be established.          The doctors had to be

24   granted access to the virtual private network in order
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 273 of 353


                              BARRY WINKLER, M.D.                          273


 1   to be able to access the share drive where the reports

 2   are stored, and IT department took a long time to get

 3   that set up quite frankly and running.

 4           Q.   So when did it become operational, do you

 5   know?

 6           A.   I believe we started to see defendants

 7   remotely about two to three weeks after we left the

 8   offices and went to full remote from home.

 9           Q.   When was that?

10           A.   March, I believe, 16th was our last day in
11   the office, whatever the Friday is in March.          Around the

12   16th was our last day in the office.
13           Q.   Now, Dr. Hackworth eventually left in March

14   2021.    Would that be accurate?

15           A.   She eventually left.      I don't remember

16   exactly if it was in March 2021 or not.
17           Q.   Do you remember the circumstances that led to

18   her leaving -- leaving?

19           A.   She -- my understanding is she got a new job.

20           Q.   Now, did you hear anything about Dr. Kaye's

21   resignation from (indiscernible)?
22                MS. CANFIELD:    Objection to form.      You can

23           answer.

24           A.   I was told by Dr. Jain that Dr. Kaye had
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 274 of 353


     274                         BARRY WINKLER, M.D.


 1   resigned.      I asked him why, he said he didn't know.            And

 2   that's all I ever heard about it.

 3            Q.    You didn't -- you didn't hear that Dr. Kaye

 4   wasn't allowed to provide two weeks' notice when she

 5   resigned.      Did you hear that?

 6            A.    No.

 7                  MS. CANFIELD:     Objection to form.      You can

 8            answer.

 9            A.    I did not hear.

10            Q.    No; right?
11            A.    No.   I --

12                  MS. CANFIELD:     No, he did not hear that.
13            A.    I did not hear it.

14                  MS. HAGAN:    Let him answer the question.

15            Q.    He said no, he did not hear that.         Is that

16   right, Dr. Winkler?
17            A.    That is correct.

18            Q.    Okay.   Has it ever been your experience that

19   a person would not be allowed to give two weeks'

20   resignation when they resign from the court clinic?

21                  MS. CANFIELD:     Objection to form.
22            A.    I don't know what the normal procedure is

23   when somebody resigns.

24            Q.    Has anyone resigned on the same day in your
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 275 of 353


                              BARRY WINKLER, M.D.                          275


 1   experience with the court clinic?

 2               MS. CANFIELD:     Objection to form.

 3         A.    I haven't been involved in anybody who

 4   resigned from the clinic; so I don't know.

 5         Q.    Well, Dr. Ford was there when Dr. Ford

 6   resigned; right?

 7         A.    Dr. Ford left to go to another job.          But I

 8   don't know the circumstances about how she left or what

 9   happened.

10         Q.    Did Doctor -- you're not sure if Dr. Kaye --
11   Dr. Ford left the same day she issued her letter of

12   resignation?
13         A.    No, I have no idea.

14         Q.    Do you speak to Dr. Ford -- when was the last

15   time you spoke to Dr. Ford?

16         A.    I don't even remember.       Maybe a couple of
17   months after I went down to Brooklyn.         I don't even

18   remember the last time I spoke with her.

19         Q.    Are you and Dr. Ford friendly?

20         A.    Say that again.

21         Q.    Are you and Dr. Ford friendly?
22         A.    We are not friends.      I haven't spoken to her

23   since she left.

24         Q.    Okay.    And so you're not aware of any --
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 276 of 353


     276                        BARRY WINKLER, M.D.


 1   you're not aware, either way, of any instances where a

 2   person would tender their letter of resignation and

 3   would be told they have to leave on the spot?

 4                  MS. CANFIELD:     Objection.    No foundation.

 5            Asked and answered.      You can answer it.

 6            A.    I have not been involved with anyone who

 7   resigned or tendered their resignation.            I don't know

 8   what happened with other people who resigned.

 9            Q.    Did you ever reach out to Dr. Kaye after she

10   resigned?
11            A.    No.

12            Q.    Why not?
13            A.    I figured if she wanted to speak with me, she

14   would contact me.

15            Q.    Weren't you and Dr. Kaye friends?

16            A.    Yes, I think we were friends.
17            Q.    So you think you were friends, but you didn't

18   reach out to your friend to find out what happened when

19   she left her job?

20                  MS. CANFIELD:     Objection to form.      You can

21            answer.
22            A.    I didn't reach out.      She left precipitously.

23   I wasn't sure what happened.          I didn't get any

24   information.       I felt that if she wanted to talk to me
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 277 of 353


                              BARRY WINKLER, M.D.                          277


 1   about it, she would contact me.

 2         Q.      Did you and Dr. Kaye ever socialize outside

 3   of work?

 4         A.    Yeah.    There were some times when we did.

 5         Q.      Can you describe?

 6         A.    Say it again.

 7         Q.      Can you describe?

 8         A.      We had lunch at times.     I think we had dinner

 9   a couple of times.

10         Q.    Did you ever meet Dr. Kaye's children?
11         A.      Yes, I did meet her children.

12         Q.    And how often would you say you came in
13   contact with her children?

14         A.    At one point, I saw them fairly regularly.

15   She lived close to where I lived in Manhattan.

16         Q.      So you would see them in the neighborhood?
17         A.    Yes, I would see them.       I was at her

18   apartment also, where I saw them.

19               MS. HAGAN:     So that's all I have.

20               MS. CANFIELD:     Okay.    I have a couple of

21         questions as follow-up.
22

23   EXAMINATION

24   BY MS. CANFIELD:
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 278 of 353


     278                         BARRY WINKLER, M.D.


 1            Q.    Dr. Winkler, you testified earlier that you

 2   received word that Dr. Yang had called the DA's office

 3   to have an inmate removed from Rikers' Island without

 4   exam.     Who did you receive word from?

 5                  MS. HAGAN:    Objection as to form.       Compound

 6            question.     Leading question.

 7            Q.    You can answer.

 8            A.    I don't recall if we received the information

 9   from somebody in the DA's office, or it might have been

10   Jeff Bloom.      I don't honestly recall who told us that.
11            Q.    Okay.    Do you know how you were told?        Was

12   this in-person?
13                  MS. HAGAN:    Objection to form.

14            A.    I believe we were told in-person.

15            Q.    Okay.    But you don't recall who, in fact, had

16   told you?
17            A.    I don't, no.

18            Q.    Is it possible that Dr. Kaye told you?

19                  MS. HAGAN:    Objection to form.      Leading.

20            A.    My sense is that it was told to us by

21   somebody and that it was not Dr. Kaye telling me that it
22   happened.

23            Q.    And your sense was it someone from Bellevue

24   or was it someone on the defense side?
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                              BARRY WINKLER, M.D.                          279


 1               MS. HAGAN:     Objection.    Leading.

 2         A.    I think it was -- my sense was that it was

 3   someone in the DA's office that called to tell us it had

 4   occurred or that it was defense, probably likely Jeff

 5   Bloom who had gotten that information somehow.

 6         Q.    Okay.    And what did you do with that

 7   information, if anything?

 8               MS. HAGAN:     Objection.

 9         A.    We -- I don't know that we did anything per

10   se, except continue with our normal procedure.           We did
11   eventually see that defendant.       We were obviously

12   concerned when we heard the information, but we did
13   eventually see that defendant and perform an evaluation

14   on him.

15         Q.    Okay.    And before you saw the defendant and

16   performed the evaluation, were you told again that you
17   needed to find this person unfit?

18               MS. HAGAN:     Objection to form.      Assumes facts

19         that weren't established.

20         A.    We -- from my recollection, whenever told

21   that we had to find the defendant unfit, we were told
22   that the DA's office had been called by Dr. Yang and

23   asked if the defendant could be found unfit by the DA's

24   office or deemed unfit and moved off Rikers.
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 280 of 353


     280                         BARRY WINKLER, M.D.


 1           A.     Okay.

 2            Q.    So you were told this again right before you

 3   were going to see or just this one instance that you

 4   already testified to?

 5                  MS. HAGAN:    Objection.

 6            A.    Just that one instance.

 7            Q.    Okay.   And this particular individual was

 8   never removed from Rikers without an examination --

 9   examination; is that correct?

10                  MS. HAGAN:    Objection.
11            A.    That's correct.     As far as I know, we saw

12   him.     We did an evaluation.
13            Q.    Okay.   I'm sorry.

14            A.    He was found fit.

15            Q.    Okay.   Thank you.     You also testified earlier

16   that Dr. Kaye complained to you about not being invited
17   to meetings.      Did you ever confirm that she had, in

18   fact, not been invited to meetings?

19                  MS. HAGAN:    Objection.

20            A.    I don't know that she -- I didn't confirm per

21   se with the people who set the meetings up that she
22   wasn't invited.

23            Q.    Okay.   So it's possible that she was, in

24   fact, invited to these meetings and then for some could
Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 281 of 353


                                BARRY WINKLER, M.D.                        281


 1   not attend?

 2                MS. HAGAN:     Objection.   Leading.    That's not

 3         what he testified to.

 4                MS. CANFIELD:     That's a hypothetical.      It's

 5         fair.

 6         A.      It's possible.

 7         Q.     Do you know when Dr. Kaye talked to you about

 8   her shift change, do you know if she grieved this with

 9   her union?

10                 MS. HAGAN:    Objection.   No foundation.
11         A.     I seem to remember -- I don't know if she

12   grieved it per se, but I seem to remember her saying
13   that she had contacted doctor's counsel about it.

14         Q.      And did she ever share with you what the

15   results of that contact was?

16                 MS. HAGAN:    Objection.   Assumes facts that
17         were not in evidence.

18         A.     I -- I think she said that they told her they

19   couldn't do anything about it.       I don't think she got no

20   satisfaction from it, or they told her she couldn't do

21   anything.
22         Q.     Okay.   And do you know if Dr. Kaye ever

23   requested to be switched to another line, like say, to

24   be paid by PAGNY like you were --
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     282                         BARRY WINKLER, M.D.


 1                  MS. HAGAN:    Objection.

 2            Q.    -- or you are actually?

 3                  MS. HAGAN:    Objection.

 4            A.    I don't know if she ever made that kind of

 5   request.

 6            Q.    Okay.   Did you ever suggest that, perhaps,

 7   she make a request to switch to another line?

 8                  MS. HAGAN:    Objection.

 9            A.    I don't recall suggesting that.        I'm not sure

10   what line she would have switched to.
11            Q.    For instance, you switched at one point to

12   the PAGNY line after being on the line at Bellevue when
13   you came over to CHS.        Did you ever suggest to Dr. Kaye

14   that she, perhaps, be paid by PAGNY or switched to

15   another line?

16                  MS. HAGAN:    Objection.     Dr. Winkler is not a
17            30(b)(6) witness.      He's not in the position to

18            tell you whether or not -- or tell Dr. Kaye what

19            she should do administratively with her job

20            function.

21                  MS. CANFIELD:     That's correct.     I'm just
22            asking if he did.      That's a fair question.

23                  MS. HAGAN:    Objection.

24            A.    I don't recall ever suggesting that to her,
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                              BARRY WINKLER, M.D.                          283


 1   no.

 2         Q.    Okay.    Did -- did you ever suggest to Dr.

 3   Kaye that she take a managerial line?

 4               MS. HAGAN:     Objection.    Again, Dr. Winkler is

 5         not a 30(b)(6)witness.

 6               MS. CANFIELD:     That's not a proper objection.

 7         I'm just asking if he did it.

 8               MS. HAGAN:     (Indiscernible) Dr. Kaye about

 9         administrative or job opportunities and especially

10         since Dr. Kaye's had been there for 20 years.            I
11         don't think he would be in a position to do that.

12               MS. HAGAN:     He testified he was her friend.
13         So you can answer the question, Dr. Winkler.

14         A.    I don't recall suggesting that she switch to

15   any type of a different line.

16         Q.    Do you recall her suggesting to you that she
17   was offered a managerial position and had declined it?

18               MS. HAGAN:     Objection.    Again, that assumes

19         facts that were not in -- on the record.

20               MS. CANFIELD:     You can answer.

21               MS. HAGAN:     If there's a document, that would
22         be fair to show.      Is there a document to this

23         effect, Ms. Canfield.

24         Q.    You can answer the question.
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     284                         BARRY WINKLER, M.D.


 1                  MS. HAGAN:    I'm asking if there's a document.

 2            Is there a document, Ms. Canfield?

 3                  MS. CANFIELD:     I don't have a document ready,

 4            but Dr. Winkler, you can answer the question.

 5            A.    I don't recall if she ever mentioned that to

 6   me.

 7            Q.    Okay.   Now, you were also questioned earlier

 8   today about the number of cases of -- 730 cases in the

 9   Bronx versus the number of 730 in Brooklyn.             Prior to

10   CHS, do you have a sense of which court clinic saw the
11   most cases?      And I'm talking about 730.

12                  MS. HAGAN:    Objection.     Asking him if he has
13            a workload and that he had an ability to compare

14            them to each other.

15                  MS. CANFIELD:     He can answer.

16            A.    My sense is that Manhattan had the heaviest
17   workload.

18            Q.    And give a sense as to which court clinic had

19   the lightest workload.

20            A.    My sense is that it would have been Bronx or

21   Queens.
22            Q.    And what do you base this on?        Have you ever

23   seen figures, or have you been told?

24            A.    I believe some numbers would be shared at
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                              BARRY WINKLER, M.D.                          285


 1   certain meetings.     There were reports, I recall, in the

 2   Bronx that Ms. Persaud had to prepare.         I think it was

 3   monthly records of number of cases seen, and I seem to

 4   recall seeing a report that had all the clinician

 5   numbers on there.

 6         Q.    Now, the reports that Ms. Persaud prepared

 7   during the time that you were working in the Bronx Court

 8   Clinic, would you or Dr. Kaye review those reports to

 9   ensure their accuracy?

10         A.    I do recall reviewing some of those reports
11   to make sure they were accurate.

12         Q.    Okay.    Thank you.
13               Now, after CHS and after your promotion to

14   the director of the Brooklyn Court Clinic, were those

15   same reports generated by the administrative staff?            I'm

16   speaking specifically for the Brooklyn Court Clinic.            Do
17   you know?

18         A.    What happened was we started to institute

19   this system called iSight that I mentioned.          And to my

20   knowledge -- I think, perhaps, in the first few months

21   before iSight was formally up and running, they might
22   have continued to prepare the same reports.          But then

23   once iSight became fully operational, I think now that

24   data is generated by iSight.
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     286                         BARRY WINKLER, M.D.


 1            Q.    Okay.   And the data that's generated by

 2   iSight since iSight's been up and running, do you review

 3   those reports before they're submitted?

 4            A.    No, I don't.

 5            Q.    Okay.   Do you know who does?

 6                  MS. HAGAN:    Objection.

 7            A.    My assumption is that Ms. -- well, who would

 8   submit that report in my clinic would be Ms. Stewart,

 9   who is the coordinating manager.          And my assumption is

10   that Ms. Stewart forwards those reports to Ms. Swenson,
11   our supervisor, but that's an assumption that Ms.

12   Swenson reviews them.        I don't know that for a fact.
13                  MS. CANFIELD:     Okay.   Thank you.

14                  MS. HAGAN:    I have a few follow-up questions.

15                  MS. CANFIELD:     I'm not finished yet.

16                  MS. HAGAN:    Okay.    I didn't know.     I'm sorry.
17            Q.    Now, the word “remediation” has been used

18   today on several occasions.          What is remediation to you

19   as you use it?

20                  MS. HAGAN:    Objection.     Asked and answered.

21                  MS. CANFIELD:     You can answer.
22            A.    To me, remediation is retraining, addressing

23   an issue that needs additional training.

24            Q.    Do you see the distinction, actually, between
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 1   continued training and retaining?

 2         A.    Yes, I do.

 3         Q.    Okay.    And can I assume based on your

 4   response that you see remediation as retraining and not

 5   continued training; is that correct?

 6         A.    Yes, that's correct.

 7               MS. HAGAN:      Objection.

 8               MS. CANFIELD:      Okay.   Thank you.

 9         Q.    Now, who told you that Dr. Brayton was in

10   remediation?
11               MS. HAGAN:      Objection.

12         A.    It might have been Dr. Jain, but I don't
13   recall for certain.

14         Q.    Is it possible it was Dr. Kaye?

15                 MS. HAGAN:    Objection.   Suggestive.

16         A.      It could have been Dr. Kaye.       I don't recall
17   who it was.

18         Q.    Is it also possible it was Mr. Bloom?

19                 MS. HAGAN:    Objection.   Asked and answered.

20         He said he didn't recall.

21               MS. CANFIELD:      He can answer.
22         A.      I don't recall Mr. Bloom saying that to me.

23         Q.    Okay.    You testified earlier about some

24   inconsistency in Dr. Brayton's report as noted by a
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 1   judge.     Who told you that there were complaints by a

 2   judge regarding Dr. Brayton's reports as being

 3   inconsistent?

 4                  MS. HAGAN:    Objection.     Leading.    Compound

 5            question.

 6            A.    Dr. Kaye told me that.

 7            Q.    And did you ever independently verify that?

 8                  MS. HAGAN:    Objection.

 9            A.    I did not independently verify that, no.

10            Q.    Did you ever speak to Dr. Brayton about that
11   claim?

12            A.    No.   I don't recall speaking to her about
13   this.

14            Q.    You also testified that Dr. Brayton

15   complained to you that she felt that Dr. Kaye didn't

16   like how she conducted her interview; do you recall
17   that?

18                  MS. HAGAN:    Objection.

19            A.    No.

20            Q.    You don't recall that Dr. Brayton complained

21   that she felt that Dr. Kaye didn't like how she
22   conducted the interview?

23            A.    I didn't say no.     I said I didn't recall it.

24            Q.    Okay.   Do you recall if Dr. Brayton shared
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 1   any specific comments or feedback that Dr. Kaye provided

 2   her?

 3               MS. HAGAN:     Objection.

 4          A.   I don't recall specifics other than that

 5   general comment about it.

 6          Q.   Okay.    Do you recall her saying at any time

 7   that there was a particular tone that, perhaps, was

 8   dismissive from Dr. Kaye towards Dr. Brayton regarding

 9   her work product?

10               MS. HAGAN:     Objection.    There's no foundation
11          for any of the questions.

12               MS. CANFIELD:     You can answer.
13          A.   I recall Dr. Brayton saying that -- something

14   to the effect that she didn't -- sometimes didn't feel

15   like she got an answer from Dr. Kaye if she had a

16   question about something.
17          Q.   Okay.    And was that just generally speaking

18   or on a particular matter that Dr. Brayton communicate

19   that to you?

20               MS. HAGAN:     Objection.

21          A.   As I recall, it was just a general -- general
22   comment, not a specific matter.

23               MS. CANFIELD:     Okay.    Thank you.

24          Q.   Now, there was also some questions and some
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 1   testimony by you about the recording that Dr. Kaye made

 2   when evaluating Jose Gonzalez.          Would you agree, Dr.

 3   Winkler, that there is a difference between making a

 4   recording of an examination and making a recording of an

 5   examination without consent?

 6                  MS. HAGAN:    Objection.     Form.

 7            A.    I'm not sure I understands what you mean.

 8   Can you rephrase that.

 9            Q.    Sure.   There were some questions to you about

10   whether or not you thought it was proper to record an
11   evaluation.      And I want to know, is there a difference

12   between recording an evaluation when the individual is
13   aware of the recording?         And I'm speaking of the subject

14   of the evaluation, or versus when there is a recording

15   and the subject of the evaluation is unaware that the

16   evaluation is being recorded?
17                  MS. HAGAN:    Objection as to form.       If you can

18            understand the question.

19            A.    I think if you -- in this type of an

20   evaluation, if you're telling someone they're being

21   recorded, I think it could potentially impact their
22   participation level.

23            Q.    Okay.   And would that be the case, regardless

24   of someone sitting for a competency -- competency
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 1   evaluation?

 2                 MS. HAGAN:    Objection.   Hypothetical.

 3         A.      Do you mean any situation where someone's

 4   told they're having a conversation that's being

 5   recorded?

 6         Q.    A situation where anyone would learn after

 7   the fact that their conversation was recorded without

 8   their consent?

 9               MS. HAGAN:      Objection.   What are we talking

10         about?     Excuse me.    During the course of a
11         forensic evaluation?

12               MS. CANFIELD:      But it's true.    But we're not
13         suggesting that inmates have lesser rights than

14         other people do, do we -- or are we.

15               MS. HAGAN:      No, but the context would be

16         different.
17               MS. CANFIELD:      I don't think Dr. Winkler has

18         answered my question.

19                 MS. HAGAN:    No, he hasn't, if he understands

20         it.

21         A.      Could you please rephrase it?      I'm sorry.
22         Q.    Do you see a problem with recording in

23   evaluation without telling the subject of the evaluation

24   that's being recorded?
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 1                  MS. HAGAN:    Objection.     Can you defined what

 2            the problem is in this context?        I don't

 3            understand the question.

 4                  MS. CANFIELD:     I'm not providing an answer.

 5                  MS. HAGAN:    But I'm asking you to explain it.

 6                  MS. CANFIELD:     You can object.     You can

 7            object, but that's sufficient.

 8                  MS. HAGAN:    I don't understand the question.

 9            I have a right to ask the same thing.

10            Q.    Dr. Winkler, you can respond.        Well, when you
11   say “a problem,” are you speaking of it being illegal or

12   unethical -- or problem is a broad term.
13           Q.     How about ethical?

14            A.    It's not -- as far as I know, an ethical

15   provision to do it, as far as I'm aware.

16            Q.    And is that based on recommendations from the
17   governing bodies of forensic evaluations, or is that

18   your personal opinion?

19                  MS. HAGAN:    Objection.

20            A.    Governing -- governing -- I'm sorry --

21   ethical guidelines both for psychology and psychiatry.
22            Q.    Okay.   So are you aware -- so you share an

23   opinion that differs from official CHS policy?

24                  MS. HAGAN:    Objection.     We are not even sure
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 1         what the official CHS policy is and which -- when

 2         it existed.     Are you saying that the CHS policy

 3         that took place after Dr. Kaye --

 4                 MS. CANFIELD:    The current policy -- the

 5         current policy.

 6                 MS. HAGAN:    When was it for?

 7                 MS. CANFIELD:    The current policy.

 8         A.      The current policy is that we are not allowed

 9   to do it, and so I would not do it because it would

10   violate the policy.
11         Q.    Okay.    But if the policy was not in place,

12   you would -- you would have no ethical dilemma or feel
13   conflicted about recording evaluation without the

14   subject of the evaluation's consent?

15                 MS. HAGAN:    Objection.   Form.

16         A.    I have other reasons I wouldn't record.          I
17   don't think recording, in general, is a good idea from

18   the extent that it might set a precedent that we want

19   all evaluations recorded.       I'm not going to say I would

20   just do it.    I would have to figure out, besides --

21   based on the case if I thought it would be appropriate
22   or required or not.

23         Q.      There was some testimony earlier as well that

24   -- that Dr. Jain had destroyed his notes.          How do you
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 1   know that Dr. Jain destroyed his notes?

 2                  MS. HAGAN:    Objection.     Form.

 3            A.    I believe Dr. Jain said that he did not keep

 4   his notes.      That he told us that he does not keep his

 5   notes or did not then.

 6            Q.    And did he say he destroyed his notes, or he

 7   does not keep his notes in the file?

 8                  MS. HAGAN:    Objection.     Leading.    He said --

 9            he already answered the question.

10                  MS. CANFIELD:     He can answer again.
11            A.    I believe he said he destroys them.

12            Q.    Okay.   And -- and what context did he make
13   that comment to you?

14                  MS. HAGAN:    Objection.

15            A.    If I recall correctly, there was a discussion

16   at one point about evaluators keeping notes.             Some
17   evaluators don't keep their notes.           And Dr. Jain, I

18   recall saying, that he was one of those evaluators that

19   did not keep his notes.

20            Q.    Okay.   And was this conversation, did it

21   occur before or after Dr. Kaye raised the issue
22   regarding Dr. Jain's destruction of his notes?

23                  MS. HAGAN:    Objection.

24            A.    I don't recall.
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 1         Q.    Is it legal required that evaluators keep

 2   their notes?

 3               MS. HAGAN:     Objection.

 4        Q.     If you know.

 5               MS. HAGAN:     Objection.    Yeah.

 6         A.    As far as I know, no.

 7         Q.    Do you keep your notes?

 8         A.    Yes.

 9         Q.    You also testified to the fact that there

10   were students or fellows at the Bronx Court Clinic prior
11   to the transition to CHS.      Do you recall that?

12         A.    Yes.
13         Q.    Okay.    Were you aware that there were

14   specific complaints regarding Dr. Kaye from the fellows

15   at Albert Einstein?

16               MS. HAGAN:     Objection.    Form and foundation.
17         A.    I was not aware of that.

18         Q.    Okay.    And there was also some -- there was

19   also some testimony from you about the psychological

20   testing survey that Dr. Jain sent out, and counsel

21   showed you a copy of your completed survey.          Do you
22   recall that?

23         A.    I do.

24         Q.    Okay.    And you had testified that there was
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 296 of 353


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 1   slightly more psychological testing in the Bronx as

 2   compared to Brooklyn.        Do you recall that?

 3            A.    I do recall that.

 4            Q.    Okay.   And psychological testing, that's

 5   performed by the psychologist, right, not -- not the

 6   psychiatrist; is that true?

 7            A.    It is typically performed by psychologist.

 8   Some psychiatrist received training on certain tests and

 9   then administer them.

10            Q.    Okay.   Do you know if Dr. Kaye received that
11   training, so she is able to administer psychological

12   tests?
13                  MS. HAGAN:    Objection.

14            A.    It's not like getting a training, and they

15   can administer all tests.         You generally need to be

16   trained on each specific test.          I don't recall if Dr.
17   Kaye had ever received any training on any psychological

18   tests.

19            Q.    Do you recall during your time at the Bronx

20   Court Clinic that Dr. Kaye ever performed psychological

21   testing?
22                  MS. HAGAN:    Objection.

23            A.    I don't recall her performing any

24   psychological testing, no.
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 1         Q.    Thank you.     Now -- now, relatedly, there was

 2   some testimony or questions about Dr. Garcia-Mansilla.

 3   Do you recall that?

 4         A.    Yes.

 5         Q.    Now, she's -- she's a psychologist; correct?

 6         A.    Yes.

 7         Q.    Okay.    Do you have personal knowledge of Dr.

 8   Garcia-Mansilla sitting in on an evaluation?

 9               MS. HAGAN:     Objection.

10         A.    I do not have personal knowledge of that.
11         Q.    But you testified that you heard that she had

12   sat in on an evaluation; is that correct?
13               MS. HAGAN:     Objection.

14         A.    I believe I said that I heard that she wanted

15   to, or they were planning that she would.

16         Q.    And who did you hear that from?
17               MS. HAGAN:     Objection.

18         A.    I -- I don't recall if I heard that from Dr.

19   Jain or Dr. Kaye or both.      I honestly don't recall.

20         Q.    There was also an exhibit, I believe it was

21   Exhibit Number 18 where Dr. MacDonald had requested the
22   records from some of the records that Dr. Kaye did not

23   complete.   Do you recall that?

24         A.    I think that didn't relate to redacted
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 1   records.

 2            Q.    Correct.    Correct.

 3            A.    I remember that.

 4            Q.    Okay.    Had you ever left an opinion

 5   un-rendered when you were provided redacted records?

 6                  MS. HAGAN:    Objection.

 7            A.    I believe we -- there were some cases with

 8   the redacted records that led -- we did not form an

 9   opinion because we could not.          So eventually, we either

10   got un-redacted records, or the judge issued a force
11   order to bring a particular defendant in.

12            Q.    Okay.    In the circumstances, did you
13   eventually complete the evaluation?

14            A.    I believe that my memory is that we did -- we

15   complete all the evaluations.          There may have been a

16   case -- every once in a while, the judge will rescind a
17   730 order.      So there may have been a case and a

18   situation where we can come to an opinion where the

19   judge rescinded the order.

20            Q.    Okay.    And are you thinking of both prior to

21   and after the CHS transition?
22                  MS. HAGAN:    Objection to form.

23            A.    Yes.    It's basically been the same process,

24   both before and after CHS.
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 1         Q.      Did you ever learn that Mr. Bloom and Ms.

 2   McEvilley were ever unhappy with CHS taking over clinic?

 3                 MS. HAGAN:    Objection.   No foundation.

 4         A.      I think I did hear that they were unhappy

 5   about that.

 6         Q.      And who did you hear that from?

 7               MS. HAGAN:      Objection.

 8         A.    I -- I believe I heard it from Dr. Kaye, and

 9   I might have heard it -- I remember hearing it from

10   Mr. Bloom on occasion -- on an occasion when I was up in
11   the Bronx doing a case.

12         Q.    Okay.    And what, specifically, did Dr. Kaye
13   say to you about Mr. Bloom and Ms. McEvilley being

14   unhappy with the condition of oversight by CHS at the

15   clinic?

16               MS. HAGAN:      Objection.
17         A.    I don't really recall the specifics.          I'm not

18   sure exactly -- I don't recall exactly why they were not

19   happy about it, or what they foresaw.         I don't really

20   recall.

21         Q.    Do you recall what Dr. Kaye reported to you
22   about their unhappiness?

23         A.    It was just general information that Lorraine

24   and Jeff -- Ms. McEvilley and Mr. Bloom were not happy
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 300 of 353


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 1   about it.

 2            Q.    And as part of that unhappiness, did they

 3   also express their displeasure with Dr. Jain?

 4                  MS. HAGAN:    Objection.

 5            A.    I seem to remember hearing that -- I think it

 6   might have been Jeff who had similar comments about the

 7   length of Dr. Jain's interviews or certain questions

 8   that were asked.

 9            Q.    Did Dr. Kaye ever say that she was displeased

10   or unhappy with Dr. Jain?
11            A.    I don't know if I would say displeased,

12   unhappy.      I think we -- Dr. Kaye and I conduct our
13   interviews similarly.        I had discussed with Dr. Jain

14   directly how I thought his interviews were considerably

15   long.     And from what I recall, she had the same feeling

16   and opinion about his interviews.
17            Q.    Anything else about how he conducted his

18   interviews that she was unhappy about?

19                  MS. HAGAN:    Objection.

20            A.    Not that I recall.

21            Q.    Same question regarding the Legal Aid
22   attorneys.      Anything else besides the length and how he

23   conducted his interviews that they were unhappy about?

24
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 1                MS. HAGAN:    Objection.

 2         A.     Not that I recall.

 3                MS. CANFIELD:    Okay.    Thank you.

 4         Q.     Did Dr. Kaye ever talk to you about retiring?

 5                MS. HAGAN:    Objection.

 6         A.     She did talk about it at some point.         She had

 7   mentioned she might retire when she reached a certain

 8   age, I forget what that was.       She had talked about it

 9   generally.

10         Q.     Did she mention retirement around the time
11   that you learned of the transition to CHS?

12                MS. HAGAN:    Objection.    Lack foundation.
13         A.     I do remember her saying, I think she said

14   she might retire - I think she'll retire, she said in

15   August of that summer after CHS took over.

16         Q.     Did Dr. Kaye ever share with you that the
17   change in her work schedule were having an adverse

18   effect on her children's ability in school?

19                MS. HAGAN:    Objection.    Lacks foundation and

20         was not even part of the questioning today.

21         Objection.     It assumes that he has knowledge of
22         Dr. Kaye or her talking about her children.

23         A.     I don't -- I don't recall if -- I don't

24   recall if it impacted when her children had to go to
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 302 of 353


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 1   school, if that became a problem.           I don't recall

 2   whether she mentioned that or not.

 3                  MS. CANFIELD:     All right.    I have no further

 4            questions at this point.

 5                  MS. HAGAN:    I have a few.

 6

 7   FURTHER EXAMINATION

 8   BY MS. HAGAN:

 9            Q.    Dr. Winkler, did you have any firsthand

10   knowledge of the workload of the other clinics after CHS
11   transitioned?

12            A.    No.    I don't recall seeing any direct numbers
13   for the clinics after the CHS transition.

14            Q.    Now, you mentioned that Ms. Persaud made

15   other center managers generate reports prior to the

16   implementation of iSight; is that right?
17            A.    Yes.

18            Q.    And were you aware that the hard drive that

19   was the repository for documents for Ms. Persaud, that

20   it crashed?

21            A.    I do recall hearing that there was a computer
22   problem with --

23            Q.    Sorry.   Do you recall that there was a

24   computer problem.       Please continue.      I'm sorry.
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 1         A.     I recall hearing that there was a problem

 2   with Ms. Persaud's computer.

 3         Q.     Do you recall hearing that the reports -- the

 4   retrieval (indiscernible) due to the problem on Ms.

 5   Persaud's computer?

 6                MS. CANFIELD:    Objection.     Lacks foundation.

 7         You can answer.

 8         A.     I believe I recall hearing that some

 9   information was lost.

10         Q.     Now, was the -- were the other centers -- did
11   the other court clinics experience the same loss of

12   information as the Bronx Court Clinic?
13                MS. CANFIELD:    Objection.     Form.   You can

14         answer.    Again, no foundation.

15         A.     We did not have that problem in Brooklyn.          I

16   did not hear of a problem like that in Queens or
17   Manhattan.

18         Q.     Were there any backup systems for the other

19   boroughs regarding the storage information?

20                MS. CANFIELD:    Objection.     You can answer.

21         A.     I don't know if they have a backup system.
22         Q.     Now, you said that the reports -- were there

23   reports that you came across accurate, as far as

24   detailing the amount of cases that came through the
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 304 of 353


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 1   clinician?

 2            A.    The Bronx reports?

 3            Q.    Yes.   Until the time you left.

 4            A.    There were times when I did check them.          And

 5   here and there, I would find an inaccuracy of a report

 6   here or there, just a computation error, I think, by Ms.

 7   Persaud.      But I think in general, they were accurate.

 8            Q.    Now, Dr. Kaye's workload, specifically, was

 9   it the same or the equivalent of the other directors,

10   Dr. Kaye's workload?
11                  MS. CANFIELD:     Objection to form.      You can

12            answer.
13            A.    Well, the director has a number of duties

14   besides seeing cases.        So you're referring to the number

15   of cases or general duties compared to the other

16   directors.
17            Q.    Well, let's stick -- let's stick with the

18   number of cases first for a moment.           Would you say that

19   Dr. Kaye saw the same number of cases than the other

20   directors or the other clinician?

21                  MS. CANFIELD:     Objection.    You can answer if
22            you're able.

23            A.    I don't know for certain.       My senses that

24   other clinics also maintained roughly a two doctor --
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 1   two-case per doctor per day schedule, just what we had

 2   in the Bronx.

 3          Q.   Were the other doctors actually -- were the

 4   other clinic directors actually evaluating cases along

 5   with the other clinicians in the clinics?

 6               MS. CANFIELD:     Objection to form.      You can

 7          answer.

 8          A.   As far as I know, yes, they were.

 9          Q.   Okay.    Let's start with you.      Did you

10   evaluate cases along with the other clinicians in the
11   court clinic?

12          A.   Yes, I did.
13          Q.   And you would say the same for Dr. Owen

14   during that time period?

15          A.   As far as I know, she was seeing cases also,

16   yes.
17          Q.   And Dr. Mundy as well?

18          A.   Yes, as far as I know.

19          Q.   Okay.    And you would say that the average was

20   at least two a day; would that be accurate?

21          A.   (Indiscernible) accurate, but when we talked
22   in general about caseloads at directors' meetings, and

23   my impression was that we were all seeing roughly the

24   same per doctor -- number of cases per doctor per day.
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 1            Q.    Now, was the work of the Bronx Court Clinic

 2   impacted by the number of staff that was present at it?

 3                  MS. CANFIELD:     Objection to form.      When?

 4            A.    Yes.    If you could tell me when you're

 5   talking about.

 6            Q.    Okay.    Let's start before CHS took over.            Was

 7   the Bronx Court Clinic adequately staffed before CHS

 8   took over?

 9                  MS. CANFIELD:     Objection.    Asked and

10            answered.     You can answer again.
11            A.    Additional -- what I testified to was that

12   additional staff would allow more cases to be seen.                  But
13   my recollection is that we were seeing more cases and

14   did not have significant backlog.

15            Q.    Did the Bronx clinic also see parole cases as

16   well?
17            A.    Yes, we did.

18            Q.    Now, did the other clinics see parole cases?

19            A.    No, Bronx was the only parole that sees them

20   or used to see them -- used to be the only parole.               I

21   don't know if it still has.
22            Q.    How many -- on average, how many parole cases

23   would the Bronx Court Clinic see in a given month?

24            A.    I think -- my recollection is it worked out
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 1   to two or three a month extra parole.

 2         Q.     Now, I have questions about the clinicians

 3   and -- when you hired the clinicians in general at the

 4   Brooklyn Court Clinic, just I don't know Dr. Brayton,

 5   did you have to give them training when they started?

 6         A.     Yes.

 7         Q.     Okay.   And how long did that training take

 8   place?

 9         A.     It depended on the experience level of the

10   clinician.   It really was open-ended.        There was no set
11   number or amount rather.      It would be -- it would depend

12   on how much experience, as I said, how quickly they
13   seemed to grasp the work and prepare their reports

14   appropriately.

15         Q.     Did Dr. Brayton require more training than

16   the other clinics that worked in the Brooklyn Court
17   Clinic that you hired?

18         A.     Yes.

19         Q.     Did any of the other clinicians at the

20   Brooklyn Court Clinic require remediation?

21                MS. CANFIELD:    Objection to form.      You can
22         answer.

23         A.     No.

24         Q.     Did any of the clinicians require additional
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 308 of 353


     308                         BARRY WINKLER, M.D.


 1   training after the initial training that you provided?

 2            A.    No.

 3            Q.    Did you have problems with how the other

 4   clinicians wrote their reports, I guess, in the same

 5   fashion as Dr. Brayton?

 6            A.    No.

 7            Q.    Is consent required for a court-ordered

 8   examination?

 9            A.    Well, the defendant can refuse to

10   participate, but then the case, in essence, goes on hold
11   until the evaluation is completed or in the rare

12   occasion where the judge withdraws the order.
13                  MS. HAGAN:    Let me modify that.

14            Q.    Is consent to record required for a

15   court-ordered examination?

16            A.    I don't believe so.
17            Q.    Are you aware that New York is a one-party

18   reporting state?

19            A.    I am aware of that.

20            Q.    Now, were you treated differently after you

21   made comments on Dr. Jain's policies?
22            A.    Treated differently by who?

23            Q.    By Dr. Jain.

24            A.    No, I don't think I was.
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                              BARRY WINKLER, M.D.                          309


 1         Q.    Were you treated differently by Dr. Ford?

 2         A.    No, I don't recall being treated differently.

 3         Q.    Were you treated any differently by Dr. Yang?

 4         A.    I've never had any actual contact with Dr.

 5   Yang, other than that one meeting where she came.

 6         Q.    Did Dr. Jain -- Dr. Jain ever treat you any

 7   differently when you voiced your, I guess, opinion as to

 8   the length and the context of his report?

 9         A.    No, he didn't.

10         Q.    Were you treated any differently after you
11   made comments about redacted records?

12         A.    No, I don't recall being treated any
13   differently.

14         Q.    Did anyone tell you you should not reach out

15   to the judges?

16         A.    I don't recall being told not to reach out to
17   the judges, no.

18         Q.    Did anyone express any concern or disdain

19   about your engagement of the defense bar?

20         A.    What do you mean by “engagement of the

21   defense bar”?
22         Q.    Like for example, it seemed like you and Dr.

23   Kaye had a pretty good rapport with Legal Aid; right?

24         A.    That's correct.
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     310                        BARRY WINKLER, M.D.


 1            Q.    And at times, you two have probably worked to

 2   coordinate your schedules, so that, you know, in a

 3   fashion that was conducive and convenient for everyone;

 4   is that right?

 5            A.    Yes, that's correct.

 6            Q.    And at times, would you share, you know,

 7   literature and information in order to get feedback from

 8   defense bar?

 9                  MS. CANFIELD:     Objection to form.      You can

10            answer.
11            A.    What -- what do you mean by literature and

12   information.
13            Q.    Well, there were probably documents that were

14   circulated within the unit; right?

15                  MS. CANFIELD:     Objection.    You can answer.

16            A.    The only documents really we dealt with would
17   be the order from the court, complaint or indictment, if

18   we got a criminal history printout, and if we happen to

19   have records on a particular defendant.            Sometimes

20   defense counsel would have records that they had gotten

21   already on a defendant, that we would obtain from them.
22            Q.    And would you educate, at times, the defense

23   attorney's process, by any chance?

24            A.    Yes.   There were times where certain
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                              BARRY WINKLER, M.D.                          311


 1   attorneys needed some education about particulars of the

 2   730.   I also recall Dr. Kaye and I doing a presentation

 3   at one point.    We did a presentation for new judges at

 4   one point about 730s and the court clinic.          And then we

 5   did another presentation.      It was part of a larger

 6   effort by the courts.      I think that was primarily for

 7   defense counsel, new judges.

 8               MS. HAGAN:     Well, I think that's all I have.

 9          Thank you, Dr. Winkler.

10               MS. CANFIELD:     Yes, thank you.      I have
11          nothing further.     Sorry the day was so long.

12          THE REPORTER:    Would you like a copy, Ms.
13          Canfield.

14               MS. CANFIELD:     Yes.

15
16

17

18               (Time noted:     6:42 p.m.)

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     312


 1    STATE OF NEW YORK                )

 2                                     )    ss:

 3    COUNTY OF                        )

 4

 5             I, BARRY WINKLER, M.D., hereby certify

 6    that I have read the pages of the foregoing

 7    testimony of this deposition and hereby

 8    certify it to be a true and correct record.

 9
10

11                                ______________________

12                                BARRY WINKLER, M.D.
13
14    Sworn to before me this

15    ____day of ______, 2021.

16    _______________________
17             Notary Public

18

19

20

21

22

23

24
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 1               I    N    D    E   X

 2

 3    EXAMINATION BY                                        5

 4    MS. HAGAN:

 5    EXAMINATION                                           277

 6    BY MS. CANFIELD:

 7    FURTHER EXAMINATION                                   302

 8    BY MS. HAGAN:

 9    Plaintiff's Exhibit 1, DOCUMENT BATES                 126

10    STAMPED NYC_125 through NYC_127, was
11    marked for identification.)

12    (Plaintiff's Exhibit 2, DOCUMENT BATES                129
13    STAMPED NYC_291 to NYC_295, was marked for

14    identification.)

15    (Defendant's Exhibit 3, DOCUMENTS BATES               135

16    STAMPED NYC_320 to NYC_329, was marked for
17    identification.)

18    (Plaintiff's Exhibit 4, DOCUMENT BATES                148

19    STAMPED NYC_464 through 466 AND NYC-471

20    through 477, was marked for

21    identification.)
22    (Plaintiff's Exhibit 5, DOCUMENT BATES                158

23    STAMPED NYC_837 through NYC_838, was

24    marked for identification.)
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 314 of 353


     314


 1    (Plaintiff's Exhibit 6, DOCUMENT BATES                   164

 2    STAMPED NYC_840 THROUGH NYC_842, was

 3    marked for identification.)

 4    (Plaintiff's Exhibit 7, DOCUMENT BATES                   170

 5    STAMPED NYC_1188 to NYC_1190, was marked

 6    for identification.)

 7    (Plaintiff's Exhibit 8, DOCUMENT BATES                   174

 8    STAMPED NYC_1268 to NYC_1269, was marked

 9    for identification.)

10    (Plaintiff's Exhibit 9, DOCUMENTS BATES                  176
11    STAMPED NYC_3996 THROUGH NYC_3998,

12    NYC_3044 THROUGH NYC_3045, were marked for
13    identification.)

14    (Plaintiff's Exhibit 10, DOCUMENT BATES                  180

15    STAMPED NYC-360 THROUGH NYC_363, was

16    marked for identification.)
17    (Plaintiff's Exhibit 11, DOCUMENT BATES                  184

18    STAMPED NYC_1913, was marked for

19    identification.)

20    (Plaintiff's Exhibit 12, DOCUMENT BATES                  188

21    STAMPED KAYE5THPROD012, was marked for
22    identification.)

23

24
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                                                                           315


 1    (Plaintiff's Exhibit 14, DOCUMENT BATES               209

 2    STAMPED KAYE5THPROD001 THROUGH

 3    KAYE5THPROD002, was marked for

 4    identification.)

 5    (Plaintiff's Exhibit 15, DOCUMENT BATES               211

 6    STAMPED NYC_80, was marked for

 7    identification.)

 8    (Plaintiff's Exhibit 17, DOCUMENT BATES               219

 9    STAMPED NYC_1914 through NYC_1915, was

10    marked for identification.)
11    (Plaintiff's Exhibit 18, DOCUMENT BATES               223

12    STAMPED NYC-1924 through NYC-1925, was
13    marked for identification.)

14    (Plaintiff's Exhibit 19, DOCUMENTS BATES              225

15    STAMPED NYC_137 THROUGH NYC_138, was

16    marked for identification.)
17    (Plaintiff's Exhibit 20, DOCUMENT BATES               231

18    STAMPED NYC-1990 to NYC-1992, was marked

19    for identification.)

20    (Plaintiff's Exhibit 21, DOCUMENT BATES               239

21    STAMPED NYC_2739, was marked for
22    identification.)

23

24
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 316 of 353


     316


 1    (Plaintiff's Exhibit 22, DOCUMENT BATES                  244

 2    STAMPED NYC_3036 and NYC_3037, was marked

 3    for identification.)

 4    (Plaintiff's Exhibit 23, DOCUMENT BATES                  248

 5    STAMPED NYC_2153, was marked for

 6    identification.)

 7    (Plaintiff's Exhibit 24, DOCUMENT BATES                  254

 8    STAMPED NYC_1310 and NYC_1311, was marked

 9    for identification.)

10    (Plaintiff's Exhibit 25, DOCUMENT BATES                  259
11    STAMPED NYC_1647, was marked for

12    identification.)
13    (Plaintiff's Exhibit 26, DOCUMENT BATES                  262

14    STAMPED NYC_3111 and NYC_3112, was marked

15    for identification.)

16    (Plaintiff's Exhibit 27, DOCUMENT BATES                  266
17    STAMPED NYC_3117 THROUGH NYC_3119, was

18    marked for identification.)

19

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21   (EXHIBITS RETAINED BY MS. HAGAN)
22

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24
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 1                        C E R T I F I C A T I O N

 2

 3   STATE OF NEW YORK            )

 4                                )    ss:

 5   COUNTY OF WESTCHESTER        )

 6           I, MARCI LOREN DUSTIN, Court Reporter and Notary

 7   Public within and for the County of Westchester, State

 8   of New York, do hereby certify:

 9              That I reported the proceedings that are

10   hereinbefore set forth, and that such transcript is a
11   true and accurate record of said proceedings.

12              AND, I further certify that I am not related
13   to any of the parties to this action by blood or

14   marriage, and that I am in no way interested in the

15   outcome of this matter.

16              IN WITNESS WHEREOF, I have hereunto set my
17   hand.

18

19

20

21                            MARCI LOREN DUSTIN
22                                Court Reporter

23

24
           Case 1:18-cv-12137-JPC-JLC Document 225-8 Filed 03/05/22 Page 318 of 353


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 1                            ERRATA   SHEET

 2   Deposition of: BARRY WINKLER, M.D.

 3   Re: MELISSA KAYE vs. HEALTH AND HOSPITALS CORPORATION, et al.

 4   Date Taken: October 6, 2021

 5   Page            Line #             Correction      Reason

 6   ______         _______          _________________________

 7   ______         _______          _________________________

 8   ______         _______          _________________________

 9   ______         _______          _________________________

10   ______         _______          _________________________
11   ______         _______          _________________________

12   ______         _______          _________________________
13   ______         _______          _________________________

14   ______         _______          _________________________

15   ______         _______          _________________________

16   ______         _______          _________________________
17

18                               ____________________________

19                                          (Signature)

20   Sworn to before me this

21   __day of_________, 2021.
22   ________________________

23            Notary Public

24
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